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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                       CASE NO. 2:22-cv-14102-DMM


    DONALD J. TRUMP,

                          Plaintiff,

    v.

    HILLARY R. CLINTON, HFACC, INC.,
    DEMOCRATIC NATIONAL COMMITTEE,
    DNC SERVICES CORPORATION, PERKINS
    COIE, LLC, MICHAEL SUSSMANN, MARC
    ELIAS, DEBBIE WASSERMAN SCHULTZ,
    CHARLES HALLIDAY DOLAN, JR., JAKE
    SULLIVAN, ADAM SCHIFF, JOHN PODESTA,
    ROBERT E. MOOK, PHILLIPE REINES,
    FUSION GPS, GLENN SIMPSON, PETER
    FRITSCH, NELLIE OHR, BRUCE OHR,
    ORBIS BUSINESS INTELLIGENCE, LTD.,
    CHRISTOPHER STEELE, IGOR DANCHENKO,
    NEUSTAR, INC., NEUSTAR SECURITY
    SERVICES, RODNEY JOFFE, JAMES COMEY,
    PETER STRZOK, LISA PAGE, KEVIN
    CLINESMITH, ANDREW MCCABE, ROD
    ROSENSTEIN, JOHN DOES 1 THROUGH 10
    (said names being fictitious and unknown persons),
    and ABC CORPORATIONS 1 THROUGH 10 (said
    names being fictitious and unknown entities),

                      Defendants.
    _________________________________________/


         AMENDED COMPLAINT FOR DAMAGES AND DEMAND FOR TRIAL BY JURY

            The Plaintiff, Donald J. Trump, by and through his undersigned counsel, hereby serves his

    Amended Complaint for Damages and Demand For Trial by Jury on the Defendants, Hillary R.

    Clinton, HFACC, Inc., the Democratic National Committee, DNC Services Corporation, Perkins

    Coie, LLC, Michael Sussmann, Marc Elias, Debbie Wasserman Schultz, Charles Halliday Dolan,
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    Jr., Jake Sullivan, Adam Schiff, John Podesta, Robert E. Mook, Phillipe Reines, Fusion GPS,

    Glenn Simpson, Peter Fritsch, Nellie Ohr, Bruce Ohr, Orbis Business Intelligence, Ltd.,

    Christopher Steele, Igor Danchenko, Neustar, Inc., Neustar Security Services, Rodney Joffe, James

    Comey, Peter Strzok, Lisa Page, Kevin Clinesmith, Andrew McCabe, Rod Rosenstein, John Does

    1 through 10 (said names being fictious and unknown persons), and ABC Corporations 1 through

    10 (said names being fictitious and unknown entities) and alleges as follows:

                                               Introduction

           1.      In the run-up to the 2016 Presidential Election, Hillary Clinton and her cohorts

    orchestrated an unthinkable plot – one that shocks the conscience and is an affront to this nation’s

    democracy. Acting in concert, the Defendants maliciously conspired to weave a false narrative

    that their Republican opponent, Donald J. Trump, was colluding with a hostile foreign sovereignty.

    The actions taken in furtherance of their scheme—falsifying evidence, deceiving law enforcement,

    spreading disinformation through the media, and exploiting access to highly-sensitive data

    sources—are so outrageous, subversive and incendiary that even the events of Watergate pale in

    comparison.

           2.      Under the guise of ‘opposition research,’ ‘data analytics,’ and other political

    stratagems, the Defendants nefariously sought to sway the public’s trust. They worked together

    with a common, self-serving purpose: to vilify Donald J. Trump. Indeed, their far-reaching

    conspiracy was designed to cripple Trump’s initial bid for presidency and tarnish his electability

    for future elections by fabricating a scandal that would be used to trigger an unfounded federal

    investigation and ignite a media frenzy.

           3.      The scheme was conceived, coordinated and carried out by top-level officials at the

    Clinton Campaign and the DNC—including ‘the candidate’ herself—who attempted to shield her

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    involvement behind a wall of third parties.1 To start, the Clinton Campaign and the DNC enlisted

    the assistance of their shared counsel, Perkins Coie, a law firm with deep Democrat ties, in the

    hopes of obscuring their actions under the veil of attorney-client privilege. Perkins Coie was

    tasked with spearheading the scheme to find—or fabricate—proof of a sinister link between

    Donald J. Trump and Russia. To do so, Perkins Coie launched parallel operations: on one front,

    Perkins Coie partner Marc Elias led an effort to produce spurious ‘opposition research’ claiming

    to reveal illicit ties between the Trump Campaign and Russian operatives; on a separate front,

    Perkins Coie partner Michael Sussmann headed a campaign to develop misleading evidence of a

    bogus ‘back channel’ connection between e-mail servers at Trump Tower and a Russian-owned

    bank.

            4.     Marc Elias, in his mission to obtain derogatory anti-Trump ‘opposition research,’

    commissioned Fusion GPS, an investigative firm, and its co-founders, Peter Fritsch and Glenn

    Simpson, and directed them to dredge up evidence—actual or otherwise—of collusion between

    Trump and Russia. Fritsch and Simpson, in turn, enlisted the assistance of Orbis Ltd. and its

    owner, Christopher Steele, to produce a series of reports purporting to contain proof of the

    collusion. Of course, the now fully debunked collection of reports, known as the “Steele Dossier,”

    was riddled with misstatements, misrepresentations and, most of all, flat out lies. In truth, the

    Steele Dossier was largely based upon information provided to Steele by his primary sub-source,

    Igor Danchenko, who was subsequently indicted for falsifying his claims. Even more damning,

    Danchenko had close ties to senior Clinton Campaign official, Charles Halliday Dolan, Jr., who



    1
     U.S. Dep’t of Justice, Office of the Inspector General, Review of Four FISA Applications and
    Other Aspects of the FBI’s Crossfire Hurricane Investigation at 96 (2019) (hereinafter “IG
    Report”).

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    knowingly provided false information to Danchenko, who relayed it to Steele, who reported it in

    the Steele Dossier and eagerly fed the deceptions to both the media and the FBI. This duplicitous

    arrangement existed for a singular self-serving purpose – to discredit Donald J. Trump and his

    campaign.

           5.      At the same time, Michael Sussmann, in his hunt for damaging intel against the

    Trump Campaign, turned to Rodney Joffe—a fervent anti-Trumper who had recently been

    promised a high-ranking position with the Clinton Administration—to exploit his access to

    sensitive, proprietary and non-public data in search of a secret “back channel” connection between

    Trump Tower and Alfa Bank. When it was discovered that no such channel existed, the

    Defendants resorted to truly subversive measures – hacking servers at Trump Tower, Trump’s

    private apartment, and, most alarmingly, the White House.         This ill-gotten data was then

    manipulated to create a misleading “inference” and submitted to law enforcement in an effort to

    falsely implicate Donald J. Trump and his campaign.2 All of these acts were carried out in

    coordination with the Clinton Campaign, the DNC, and Perkins Coie, at the behest of certain

    Democratic “VIPs.”3

           6.      While their multi-pronged attack was underway, the Defendants seized on the

    opportunity to publicly malign Donald J. Trump by instigating a full-blown media frenzy. Indeed,

    the Clinton Campaign and DNC—admittedly on a “mission” to “raise the alarm” about their

    contrived Trump-Russia link4—repeatedly fed disinformation to the media and shamelessly



    2
      Indictment at ¶ 23 (ECF Doc. No. 1), U.S. v. Sussmannn, case no. 1:21-cr-00582-CRC, District
    of Columbia (Sept. 16, 2021) (hereinafter the “Sussmannn Indictment”).
    3
      Id. ¶ 10.
    4
      Jennifer Palmieri (former Clinton Campaign Communications Director), The Clinton campaign
    warned you about Russia. But nobody listened to us., The Washington Post, March 24, 2017.

                                                    4
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    promoted their false narratives. All the while, Fusion GPS, Perkins Coie, Hillary Clinton, Jake

    Sullivan, Rodney Joffe, Adam Schiff, Debbie Wasserman Schultz, and others did their best to

    proliferate the spread of those dubious and false claims through press releases, televised

    interviews, social media, and other public statements.

           7.      The fallout from the Defendants’ actions was not limited to the public denigration

    of Trump and his campaign.        The Federal Bureau of Investigation (FBI)—relying on the

    Defendants’ fraudulent evidence—commenced several large-scale investigations and expended

    precious time, resources and taxpayer dollars looking into the spurious allegation that the Trump

    Campaign had colluded with the Russian Government to interfere in the 2016 presidential election.

    The effects of this unfounded investigation were prolonged and exacerbated by the presence of a

    small faction of Clinton loyalists who were well-positioned within the Department of Justice and

    the FBI – James Comey, Andrew McCabe, Peter Strzok, Lisa Page, Kevin Clinesmith, and Bruce

    Ohr. These government officials were willing to abuse their positions of public trust to advance

    the baseless probe to new levels, including obtaining an extrajudicial FISA warrant and instigating

    the commencement of an oversight investigation headed by Special Counsel Robert Mueller. As a

    result, Donald J. Trump and his campaign were forced to expend tens of millions of dollars in legal

    fees to defend against these contrived and unwarranted proceedings. Justice would ultimately

    prevail – following a two-year investigation, Special Counsel Mueller went on to exonerate Donald

    J. Trump and his campaign with his finding that there was no evidence of collusion with Russia.

           8.      The Defendants’ actions were carried out in secrecy and were intentionally

    concealed from Donald J. Trump, the Federal Election Commission, the American people, among

    many others. It is only recently, in 2022, that the full extent of the Defendants’ conspiracy has

    been unmasked and continues to be exposed by Special Counsel John Durham, who has been

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    heading a DOJ investigation into the origins of the Trump-Russia conspiracy. To date, Durham

    has already issued indictments to Sussmann, Danchenko, and former FBI employee Kevin

    Clinesmith, among others, for proffering false statements to law enforcement officials. As outlined

    below, these ‘speaking’ indictments not only implicate many of the Defendants named herein but

    also provide a great deal of insight into the inner workings of the Defendants’ conspiratorial

    enterprise. Based on the facts that have already been uncovered throughout the course of Durham’s

    investigation, it seems all but certain that additional indictments are forthcoming.

           9.      In short, the Defendants, blinded by political ambition, orchestrated a malicious

    conspiracy to disseminate patently false and injurious information about Donald J. Trump and his

    campaign, all in the hopes of destroying his political career and rigging the 2016 Presidential

    Election in favor of Hillary Clinton. When their gambit failed, and Donald J. Trump was elected,

    the Defendants’ efforts continued unabated, merely shifting their focus to undermining his

    presidential administration and tarnishing his electability for future presidential elections. Worse

    still, the Defendants continue to spread their vicious lies to this day as they unabashedly publicize

    their thoroughly debunked falsehoods in an effort to ensure that he will never be elected again.

           10.     The deception, malice, and treachery perpetrated by the Defendants has caused

    significant harm to the American people, and to the Plaintiff, Donald J. Trump, and they must be

    held accountable for their heinous acts.

                                         Jurisdiction and Venue
           11.     This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331, in that

    claims which arise under the laws of the United States, and this court has supplemental jurisdiction

    of the additional claims pursuant to 28 U.S.C. § 1367(a) as they all are so related to the federal

    questions that they form part of the same case or controversy.


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             12.    Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2) because at least

    one Defendant and the Plaintiff reside in this District and a substantial part of the events or

    omissions giving rise to the Plaintiffs’ claims occurred in this District. In this regard, the

    publications of injurious falsehoods were intended to occur in the Southern District of Florida, and

    they did occur in the Southern District of Florida.

                                                The Parties

             13.    The Plaintiff, Donald J. Trump, the 45th President of the United States of America,

    is a private citizen who is sui juris and a resident of the State of Florida in the County of Palm

    Beach.

             14.    The Defendant, Hillary R. Clinton (hereinafter “Clinton”), is a resident of the State

    of New York and is sui juris. She was the Democratic nominee for the 2016 Presidential Election.

    Clinton’s acts and omissions as identified in this lawsuit arise out of or relate to her conduct in

    and/or affecting, among other jurisdictions, Florida.

             15.    The Defendant, HFACC, Inc. (hereinafter the “Clinton Campaign”), is a

    corporation with its principal place of business in New York and doing business all over the United

    States, including in Palm Beach County, Florida. The Clinton Campaign’s acts and omissions, as

    identified in this lawsuit, arise out of or relate to its conduct in and/or affecting, among other

    jurisdictions, Florida.

             16.    The Defendant, the Democratic National Committee is a national committee, as

    defined by 52 U.S.C. § 30101, with its principal place of business in Washington, D.C. The

    Democratic National Committee is registered with the FEC as the DNC Services Corp./Dem.

    Services Corp, and it operates through the Defendant, the DNC Services Corporation. In turn, the

    DNC Services Corporation is a District of Columbia not-for-profit corporation, with its principal

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    place of business in Washington, D.C. The Democratic National Committee undertakes most of

    its business and financial activities through the DNC Services Corporation (hereinafter, the

    Democratic National Committee and the DNC Services Corporation are collectively referred to as

    the “DNC”). The DNC operates and conducts substantial and continuous business in the State of

    Florida. The DNC’s acts and omissions, as identified in this lawsuit, arise out of or relate to its

    conduct in and/or affecting, among other jurisdictions, Florida.

           17.     The Defendant, Perkins Coie, LLP (hereinafter “Perkins Coie”), is an international

    law firm with its headquarters in Seattle, Washington. Perkins Coie has a registered agent in

    Tallahassee, Florida, and does substantial, continuous business in Florida generally and in Palm

    Beach County specifically. Perkins Coie’s acts and omissions, as identified in this lawsuit, arise

    out of or relate to its conduct in and/or affecting, among other jurisdictions, Florida.

           18.     The Defendant, Michael Sussmann (hereinafter “Sussmann”), is a resident of the

    District of Columbia, and is sui juris. He is an attorney and a former agent and/or employee of

    Perkins Coie and, at all relevant times herein, was acting within the scope of his employment with

    Perkins Coie. Sussmann’s acts and omissions as identified in this lawsuit arise out of or relate to

    his conduct in and/or affecting, among other jurisdictions, Florida.

           19.     The Defendant, Debbie Wasserman Schultz (hereinafter “Schultz”) is a resident of

    the State of Florida and is sui juris. She served as Chairperson of the DNC from May 2011 until

    the date of her resignation on July 28, 2016. Schultz’s acts and omissions as identified in this

    lawsuit arise out of or relate to her conduct in and/or affecting, among other jurisdictions, Florida.

           20.     The Defendant, Charles Halliday Dolan, Jr. (hereinafter “Dolan”), is a resident of

    the State of New York, and is sui juris. With respect to the 2016 Clinton Campaign, Dolan actively

    campaigned and participated in calls and events as a volunteer on behalf of Hillary Clinton.

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    Dolan’s acts and omissions as identified in this lawsuit arise out of or relate to his conduct in and/or

    affecting, among other jurisdictions, Florida.

           21.     The Defendant, Jake Sullivan (hereinafter “Sullivan”), is a resident of the District

    of Columbia, and is sui juris. He was Chief Foreign Policy Advisory for the 2016 Clinton

    Campaign and, at all relevant times herein, was acting within the scope of his employment with

    the Clinton Campaign. Currently, Sullivan is serving as National Security Advisor for the Biden

    Administration. Sullivan’s acts and omissions as identified in this lawsuit arise out of or relate to

    his conduct in and/or affecting, among other jurisdictions, Florida.

           22.     The Defendant, Adam Schiff (hereinafter “Schiff’), is a resident of the State of

    California, and is sui juris. He has been a U.S Representative for the State of California since

    2001. Schiff’s acts and omissions as identified in this lawsuit arise out of or relate to her conduct

    in and/or affecting, among other jurisdictions, Florida.

           23.     The Defendant, John Podesta (hereinafter “Podesta”), is a resident of the District of

    Columbia, and is sui juris. He was Chairman for the 2016 Clinton Campaign and, at all relevant

    times herein, was acting within the scope of his employment with the Clinton Campaign. Podesta’s

    acts and omissions as identified in this lawsuit arise out of or relate to his conduct in and/or

    affecting, among other jurisdictions, Florida.

           24.     The Defendant, Robert E. Mook (hereinafter “Mook”), is a resident of the

    Commonwealth of Virginia and served as the campaign manager for the 2016 Clinton Campaign.

    At all relevant times herein, was acting within the scope of his employment with the Clinton

    Campaign. Mook’s acts and omissions as identified in this lawsuit arise out of or relate to his

    conduct in and/or affecting among other jurisdictions, Florida.

           25.     The Defendant, Phillipe Reines (hereinafter “Reines”), is a resident of the District

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    of Columbia, and is sui juris. He served as a long-time former communications advisor to Hillary

    Clinton and, at all relevant times herein, was acting within the scope of his employment with the

    Clinton Campaign. Reines’ acts and omissions as identified in this lawsuit arise out of or relate to

    his conduct in and/or affecting among other jurisdictions, Florida.

            26.     The Defendant, Marc Elias (hereinafter “Elias”), is a resident of Washington D.C.

    and is sui juris. He is an attorney and a former employee and/or agent of Perkins Coie, the DNC

    and the Clinton Campaign and, at all relevant times herein, was acting within the scope of his

    employment and/or agency of Perkins Coie. Elias’s acts and omissions as identified in this lawsuit

    arise out of or relate to his conduct in and/or affecting, among other jurisdictions, Florida.

            27.     The Defendant, Fusion GPS, is a Delaware limited liability company which

    represents that it provides research, strategic intelligence, and due diligence services to

    corporations, law firms, and investors worldwide, and is headquartered in Washington D.C.

    Fusion GPS’s acts and omissions, as identified in this lawsuit, arise out of or relate to its conduct

    in and/or affecting, among other jurisdictions, Florida.

            28.     The Defendant, Glenn Simpson (hereinafter “Simpson”), is a principal and co-

    founder of Fusion GPS, is a resident of the District of Columbia, and is sui juris. Simpson’s acts

    and omissions as identified in this lawsuit arise out of or relate to his conduct in and/or affecting,

    among other jurisdictions, Florida.

            29.     The Defendant, Peter Fritsch (hereinafter “Fritsch”), is a principal and co-founder

    of Fusion GPS, is a resident of the State of Florida, and is sui juris. Fritsch’s acts and omissions

    as identified in this lawsuit arise out of or relate to his conduct in and/or affecting, among other

    jurisdictions, Florida.

            30.     The Defendant, Nellie Ohr (hereinafter “Mrs. Ohr”), is a resident of the

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    Commonwealth of Virginia, and is sui juris. At all relevant times, she was an employee of Fusion

    GPS and was acting within the scope of her employment with Fusion GPS. Mrs. Ohr’s acts and

    omissions as identified in this lawsuit arise out of or relate to her conduct in and/or affecting,

    among other jurisdictions, Florida.

            31.     The Defendant, Bruce Ohr (hereinafter “Mr. Ohr”), is a resident of the

    Commonwealth of Virginia, and is sui juris. At all relevant times, Bruce Ohr was a United States

    Department of Justice official. Mr. Ohr’s acts and omissions as identified in this lawsuit arise out

    of or relate to his conduct in and/or affecting, among other jurisdictions, Florida.

            32.     The Defendant, Orbis Business Intelligence Ltd. (hereinafter “Orbis Ltd.”), is a

    London, England-based intelligence consultancy firm.          Orbis Ltd.’s acts and omissions, as

    identified in this lawsuit, arise out of or relate to its conduct in and/or affecting, among other

    jurisdictions, Florida.

            33.     The Defendant, Christopher Steele (hereinafter “Steele”), is a principal and founder

    of Orbis Ltd., a resident of the United Kingdom, and he is sui juris. Steele’s acts and omissions

    as identified in this lawsuit were all done in the scope of his employment with Orbis, Ltd., and

    arise out of or relate to his conduct in and/or affecting, among other jurisdictions, Florida.

            34.     The Defendant, Igor Danchenko (hereinafter “Danchenko”), at all times relevant to

    this Complaint, was a citizen of the Russian Federation and was lawfully in the United States.

    Danchenko resides in the District of Columbia and the Commonwealth of Virginia and is sui juris.

    At all relevant times, Danchenko was a contractor for Orbis Ltd. and was acting within the scope

    of his agency with Orbis Ltd. Danchenko’s acts and omissions as identified in this lawsuit arise

    out of or relate to his conduct in and/or affecting, among other jurisdictions, Florida.

            35.     The Defendant, Neustar, Inc., is an information technology company with its

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    headquarters in Sterling, Virginia. Neustar’s acts and omissions, as identified in this lawsuit, arise

    out of or relate to its conduct in and/or affecting, among other jurisdictions, Florida.

           36.     The Defendant, Neustar Security Services (“NSS”) (collectively, with Neustar,

    Inc., referred to as “Neustar”) is an information technology company with its headquarters in

    Sterling, Virginia. Neustar’s acts and omissions, as identified in this lawsuit, arise out of or relate

    to its conduct in and/or affecting, among other jurisdictions, Florida.

           37.     The Defendant, Rodney Joffe (hereinafter “Joffe”), is a resident of the

    Commonwealth of Virginia, and is sui juris. Joffe is a former executive of Neustar and, at all

    relevant times herein, was acting within the scope of his employment with Neustar. Joffe’s acts

    and omissions as identified in this lawsuit arise out of or relate to his conduct in and/or affecting,

    among other jurisdictions, Florida.

           38.     The Defendant, James Comey (hereinafter “Comey”), is a resident of the

    Commonwealth of Virginia, and is sui juris. Comey was the 7th Director of the Federal Bureau of

    Investigation from 2013 to May 2017. Comey’s acts and omissions as identified in this lawsuit

    arise out of or relate to his conduct in and/or affecting, among other jurisdictions, Florida.

           39.     The Defendant, Peter Strzok (hereinafter “Strzok”), is a resident of the

    Commonwealth of Virginia, and is sui juris. At all relevant times, Strzok was an agent of the

    Federal Bureau of Investigation. Strzok’s acts and omissions as identified in this lawsuit arise out

    of or relate to his conduct in and/or affecting, among other jurisdictions, Florida.

           40.     The Defendant, Lisa Page (hereinafter “Mrs. Page”), is a resident of the District of

    Columbia, and is sui juris. At all relevant times Mrs. Page was an attorney for the Federal Bureau

    of Investigation. Mrs. Page’s acts and omissions as identified in this lawsuit arise out of or relate

    to her conduct in and/or affecting, among other jurisdictions, Florida.

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           41.     The Defendant, Kevin Clinesmith (hereinafter “Clinesmith”), is a resident of the

    District of Columbia, and is sui juris. At all relevant times, Clinesmith was an attorney for the

    Federal Bureau of Investigation. Clinesmith’s acts and omissions as identified in this lawsuit arise

    out of or relate to his conduct in and/or affecting, among other jurisdictions, Florida.

           42.     The Defendant, Andrew McCabe (hereinafter, “McCabe”), is a resident of the

    Commonwealth of Virginia, and is sui juris. McCabe was the Deputy Director of the Federal

    Bureau of Investigation from 2016 to March of 2018. McCabe’s acts and omissions as identified

    in this lawsuit arise out of or relate to his conduct in and/or affecting, among other jurisdictions,

    Florida.

           43.     The Defendant, Rod Rosenstein (hereinafter, “Rosenstein”), is a resident of the

    State of Maryland and is sui juris. Rosenstein was the United States Deputy Attorney General

    from April 2017, until May 2019.      Rosenstein’s acts and omissions as identified in this lawsuit

    arise out of or relate to his conduct in and/or affecting, among other jurisdictions, Florida.

           44.     The Defendants, John Does 1 through 10, are individuals whose identities are

    presently unknown to the Plaintiff, including, but not limited to, journalists, publishers, editors,

    investigators, state or federal officials, co-conspirators, officers, employees, agents, managers,

    owners, principals and/or other duly authorized individuals who caused or contributed to the

    incident or incidents for which the Plaintiff seeks damages, and/or are vicariously and/or otherwise

    liable for the acts, commissions, or other culpable conduct of those who did cause or contribute to

    the incidents alleged.

           45.     The Defendants, ABC Corporations 1 through 10, are corporate entities presently

    unidentifiable to the Plaintiff, including, but not limited to, media companies, publication

    companies, editorial companies, municipalities, state or federal agencies, law enforcement

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    authorities, investigative agencies, political organizations, political affiliates, private firms and/or

    other duly authorized corporate or governmental entities who caused or contributed to the incident

    or incidents for which the Plaintiff seeks damages, and/or are vicariously and/or otherwise liable

    for the acts, commissions, or other culpable conduct of those who did cause or contribute to the

    incidents alleged.

                                             Statement of Facts

                            The DNC and the Clinton Campaign Become One

           46.      On April 6, 2015, the Clinton Campaign retained Perkins Coie, a law firm with

    longstanding ties to the Democratic Party, as its general counsel.5

           47.      Shortly thereafter, on April 12, 2015, Clinton formally declared her candidacy for

    President of the United States. Clinton sought the nomination of the Democratic Party.

           48.      It was clear from the early days of the Democratic primaries that the DNC—which

    according to its own rules, is required to “maintain impartiality and evenhandedness” during the

    Democratic Primary nominating process—was backing Clinton and favored her as the preferred

    Democratic nominee.6

           49.      For example, in a confidential, inter-office DNC memorandum dated May 26, 2015

    (the “DNC Memo”), which only came to light after the DNC servers were hacked by an individual

    using the name “Guccifer 2.0,” it was noted that the DNC sought to “provide a contrast between

    the GOP field and HRC” and that it would “[u]se specific hits to muddy the waters around ethics,

    transparency and campaign finance attacks on HRC.”7


    5
      Gov’t Ex. 0301, U.S. v. Sussmann.
    6
      DNC Charter and Bylaws, Art. 5 § 4.
    7
      Complaint, Ex. A (ECF Doc. No. 8), Wilding v. DNC Services Corp., et al., case no. 0:16-
    cv-61511-WJZ, Southern District of Florida (July 13, 2016).

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              50.   Notably, the DNC Memo also stated that, in order to “muddy the waters” around

    Clinton’s perceived vulnerabilities as a candidate, the DNC had outlined a plan to “damage

    Republican presidential candidates’ credibility with voters by looking for targeted opportunities to

    undermine their specific messaging.” The DNC Memo also discussed “opposition research” and

    a strategy to “utilize the research to place highly targeted hits” against Republican candidates.8

              51.   Around that same time, as later disclosed through a WikiLeaks release of

    confidential DNC documents, Schultz, the head of the DNC, stated in an e-mail that Clinton’s

    Democratic competitor, Bernie Sanders, “isn’t going to be president.”

              52.   Furthermore, Donna Brazile, then vice-chair of the DNC, said in criticism of

    Schultz: “She hadn’t been very interested in controlling the party – she let Clinton’s headquarters

    in Brooklyn do as it desired so she didn’t have to inform the party officers how bad the situation

    was.”

              53.   In or around mid-2015, in an effort to foster greater coordination and cohesion with

    Clinton and the Clinton Campaign, the DNC retained the same law firm, Perkins Coie, to serve as

    its general counsel.

              54.   Two of Perkins Coie’s senior partners, Elias and Sussmann, were largely

    responsible for handling the firm’s representation of the DNC and the Clinton Campaign in their

    legal, political, and other affairs. Elias, in particular, was designated as “General Counsel” for

    both the DNC and the Clinton Campaign.

              55.   In or around August 2015, Elias and Sussmann negotiated a Joint Fund-Raising

    Agreement between their two clients, the DNC and the Clinton Campaign.



    8
        Id.

                                                     15
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           56.     The Joint Fund-Raising Agreement was nothing more than a thinly veiled effort to

    align the interests and operations of the DNC and the Clinton Campaign by giving the Clinton

    Campaign control over the DNC, an organization that was supposed to remain impartial.

           57.     Specifically, the Joint Fund-Raising Agreement—which was entered into months

    before Clinton won the Democratic nomination—specified that, in exchange for raising money

    and investing in the DNC, the Clinton Campaign would control the DNC’s finances, strategy, and

    all the money raised.    Her campaign had the right of refusal on who would be the party

    communications director, and it would make final decisions on all the other staff. The DNC also

    was required to consult with the campaign about all other staffing, budgeting, data, analytics, and

    mailings.9

           58.     In reference to the effect of the Joint Fund-Raising Agreement, then-DNC chairman

    Donna Brazile stated that she “couldn’t write a press release without passing it by” the Clinton

    Campaign.10

           59.     Gary Gensler, the Chief Financial Officer of the Clinton Campaign, stated that the

    DNC was “fully under the control” of the Clinton Campaign.11

           60.     The Federal Election Commission noted that the arrangement between the Clinton

    Campaign and the DNC was “troubling” and found that that there was an “unusual degree of

    closeness between [the Clinton Campaign] and the DNC.”12



    9
      Donna Brazile, Hacks: The Inside Story of the Break-ins and Breakdowns that Put Donald
    Trump in the White House, November 7, 2017.
    10
       Donna Brazile, Inside Hillary Clinton’s Secret Takeover of the DNC, Politico Magazine,
    November 2, 2017.
    11
       Id.
    12
       Statement of Reasons at 7, August, 30, 2019, MURs 7304 & 7331, In Re Hillary Victory Fund,
    et al.

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             61.    Given the intimate ties between the DNC and the Clinton Campaign, and the

    amount of control that Clinton exerted over both, it was clear that the organizations’ interests were

    aligned and they shared a common purpose: get Clinton elected President by any means necessary.

         The Clinton Campaign and DNC Conspire With Their Attorneys, Perkins Coie, to Frame
                               Republican Candidate Donald J. Trump

             62.    On June 16, 2015, Donald J. Trump announced his candidacy for President and

    sought the Republican nomination.13

             63.    Seeking to thwart Trump’s campaign, harm his political career, and diminish the

    likelihood of him winning the election, the Clinton Campaign and the DNC devised a nefarious

    scheme to discredit, delegitimize and defame him by proliferating a false narrative that Donald J.

    Trump and his campaign were actively colluding with Russia to interfere in the 2016 Presidential

    Election.

             64.    This plot was conceived and funded by Clinton, the Clinton Campaign, and DNC

    and would require the participation, cooperation and assistance of many individuals and entities

    acting in concert with one another to willfully carry out numerous tortious and criminal acts. The

    Defendants had a meeting of minds and a common objective: to irreparably harm Trump’s

    electability and to destroy his political career.

             65.    To start, the Clinton Campaign and the DNC enlisted the assistance of their joint

    attorneys, Perkins Coie.

             66.    The Clinton Campaign and the DNC chose Perkins Coie to oversee and coordinate

    their plan for a specific purpose – they formulated that conspiring with their legal counsel would



    13
       Reem Nasr, Donald Trump announces candidacy for president, June 16, 2015,
    https://www.cnbc.com/2015/06/16/donald-trump-announces-candidacy-for-president.html.

                                                        17
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    fraudulently conceal their dealings under the shroud of attorney-client privilege. However, despite

    the Defendant’ ill-intentions, attorney-client privilege is wholly inapplicable to the pertinent

    discussions between these parties – not only were the communications between the DNC/Clinton

    Campaign and Perkins Coie non-legal in nature, but they were also in furtherance of criminal and

    tortious wrongdoing.

           67.     Specifically, the Clinton Campaign and the DNC directed Perkins Coie to

    coordinate a two-pronged plan to publicly and falsely denigrate Donald J. Trump, with Elias and

    Sussmann each leading parallel operations to wrongly implicate him as colluding with Russia.

           68.     On one front, Elias would work with Fusion GPS and a host of others to develop a

    dossier, based on lies and misinformation purporting to show an incriminating link between Trump

    and Russia, which would be used to mislead law enforcement officials and ignite a media frenzy.

           69.     On a separate front, Sussmann would commission the information technology

    company, Neustar, to brazenly hack servers from highly-sensitive locations—including Donald J.

    Trump’s private residence, Trump Tower, and, most shockingly, the White House—to uncover

    proprietary data that could then be manipulated to give the impression that Trump was engaged in

    illegitimate business with a Russian bank, Alfa Bank.

          Perkins Coie Recruits Fusion GPS to Effectuate a Multi-Faceted Smear Campaign

           70.     To effectuate the first phase of the Defendants’ conspiracy—involving the creation

    of a fraudulent and incriminating dossier—the DNC and the Clinton Campaign would require the

    services of an investigative firm to dredge up derogatory ‘opposition research’ on Donald J. Trump

    and, to the extent there was none, to manufacture it.

           71.     At all relevant times, Fusion GPS was a private investigative firm specializing in

    media and politics. It was founded in 2011 by former Wall Street Journal employees Glenn

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    Simpson and Peter Fritsch.14

           72.     On March 1, 2016, Fritsch sent an e-mail to a “senior figure in the Democratic

    Party” and conveyed his belief that Trump “had to be stopped.” The Democratic contact responded

    by stating “Yes. Let’s talk.”15

           73.     The “senior figure in the Democratic Party” arranged for Fritsch and Simpson to

    meet with Elias. The meeting took place on April 20, 2016, in Washington D.C.16

           74.     Effective as of April 1, 2016, on behalf of and at the direction of the Clinton

    Campaign and the DNC, Elias and Perkins Coie retained Fusion GPS.17

           75.     In particular, Fusion GPS was hired, through Perkins Coie, to perform ‘opposition

    research’ for the Clinton Campaign and the DNC.18

           76.     At that time, Simpson and Fritsch were aware that Perkins Coie represented the

    DNC and the Clinton Campaign.19

           77.     The Clinton Campaign and the DNC were well aware that Fusion GPS had a well-


    14
       See generally Glenn Simpson and Peter Fritsch, Crime in Progress: Inside the Steele Dossier
    and the Fusion GPS Investigation of Donald Trump (hereinafter “Crime in Progress”).
    15
       Glenn Simpson and Peter Fritsch, Crime in Progress: Inside the Steele Dossier and the Fusion
    GPS Investigation of Donald Trump (“Crime in Progress”), p. 55.
    16
       Id. at 56.
    17
       Gov’t Ex. 0302, U.S. v. Sussmann; see also Interview of Marc Elias at tr. 15, Permanent Select
    Committee on Intelligence, U.S. House of Representatives, December 13, 2017 (hereinafter, the
    “Elias Testimony”) (“Q: You, Marc Elias and Perkins Coie, on behalf of the DNC and the
    Hillary Clinton Campaign, retained Fusion GPS? A: True.”)
    18
       Elias Testimony at 633:13-17 (“Q: Other than the Clinton Campaign at this time, was there
    any other client who Fusion GPS did work for? A: The Democratic National Committee. Q:
    Okay. So those were the two clients? A: Yes.”).
    19
       Letter from Matthew J. Gehringer, General Counsel, Perkins Coie, to William W. Taylor, III,
    Zuckerman Spaedar LLP, dated October 24, 2017, MUR 7291 HFA Resp. at 2, Ex. 1; see also
    Interview of Glenn Simpson at tr. 19, Permanent Select Committee on Intelligence, U.S. House
    of Representatives, November 14, 2017 (hereinafter, the “Simpson Testimony”) (“Q: With
    respect to this fact pattern, with respect to your firm being retained, were you aware that Perkins
    Coie was working on behalf of the DNC? A: Yes.”).

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    documented history of employing a ‘scorched earth’ strategy wherein the company would produce

    false and/or misleading dossiers to be spread through the media to damage his opportunity to win

    an election.

           78.     The Clinton Campaign, the DNC, Perkins Coie and Fusion GPS each understood

    that Fusion GPS’s true task was to launch a public smear campaign based on fraudulent evidence

    that could be used to falsely implicate Donald J. Trump to derail his campaign, ruining his

    opportunity to be elected and if elected to then interfere with his ability to properly serve as

    President of the United States.

           79.     The Defendants agreed that Fusion GPS would report the results of its

    “investigation” to Elias.20

           80.     In fact, Simpson and Fritsch reported only to Elias and did “not have any contact

    with the campaign brass.” 21

           81.     In this way, Elias acted as a liaison between Fusion GPS and the Clinton

    Campaign/the DNC – he was the “gatekeeper” of communications between these parties and

    would report the progress of Fusion GPS’s work to the Clinton Campaign and the DNC.22

           82.     As Fritsch and Simpson recounted in their book, the relationship was set up that

    way for a specific reason; per Elias, Fusion GPS was walled-off from the Clinton Campaign and

    the DNC for “legal reasons: If Fusion’s communications were with a lawyer, they could be




    20
       Id. at 57.
    21
       Id.
    22
       Elias Testimony at 48 (“I was the sole. I was the – I was the gatekeeper. But there were – but
    there were instances in which there were some interactions otherwise. But that – but I was the
    gatekeeper.”); see also Sullivan Testimony at 56 (“Q: Were you in meeting in which Mr. Elias
    briefed you on information that was of an opposition research nature? A: I was.”).

                                                    20
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    considered privileged and kept confidential.”23

           83.     To further conceal their involvement with Fusion GPS, the Clinton Campaign and

    the DNC funneled the funds to finance Fusion GPS’s work through Perkins Coie:

                 a. Elias has testified that “[t]he money with which to retain [Fusion GPS] came from

                    the Clinton campaign, Hillary for America, called the Clinton campaign, and the

                    Democratic National Committee.”24

                 b. For example, on August 16, 2016, the DNC made a $66,500 payment to Perkins

                    Coie; the DNC has acknowledged that this was the first of many such payments

                    that were paid by the DNC and the Clinton Campaign, through Perkins Coie, to

                    Fusion GPS.25

                 c. Despite being earmarked as payments for Fusion GPS, the Clinton Campaign and

                    the DNC reported the payments as being for “legal and compliance consulting.”26

                 d. In total, a sum in the amount of $777,907.97 was paid by the DNC to Perkins Coie

                    and subsequently disbursed by Perkins Coie to Fusion GPS, as payment for Fusion

                    GPS’s services.27

                 e. Likewise, a sum in the amount of $180,000 was paid by the Clinton Campaign to

                    Perkins Coie and subsequently disbursed by Perkins Coie to Fusion GPS, as

                    payment for Fusion GPS’s services.28



    23
       Id.
    24
       Elias Testimony at 15.
    25
       MUR 7291 DNC Resp. at 2 n.2; 8.
    26
       Second General Counsel’s Report at 2-3, MUR 7291 & 7449, In the Matter of DNC Services
    Corp./DNC, et al. (hereinafter, “FEC Second Gen. Counsel’s Rpt.”).
    27
       Id.
    28
       See MUR 7291 & 7449, Response to Discovery Requests at 6 (Apr. 13, 2021).

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                  f. As described in greater detail below, the Federal Election Commission pursued

                     charges against the Clinton Campaign and the DNC for misreporting these

                     payments in violation of campaign finance laws, finding that “[the Clinton

                     Campaign] and the DNC did not properly disclose the purpose of [their]

                     disbursements to Perkins Coie, for what appears to have been opposition research

                     done by Fusion [GPS].”29

            84.     The Clinton Campaign, the DNC and Perkins Coie intentionally sought to conceal

    their hiring of Fusion GPS from the public.30

            85.     The coordination and interactions between the Clinton Campaign, the DNC,

    Perkins Coie and Fusion GPS were frequent and significant – daily conference calls were

    scheduled to be held every single weekday (Monday through Friday) at 8:30am from June 6, 2016

    through the beginning of November 2016; required attendees included Elias, Simpson, Fritsch,

    and Clinton Campaign lawyer, Deborah Fine.31

            86.     In addition, Elias would have weekly in-person meetings with Simpson and

    Fritsch.32

            87.     In or around the time Fusion GPS was retained by the Defendants, Nellie Ohr was

    an employee of Fusion GPS, where her role was to conduct extensive opposition research on

    Donald J. Trump’s family members and campaign aides.



    29
       First General Counsel’s Report at 27, MUR 7291, 7331 & 7449, In the Matter of DNC
    Services Corp./DNC, et al. (hereinafter, “FEC First Gen. Counsel’s Rpt.”).
    30
       Elias Testimony at 643:21-24 (“Q: [Y]ou didn’t want the public to know that Fusion GPS was
    working with the campaign. Is that fair? A: Sure.”).
    31
       Gov’t Ex. 304, U.S. v. Sussmann.
    32
       Elias Testimony at 635:10-12 (“Q: And the weekly check-ins – was that an in-person meeting?
    A: Yes. Q: And would you do that at Perkins Coie or at Fusion GPS. A: Always at my office.”).

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            88.    Mrs. Ohr’s husband, Bruce Ohr, was an Associate Deputy Attorney General with

    the DOJ. Mrs. Ohr had also been previously employed with the DOJ.

            89.    The Clinton Campaign, the DNC, Perkins Coie, and Fusion GPS knew that this

    close relationship with a high-ranking DOJ official would be of great value in effectuating their

    plot – they understood that Mr. Ohr would be instrumental in lending credibility to the Steele

    Dossier by having Mr. Ohr serve as a seemingly trustworthy intermediary to disseminate it through

    government channels such as the FBI and the DOJ.

           As the Presidential Race Takes Form, the Defendants Put Their Plan Into Action

            90.    On May 26, 2016, Donald J. Trump secured enough GOP votes to become the

    presumptive Republican Nominee for President of the United States in the 2016 election.33

            91.    Shortly thereafter, on June 6, 2016, Hillary Clinton clinched enough GOP votes to

    become the presumptive Democratic Nominee for President of the United States in the 2016

    election.34

            92.    With the stage set and the election cycle underway, the Clinton Campaign, the

    DNC, Perkins Coie and Fusion GPS put their collective plan into action.

            93.    Specifically, the Defendants undertook to develop two separate false narratives that

    would be fed to law enforcement and simultaneously spread through the media, all in an effort to

    cause malicious aspersions on Donald J. Trump, the Trump Campaign, and the Trump

    Organization, including: (i) a fraudulent ‘dossier’ purportedly substantiated findings of a nefarious



    33
       Amita Kelly, Donald Trump Clinches GOP Nomination, NPR, May 26, 2016,
    https://www.npr.org/2016/05/26/479588197/donald-trump-clinches-gop-nomination.
    34
       Domenico Montanaro, Clinton Has Enough Delegates to Claim Democratic Nomination,
    NPR, June 6, 2016, https://www.npr.org/2016/06/06/481020591/why-hillary-clinton-will-be-
    called-the-presumptive-nominee.

                                                     23
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    link between Trump and Russia; and (ii) falsified and/or misleading data which allegedly showed

    a ‘back channel’ connection between the Trump Organization and a Russian bank, Alfa Bank,

    which has deep connections to the Russian Government.

                         Fusion GPS Enlists the Assistance of Steele and Orbis Ltd.

             94.     To develop the dossier, the Clinton Campaign, the DNC, Perkins Coie and Fusion

    GPS turned to Orbis Ltd., a private intelligence firm, and its owner, Christopher Steele, a former

    British intelligence officer.

             95.     Orbis Ltd. was chosen to partake in the scheme because Steele’s interests were

    aligned with the Defendants’ overarching conspiracy – he “was desperate that Donald Trump not

    get elected” and he “was passionate about [Donald J. Trump] not being president.”35

             96.     Orbis Ltd. was also chosen because of the ties between one of its analysts/sub-

    sources, Danchenko, and an individual with intimate ties to the Clinton Campaign and one its close

    associates, Dolan.

                   a. Danchenko, a Russian citizen, had been working as a contractor/analyst with Orbis

                      Ltd. Since 2011, focusing primarily on Russian and Eurasian geo-political

                      matters.36

                   b. Dolan, then an employee of public relations firm, Kglobal, was a longtime

                      participant in Democratic politics, having previously served as chairman of

                      national Democratic political organization, state chairman of former President Bill

                      Clinton’s 1992 and 1996 presidential campaigns, adviser to Clinton’s 2008

                      presidential campaign, and having been appointed by Clinton to two four-year


    35
         Bruce Ohr Transcribed Interview 124, Aug. 28, 2918.
    36
         Danchenko Indictment ¶ 16.

                                                      24
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                      terms on an advisory commission at the U.S. State Department. With respect to

                      the 2016 Clinton campaign, Dolan actively campaigned and participated in calls

                      and events as a volunteer on behalf of the Clinton Campaign.37

                   c. In late April 2016, Danchenko began having discussions with Dolan about a

                      potential business collaboration between Orbis Ltd. and Kglobal to create a

                      “dossier” to smear Donald J. Trump and to disseminate the false accusations to the

                      media. Those discussions reflected that Danchenko and Dolan had exchanged

                      information regarding each other’s backgrounds and professional activities,

                      including Danchenko’s work for Orbis Ltd, and Steele:38

                   d. On or about April 29, 2016, Danchenko sent an e-mail to Dolan indicating that

                      Danchenko had passed a letter to Steele and his business partner at Orbis Ltd. on

                      behalf of Dolan and intended to set up a meeting between the two.39

                   e. That same day, Danchenko sent an e-mail to Dolan outlining certain work that

                      Danchenko was conducting with Orbis Ltd. The e-mail attached an Orbis Ltd.

                      Report titled “Intelligence Briefing Note, ‘Kompromat’ and ‘Nadzor’ in the

                      Russian Banking Sector.”40

                   f. On or about June 10, 2016, Dolan sent an e-mail to a U.S.-based acquaintance

                      which reflected that Dolan and Danchenko had become colleagues and were

                      exchanging information. In describing Danchenko, Dolan stated: “He is too young




    37
       Id. ¶ 19.
    38
       Id. ¶ 23.
    39
       Id. ¶ 24.
    40
       Id. ¶ 25.

                                                     25
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                     for KGB. But I think he worked for FSB.41 Since he told me he spent two years

                     in Iran. And when I first met him he knew more about me than I did. [winking

                     emoticon].”

            97.     In or about May 2016, Fusion GPS officially retained Orbis Ltd.42

            98.     Elias expressly authorized Fusion GPS’s decision to retain Orbis Ltd.43

            99.     Steele has testified that his task was to “collect intelligence from our sources on

    Trump-Russia issues and interference in the US presidential campaign which would be fed to a

    client of Fusion, which was a law firm, Washington-based.”44

            100.    In taking on this assignment, Steele was aware that “Democratic Party associates”

    were paying for his and Fusion GPS’s “research,” and that “the ultimate client” was “the leadership

    of the Clinton presidential campaign.”45

            101.    Steele also viewed Perkins Coie as a client, as well as the “legal arm of the

    Democratic Party.”46

            102.    Critically, Steele has testified that “the candidate”—Hillary Clinton—was “aware

    of [his] reporting.”47


    41
       The Federal Security Service of the Russian Federation, commonly referred to as the “FSB,” is
    the principal security agency of Russia and the principal successor agency to the KGB.
    42
       Tr. of Christopher Steele Deposition at 155-156 (Mar. 17-18, 2020), Aven v. Orbis (2020)
    EWHC 1812 (QB) (hereinafter, “Steele Dep.”).
    43
       Elias Testimony at 33 (“Q: […] Would you have to sign off on that decision [to retain Fusion
    GPS]? Do you have to sign off on decisions to hire subcontractors and vendors? A: I had the
    authority under the contract. I didn’t in all instances. I did in this instance.”).
    44
       Steele Dep. at tr. 156:15-19.
    45
       IG Report at 96; see also Steele Dep. at 162-163 (“Q: . . . in early July . . . who did you think
    the ultimate client was? A: I thought it was the campaign . . . Q: You knew it was the leadership
    of the Clinton presidential campaign, didn’t you? A: I believed it was the campaign, yes. Q: The
    leadership of the Clinton campaign? A: Fine, the leadership of the campaign.”)
    46
       Steele Dep. at tr. 158:2-4; 67:21-22.
    47
       FBI Notes at 96; see also Steele Dep. at tr. 163 (emphasis added).

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           103.     Shortly after being retained—at the direction of Clinton, the Clinton Campaign, the

    DNC, Perkins Coie, and Fusion GPS—Orbis Ltd. and Steele, with the assistance of Nellie Ohr,

    Danchenko Dolan, and others, began preparing approximately seventeen anti-Trump memoranda

    known collectively as the “Steele Dossier” or simply the “Dossier.”

           104.     All of these parties had a collective understanding regarding the true nature of the

    Dossier – it would contain unverified, falsified, and fraudulent information which would be fed to

    law enforcement to perpetuate a false narrative that Donald J. Trump was colluding with Russia.

           105.     Indeed, Steele has explicitly acknowledged that “the purpose of [his] work was to

    prevent Donald Trump from becoming president[.]”48; he has acknowledged that the “FBI” was

    an “intended audience” of his reporting.49

           106.     Thus, the Dossier was intended to not only harm Trump’s political career and

    candidacy, but more importantly, it was fabricated to induce the FBI to commence an investigation

    into alleged ties between Russia and Donald J. Trump, the Trump Campaign, and the Trump

    Organization.

           107.     In drafting the Dossier, Steele purported to rely upon numerous sources who

    contributed information and prevarications to him.

           108.     Several of the alleged sources named in the Dossier have refuted, under oath, that

    they provided any of the purported information contained in the Dossier to Steele:

                  a. Olga Galkina, a Russian citizen who was referenced as “sub-source 3” in the

                     Dossier, stated that she was never a source or sub-source to Steele, and, in fact,


    48
       Steel Dep. at tr. 97:5-8 (“Q: That was the purpose of your work, to prevent Donald Trump
    from becoming president? A: By definition, an opposing candidate in their campaign was
    seeking to win an election.”)
    49
       Id. at tr. 67:21-22.

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                     never even met him.50

                  b. Alexey Dundich, a Russian citizen who was referenced as “sub-source 4” in the

                     Dossier, stated that he never was a source of information, and never even met

                     Steele.51

           109.     The primary source for the information provided in the Dossier was Steele’s

    analyst, Danchenko.

           110.     From May 2016 through December 2016, Danchenko assembled and provided to

    Steele purported information that Steele would, in turn, rely upon to draft the Dossier.

           111.     During that same time, Danchenko had numerous meetings, communications and

    interactions with Dolan.52

           112.     Danchenko also brokered numerous meetings between himself, Dolan and

    Galinka.53

                  a. In addition, Dolan and Galinka communicated regularly during that time and

                     regularly discussed, among other things, their political views and their support for

                     Clinton.54

                  b. Galinka viewed Dolan as an “advisor” to Clinton and believed that he would “take

                     [her] to the State Department if Hillary wins.”55


    50
       Declaration of Olga Aleksandrovna Galkina dated June 8, 2021 (ECF Doc. No. 153-8),
    Fridman, et al. v. Bean LLC a/k/a Fusion GPS, et al., case no. 17-2041-RJL, District of
    Columbia (June 21, 2021).
    51
       Declaration of Alexey Sergeyevich Dundich dated May 13, 2021 (ECF Doc. No. 153-4),
    Fridman, et al. v. Bean LLC a/k/a Fusion GPS, et al., case no. 17-2041-RJL, District of
    Columbia (June 21, 2021).
    52
       See generally Danchenko Indictment.
    53
       Id. ¶¶ 39-41.
    54
       Id. ¶ 41.
    55
       Id. ¶¶ 41.

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           113.     Certain information contained in the Dossier, which Danchenko provided to Steele,

    mirrors and/or reflects information that Dolan had conveyed to Danchenko.

           114.     For example, an allegation contained in Report 80 of the Dossier, claiming that

    Donald J. Trump had previously engaged in “salacious sexual activity” in the Presidential Suite at

    a Moscow hotel, was derived from Dolan:

                  a. Dolan had stayed at the Moscow hotel in June 2016, and, during that trip, he

                     participated in, among other things: 1) a meeting with the general manager of the

                     Moscow hotel and a female hotel staff member, (2) a lunch with a Staff Member

                     and other members of the Moscow hotel staff and (3) a tour of the Moscow hotel,

                     including the Presidential Suite.

                  b. Thereafter, Dolan told Danchenko that he learned from a hotel staffer that Trump

                     had stayed in the Presidential Suite and engaged in “salacious sexual activity.”

                  c. References to the Moscow hotel, the Presidential Suite, and a hotel manager and

                     other staff would all later appear in the Dossier, which included absurd allegations

                     that Trump participated in “sexual or salacious activity.”

                  d. Dolan ultimately admitted that no one at the hotel mentioned anything to him about

                     Trump’s supposed "sexual or salacious" activity.

           115.     Another allegation, contained in Report 111 of the Dossier, claiming that the

    Russian government withdrew a Russian from his job at the Russian Embassy in Washington, D.C.

    due to fears relating to the diplomat's purported role in meddling in the U.S. Presidential Election,

    had clearly originated from Dolan:

                     [S]peaking separately to [a] compatriot, a senior Russian [Ministry
                     of Foreign Affairs] official reported that as a prophylactic measure,
                     a leading Russia diplomat, [Russian Diplomat-1), had been

                                                     29
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                     withdrawn from Washington on short notice because Moscow
                     feared his heavy involvement in the US presidential election
                     operation, including the so-called veterans' pensions ruse (reported
                     previously), would be exposed in the media there. His replacement,
                     [Russian Diplomat-2] however was clean in this regard.

              116.   This allegation bore substantial similarities to information that Dolan received

    during the 2016 time period.

              117.   Moreover, Dolan was undoubtedly a source for an allegation in the Dossier

    regarding Paul Manafort's departure from the Trump Campaign:

                     S/he said it was true that the Ukraine corruption revelations had
                     played a part in this, but also, several senior players close to
                     [Trump] had wanted [Paul Manafort] out, primarily to loosen his
                     control on strategy and policy formulation. Of particular
                     importance in this regard was Paul Manafort's] predecessor as
                     campaign manager, [Campaign Staff Member-1-], who hated [Paul
                     Manafort] personally and remained close to [Trump] with whom
                     he discussed the presidential campaign on a regular basis.

              118.   The above allegation contained information that Dolan provided to Danchenko is

    in response to a specific request. In particular, on August 19, 2016, Danchenko e-mailed Dolan to

    inquire as to any “thought, rumor, or allegation” about Paul Manafort.

              119.   Thereinafter, on August 20, 2016, Dolan e-mailed Danchenko the following:

                     I had a drink with a GOP friend of mine who knows some of the
                     players and got some of what is in this article, which provides even
                     more detail. She also told me that [Campaign Staff Member-1],
                     who hates [Paul Manafort] and still speaks to Trump regularly
                     played a role. He is said to be doing a happy dance over it.

              120.   Later that same day, Danchenko replied to Dolan, expressing his appreciation for

    the information, adding that their “goals clearly coincide[d]” with respect to gathering derogatory

    information about Trump.56 Dolan responded, stating “Thanks! I’ll let you know if I hear anything


    56
         Id. ¶ 49.

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    else.”57

               121.   Moreover, an allegation contained in an undated Dossier report described a "well-

    developed conspiracy of cooperation" between Donald J. Trump, the Trump Campaign, and senior

    Russian officials, claiming:

                      Speaking in confidence to a compatriot in late July 2016, [Source
                      E], an ethnic Russian close associate of Republican US presidential
                      candidate Donald Trump, admitted that there was a well-developed
                      conspiracy of co-operation between them and the Russian
                      leadership. This was managed on the Trump side by the Republican
                      candidate's Campaign manager, [Paul Manafort], who was using
                      foreign policy advisor, [Carter Page], and others as intermediaries.
                      The two sides had a mutual interest in defeating Democratic
                      presidential candidate Hillary Clinton, whom President Putin
                      apparently both hated and feared.

               122.   This allegation would ultimately be offered in support of four FISA applications

    targeting former Trump Campaign associate Carter Page.

               123.   An additional allegation contained in the Dossier indicated that Russian diplomatic

    staff in Washington, D.C., New York, and Miami were paying U.S.-based cyber actors to conduct

    operations against the Democratic Party and Clinton.

                Sussmann Recruits Joffe and Neustar to Lead a Cyberattack Against Trump

               124.   While Elias was overseeing Fusion GPS, Orbis, Steele and others in the creation of

    the Dossier, Sussmann—at the direction of the Clinton Campaign and the DNC—was heading

    another aspect of the Defendants’ conspiracy: a plot to exploit sensitive data sources and falsify

    evidence to manufacture ties between Donald J. Trump and a Russian bank.

               125.   To put this plan in motion, the Clinton Campaign, DNC, Perkins Coie and Fusion

    GPS would require the assistance of a cybersecurity expert with the expertise and access to


    57
         Id. ¶ 50.

                                                      31
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    sensitive, non-public data that could be exploited for their nefarious purposes.

           126.    At all relevant times, Neustar was an information technology company founded in

    1998 which offers various internet-related information, data and analytics services, including

    Domain Name System (“DNS”) resolution services, to its customers.58

           127.    At all relevant times, Neustar processed approximately 150 billion DNS responses

    per day with regard to its customers’ data; this data is stored, for a period of time, by Neustar.59

           128.    Far from apolitical, Neustar and its employees have long been aligned with the

    Democratic Party. In 2016 alone, 100% of congressional campaign donations from Neustar

    employees went to Democrats.

           129.    At all relevant times, Joffe was an executive of Neustar and had an ownership

    interest in at least six additional technology and/or data-related companies, Dissect Cyber Inc.

    (“Dissect Cyber”), Zetalytics LLC (“Zetalytics”), BitVoyant, LLC (“BitVoyant”), BlueVoyant,

    LLC (“Bluevoyant”), Packet Forensics, LLC (Packet Forensics”), and Littoral Ventures, LLC

    (“Littoral”) (collectively, the “Data Companies”).

           130.    At all relevant times, Joffe had access to numerous data sources through his various

    positions with Neustar and the Data Companies, including access to non-public, proprietary data.

           131.    In or around 2016, Joffe was in communication with high-ranking officials of the

    Clinton Campaign and/or the DNC in the lead-up to the 2016 Presidential Election.

           132.    During that time, Joffe was “tentatively offered the top [cybersecurity] job by the

    Democrats” in the event Clinton won the presidency. He stated that he “definitely would not take



    58
       Sussmann Indictment at ¶ 12.
    59
       Testimony of Steve DeJong at tr. 504:18-25, U.S. v. Sussmann, May 17, 2022 (trial transcript;
    afternoon session) (hereinafter, “DeJong Testimony”).

                                                     32
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    the job under Trump.”60

           133.     Since at least August 2009, Perkins Coie, and Sussmann in particular, frequently

    served as outside counsel for Joffe and Neustar; as such, Neustar was a significant source of

    revenue for Perkins Coie.61

                  a. For instance, from 2014 through 2017, Perkins Coie billed the following amounts

                     to Neustar: $693,323.49 in legal fees in 2014; $1,197,254.04 in legal fees in 2015;

                     $1,476,851.84 in legal fees in 2016; and $2,155,216.65 in legal fees in 2017.62

           134.     In or around July 2016, Perkins Coie, Elias and Sussmann, acting on behalf of and

    at the direction of the Clinton Campaign and the DNC, tasked Joffe to exploit his access to the

    information gathering services and non-public data of Neustar and the Tech Companies to dredge

    up confidential, proprietary, non-public information, data and/or records relating to Donald J.

    Trump, the Trump Campaign, and the Trump Organization, in the hopes that the data would reveal

    wrongdoing that could be used to create an injurious falsehood to harm the political reputation of

    Donald J. Trump.

           135.     The Clinton Campaign, the DNC, Fusion GPS, and Joffe further agreed that, if no

    such damaging information could be found, that the ill-obtained data would be falsified and/or

    presented in a fraudulent manner to create an “inference” of wrongdoing.63

           136.     The above-named Defendants referred to this project as “Crimson Rhino.”64



    60
       Sussmann Indictment ¶ 15.
    61
       Gov’t Ex. 2202, U.S. v. Sussmann.
    62
       Id.
    63
       Sussman Indictment at ¶23(h); see also Paul Sperry, Clinton Tech” Rodney Joffe Had a Shady
    Past Before He Targeted Trump, New York Post, February 21, 2022.
    64
       Testimony of Jay Novick, U.S. v. Sussmann, May 17, 2022 (trial transcript, morning session)
    (hereinafter, the “Novick Testimony”).

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           137.     The name was used to avoid having the name “Trump” bandied about, and its

    purpose was to link certain individuals listed in a tasking document—all “of whom were associated

    with the Trump Campaign—with Russia.65

           138.     The purpose of obtaining this information was to modify it to appear incriminating

    and then to disseminate it to law enforcement and the media, thereby damaging the candidacy and

    overall electability of Donald J. Trump.66

           139.     As described in greater detail below, with regard to their interactions with law

    enforcement, the Defendants’ agreed to utilize a method known as ‘circular reporting’ whereby

    two individuals—Sussmann and Joffe—would simultaneously and surreptitiously present

    evidence to law enforcement in an attempt to self-corroborate their respective efforts.

           140.     In furtherance of these efforts, beginning in or around July 2016, Joffe began

    exploiting his access to non-public data sources, including through Neustar and the Data

    Companies, in search of proof of a secret “back channel” between Donald J. Trump or the Trump

    Organization and Alfa Bank.67

           141.     In doing so, Joffe unlawfully searched, gathered and mined internet data, including

    non-public and proprietary data, to obtain derogatory information on Donald J. Trump.68

                  a. The purpose of obtaining such data was to create an “inference” and “narrative”

                     regarding Trump’s purported ties to Russia.69



    65
       Novick Testimony at tr. 1999:19-2015:25.
    66
       Sussman Indictment at ¶21.
    67
       Sussmann Indictment ¶¶ 21-23; see also Motion to Inquire into Potential Conflicts of Interest ¶
    4 (ECF Doc. No. 35), United States v. Sussmann, case no. 1:21-cr-00582-CRC, District of
    Columbia (Feb. 11, 2022) (hereinafter “Sussmann Conflict Motion”).
    68
       Id.
    69
       Sussmann Indictment ¶ 23.

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                    b. Those actions were directed by and/or done at the behest of certain “VIPs” of the

                       Clinton Campaign and Perkins Coie.70

                    c. Those “VIPs” include Clinton, Sullivan, Elias and/or Sussmann.

             142.     Among other things, Joffe—at the direction of Clinton, the Clinton Campaign, the

    DNC, Perkins Coie, and Sussmann—exploited his access to non-public and proprietary internet

    data through Neustar and the Data Companies, including without limitation, domain name system

    (DNS) internet traffic, of: (i) a healthcare provider; (ii) Trump Tower; (iii) Donald Trump’s private

    apartment in Central Park West, and (iv) the Executive Office of the President of the United States

    (EOP).71

                    a. In doing so, Joffe, by and through his position with Neustar, intentionally

                       accessed, without authorization or in excess of any authorization, the computers,

                       servers, and/or other sensitive data sources at the above-stated facilities.

                    b. Joffe, by and through his position with Neustar, stole trade secrets, in the form of

                       proprietary, sensitive and confidential data, information, and knowledge, from the

                       above-stated facilities.

                    c. After obtaining the data, Joffe, by and through his position with Neustar,

                       “spoofed” the information, by disguising the origin of the computer

                       communications, and making them appear falsely to originate from a particular IP

                       address.

             143.     With regard to the EOP, Joffe and Neustar had come to access and maintain

    dedicated servers for the EOP as part of a highly sensitive arrangement whereby Neustar provided


    70
         Id. ¶ 22-23; see also Sussmann Conflict Motion ¶¶ 4-5.
    71
         Id.

                                                        35
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    DNS resolution services to the EOP.72

           144.   Joffe and Neustar exploited this arrangement by, among other things, mining the

    EOP’s DNS traffic and other data for the purpose of gathering derogatory information about

    Donald J. Trump.73

           145.   In addition, Joffe, Neustar, and their associates queried their holdings of non-public

    internet data against a lengthy list of more than 9,000 IP addresses, 3,000 internet domains, and

    60 e-mail addresses and domains that related to Donald J. Trump, the Trump Organization, and

    numerous Trump associates, in their search for derogatory information.74

           146.   Donald J. Trump only recently learned of this information no earlier than

    September 16, 2021, as these revelations were exposed for the first time in the Sussmann

    indictment and/or subsequent motions filed by Special Counsel John Durham.

                     The Defendants Commence Their Disinformation Campaign

           147.   Steele finished his first report of the Dossier on June 20, 2016.

           148.   Almost immediately thereafter, Fusion GPS, with the approval of the Clinton

    Campaign, the DNC and Perkins Coie, began shopping their fictitious stories to various news

    outlets, hoping that it would become national and international news, and ultimately cause harm

    to Donald J. Trump.

           149.   Importantly, all of the communications between Fusion GPS and the media, as

    described infra, were expressly authorized by Perkins Coie, the DNC and the Clinton Campaign,

    as Simpson has testified that Fusion GPS does not share information with the media without



    72
       Id.
    73
       Id.
    74
       Sussman Indictment at ¶22(h).

                                                   36
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    express consent from its clients.75

              150.   Beginning as early as May 2016, Fusion GPS began contacting reporters to

    persuade them to publish negative stories about Trump, the Trump Campaign, and the Trump

    Organization – stories that Fusion GPS was well aware were false and misleading.

              151.   Around that same time, Fusion GPS also directed Steele to spread information to

    the media, including briefing journalists on his ‘findings’ and disseminating information to the

    media. 76

              152.   On May 14, 2016, Fritsch and Fusion GPS employee, Jake Berkowitz, engaged in

    various communications with Franklin Foer, a journalist for Slate, concerning the purported

    Russian connections of several of Trump’s campaign associates, including Carter Page and Rick

    Burt.77

              153.   On June 27, 2016, Fritsch sent an e-mail to Foer attempting to insinuate that the

    Trump Campaign was colluding with Russa.78

              154.   The next day, June 28, 2016, Foer responded and provided a draft article to Fritsch

    and Berkowitz to review, stating: “I'm out of town this week. I handed in a draft of the piece - -

    here’s a copy. It’s not at all edited, so forgive all the rawness. I have no idea what my editor will



    75
       Simpson Testimony at 32-33 (“Q:[I]f you’re doing work on behalf of a client, it could be I
    guess one of two situations: The client could either authorize you to talk to reporters on their
    behalf; or if a reporter called you and asked you for information, you could check with your
    client as to whether you have their permission to share the information? A: That is correct. […]
    Q: You wouldn’t be sharing information without your client’s approval one way or the other? A:
    That’s right.”).
    76
       Id. at 59 (“Q: Did you direct Steele to brief the media outlets, and why? A: Yeah. We did it
    together.”)
    77
       U.S. v. Sussmann, ECF Doc. No. 98-1 (hereinafter the “Fusion GPS e-mails”), e-mails from
    Franklin Foer to Jake Berkowitz dated May 14, 2016 through May 15, 2016.
    78
       Fusion GPS e-mails, e-mail from Peter Fritsch to Franklin Foer dated June 27, 2016 9:23am .

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    say. But can you guys scan it for omissions and errors? And obviously, keep it to yourself. (Also

    promise me that you won’t use it as a prod to the competition, whoever they are now.).”79

            155.   Fritsch replied on the same day, stating that he and Berkowitz would “read it closely

    and make some suggestions.”80

            156.   In addition to spreading their lies through the media, the Clinton Campaign, the

    DNC, Perkins Coie and Fusion GPS also planned to simultaneously report their false stories to

    federal law enforcement and counterintelligence authorities.

            157.   The purpose of feeding their false narratives to federal authorities was twofold:

    first, the Defendants sought to trigger various federal investigations into Donald J. Trump and his

    associates, hoping that it would injure his candidacy and political reputation; second, the

    Defendants sought to bolster the credibility of the stories they were peddling to the media by the

    fact that they were being actively investigated by federal authorities.

            158.   The opening salvo occurred on July 5, 2016, when Steele—a paid FBI informant—

    began sending his dossier memoranda to the FBI, knowing that they contained false information

    on Donald J. Trump purporting to show compromising ties to Russia.81

            159.   Simpson has admitted that Fusion GPS was aware that Steele was going to brief the

    FBI about his ‘findings’ relating to Trump and Russia and that Simpson “assented to” him doing

    so.82

                      The Intelligence Community Uncovers the Defendants’ Plot
            160.   The Republican National Committee (“RNC”) held its presidential nominating


    79
       Fusion GPS e-mails, e-mails between Fristch, Berkowitz and Foer dated June 28, 2016.
    80
       Id.
    81
       Id. at ¶ 2; see also IG Report.
    82
       Simpson Testimony at 61.

                                                     38
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    convention from July 18 through July 21, 2016, wherein Donald J. Trump was nominated as the

    Republican Nominee for President of the United States in the 2016 election.

           161.   On July 26, 2016, Clinton formally won the nomination of the Democratic Party at

    the Democratic National Convention.

           162.   In late July of 2016, U.S. intelligence agencies obtained insight into Russian

    intelligence analysis alleging that Clinton had “approved a campaign plan to stir up a scandal

    against U.S. Presidential candidate Donald Trump by tying him to Putin and the Russians’ hacking

    of the Democratic National Committee.”83

           163.   Sometime thereafter, CIA Director John Brennan briefed then-President Barack

    Obama and other senior national security officials on the intelligence, including the “alleged

    approval by Hillary Clinton . . . of a proposal from one of her foreign policy advisors to vilify

    Donald Trump by stirring up a scandal claiming interference by Russian security services.”84

           164.   Meanwhile, throughout the course of the Democratic National Convention, which

    was held between July 25, 2016 through July 28, 2016, Sullivan—Clinton’s foreign policy

    advisor—“really started sounding the alarm” about Russian interference in the 2016 Presidential

    Election.85

           165.   Sullivan and Jennifer Palmieri, then-Communications Director for the Clinton

    Campaign, were “on a mission to get the press to focus on . . . the prospect that Russia had not



    83
       Letter from John Ratcliffe, Dir. of Nat’l Intelligence, to Sen. Lindsey Graham, Chairman, S.
    Comm. on the Judiciary (Sept. 29, 2020), https://www.judiciary.senate.gov/imo/media/doc/09-
    29-20_Letter%20to%20Sen.%20
    Graham_Declassification%20of%20FBI's%20Crossfire%20Hurricane%20Investigations_20-
    00912_U_SIGNEDFINAL.pdf. .
    84
       Id.
    85
       Sullivan Testimony at 14.

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    only hacked and stolen e-mails from the Democratic National Committee, but that it had done so

    to help Donald Trump and hurt Hillary Clinton.”86

           166.     Sullivan began meeting with the “reporting and producer teams of each of the major

    networks” including “CNN, ABC, FOX, CBS [and] NBC.”87

           167.     Among other things, Sullivan briefed the major networks on “the nature of the

    connections between several members of Trump’s foreign policy and political team and elements

    of the Russian Government or Russian-backed proxies” and how these connections allegedly

    created a “pretty disturbing picture.”88

           168.     In or around that time, Frisch e-mailed journalist Jay Solomon with the Wall Street

    Journal, discussing a senior Trump advisors’ supposed meeting with former KGB official with

    close ties to Putin, among other false allegations of Russia collusion. In one e-mail, Peter Frisch,

    on July 26, 2016, wrote to the Wall Street Journal reporter, when he told him that Carter Page “is

    neither confirming or denying”. that he should “call adam Schiff. Or difi for that matter. I bet they

    are concerned about what page was doing other than giving a speech over 3 days in Moscow.”

           169.     On the morning of July 31, 2016, Steele met with Nellie Ohr and Bruce Ohr, at

    which time Steele discussed his work on the Steele Dossier. Bruce Ohr was already aware at that

    time that Steele was “sharing his information with the Clinton campaign.”89

                  a. Thereafter, in August 2016, Bruce Ohr met with Andrew McCabe and Lisa Page

                     and briefed them on the false accusation contained in the Steele Dossier,


    86
       Jennifer Palmieri, The Clinton campaign warned you about Russia. But nobody listened to us.,
    The Washington Post, March 24, 2017.
    87
       Interview of Jake Sullivan at tr. 15, Permanent Select Committee on Intelligence, U.S House
    of Representatives, December 21, 2017 (hereafter, the “Sullivan Testimony”).
    88
       Id. at 16.
    89
       S. REP. NO. 116-290, vol. 5, at 909–10.

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                    particularly those concerning Carter Page.

             170.   On that same day, as described in greater detail below, the FBI opened a Foreign

    Agents Registration Act (“FARA”) investigation, known as Operation Crossfire Hurricane

    (“Crossfire Hurricane”), into whether individuals associated with the Trump Campaign were

    witting of and/or coordinating activities with the Russian government.

              Defendants Escalate Their Efforts as the FBI Launches Crossfire Hurricane

             171.   As the unfounded Crossfire Hurricane investigation was unfolding, Clinton, the

    Clinton Campaign, the DNC, Perkins Coie undertook further efforts to prop up the unfounded

    investigation, spark additional investigations within the FBI, and spread disinformation through

    the media.

             172.   In particular, Clinton, the Clinton Campaign, the DNC, Perkins Coie and Fusion

    GPS devised a plot whereby Sussmann and Joffe would each independently and surreptitiously

    present their ‘white papers’ and modified data to the FBI in the hopes that the dual presentation

    would corroborate their respective findings. This tactic is known as ‘circular reporting.’

             173.   At the same time, Steele would continue—and accelerate—his interactions with the

    FBI, as part of a collective effort to make their allegations of Trump-Russia collusion appear

    legitimate.

             174.   Meanwhile, Fusion GPS, Steele, Sussmann would simultaneously engage with

    journalists and attempt to leverage the ongoing investigations—which they knew to be falsely

    prompted—as a means of adding credibility to their claims and perpetuating their lies through the

    media.

             175.   On July 29, 2016, Elias, Sussmann, Joffe, Fritsch, and Fusion GPS employee Laura



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    Seago had an in-person meeting at the Washington D.C. office of Perkins Coie.90

                  a. The purpose of the meeting was “to discuss allegations of communications

                     between the Trump organization and Alfa Bank.”91

                  b. An inter-office calendar entry for Perkins Coie designated the meeting as

                     pertaining to the “Clinton” matter.92

           176.     On the same day, Steele was also present at Perkins Coie’s Washington D.C. office

    for a meeting with Sussmann.93

                  a. At that meeting, Sussmann told Steele about a purported connection between a

                     server at Alfa Bank and a server at the Trump Organization.94

                  b. Shortly after the meeting concluded, Simpson directed Steele to draft

                     Memorandum 112 of the Steele Dossier, which concerns the purported corrupt ties

                     between Alfa Bank and the Russian Government.95

                  c. According to Steele, the “instruction to produce [Memorandum 112] was

                     absolutely definitely linked to the server issue." 96


           177.     All of Sussmann’s time for the July 29 meetings was billed to the Clinton Campaign

    under the category “General Political Advice”97 with the billing description “meeting with Elias,



    90
       See Gov’t Ex. 1705, U.S. v. Sussmann; see also Steele Dep. at tr. 159:10 (March 17, 2020).
    91
       Saego Testimony at tr. 575:20-22.
    92
       See Gov’t Ex. 1705, U.S. v. Sussmann.
    93
       Steele Dep. at tr. 159:10 (“I visited Perkins Coie on 29 July.”).
    94
       Steele Dep. at tr. 1:19-25 through 2:1-3 (March 18, 2020).
    95
       Id. at tr. 2:4-6 (March 18, 2020)
    96
       Id. at tr. 5:1-2.
    97
       For all of Sussmann’s other billing entries cited herein that he billed to the Clinton Campaign,
    he similarly billed his time to the Clinton Campaign under the category “General Political
    Advice.”

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    others regarding [] confidential project.”98

           178.       On July 31, 2016, Sussmann billed the Clinton Campaign for “communications

    with M. Elias regarding server issue”.99

           179.       Shortly thereafter, in early August 2016, Sussmann met with Steele again to discuss

    the Trump-Alfa Bank allegations; his time for the meeting was billed to the Clinton Campaign.100

           180.       On about August 12, 2016, Sussmann met with Elias and Joffe in Elias’ office; the

    meeting was billed to the Clinton Campaign with the billing description “confidential meetings

    with Elias, others.”101

                  a. Fritsch also met with Sussmann at the Perkins Coie office on the same date.102

           181.       On or about August 17, 2016, Sussmann had a conference call with Elias and Joffe;

    his time was billed to the Clinton Campaign with the billing description “telephone conference

    with Joffe.”103

           182.       On the same day, there was also a conference call between Elias, Simpson, Fritsch,

    and Clinton Campaign attorney Deborah Fine.104

           183.       On or about August 19, 2016, Sussmann had another meeting with Elias and Joffe;

    Sussmann billed his time to the Clinton Campaign with the billing description stating, in part,

    “confidential meeting with Elias, others[.]”



    98
       Gov’t Ex. 1704, U.S. v. Sussmann.
    99
       Gov’t Ex. 553.2, U.S. v. Sussmann.
    100
        Tr. of Interview at 74–75, H. Permanent Select Comm. on Intelligence Interview of Michael
    Sussmann (Dec. 18, 2017), https://www.dni.gov/files/HPSCI_Transcripts/2020-05-04-
    Michael_Sussmann-MTR_Redacted.pdf; Tr. of Steele Dep. at 1–2.
    101
        Sussmann Indictment at ¶20; see also Gov’t Ex. 1704, U.S. v. Sussmann.
    102
        Gov’t Ex. 0318, U.S. v. Sussmann.
    103
        Gov’t Ex. 1704, U.S. v. Sussmann.
    104
        Gov’t Ex. 0326, U.S. v. Sussmann.

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           184.     On or about August 20, 2016, Sussmann met with a representative of Fusion GPS

    and communicated with the media; he billed his time to the Clinton Campaign with the billing

    description, “Meeting with consultant and Elias; revisions to White Paper; meeting with expert;

    meeting with expert and reporter; follow up meeting with reporter; conversations with Elias.”

           185.     On the same day, Georgia Tech researcher Manos Antonakakis e-mailed Steve

    DeJong, a Neustar employee, stating, in pertinent part: “You know that if you are getting an

    encrypted e-mail with Rodney [Joffe] CCed, in the middle of the night, something is up. I will

    need you to pull all data you have (UltraDNS, TLDs, ccTLDs, and especially the data from the

    ‘Secondary’ dataset we talked about in May), for the following zones and IP addresses:” and then

    listed numerous domains relating to Trump and/or Alfa Bank.105

           186.     Although the e-mail was sent from Mr. Antonakakis, it was understood that the

    ‘research request’ that required the data was, in fact, from Joffe.106



           187.     On the same day, August 20, 2016, Joffe and his researchers manipulated a sales

    form on two different websites, faking the other’s e-mail address to make them “appear to

    communicate with each other. . .”107

                  a. Joffe believed that this fake “inference” was believable enough that “Hillary's

                     opposition research and whatever professional gov[ernments] and investigative



    105
        Gov’t Ex. 0111; see also DeJong Testimony at tr. 513:5-14.
    106
        Id. at 514:7-13 (“It’s not uncommon for us to get research requests and data requests. Rodney
    was well-known for working at all hours, 24/7, depending on what time zone he happened to be
    in. It was not uncommon for us to get these requests. It was a little uncommon that it would
    come from Manos, but it wasn’t unexpected that it would come from Rodney in the middle of the
    night.”).
    107
        Sussmann Indictment at ¶23.

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                       journalists are also digging [would] come up with the same things[.]”108

            188.       On or about the same date, Joffe clarified in an e-mail that the “task” he had been

    “given” by Perkins Coie, the Clinton Campaign, and the DNC was “indeed broad” and further

    stated, in part:

                       Being able to provide evidence of *anything* that shows an attempt
                       to behave badly in relation to this, the VIPs would be happy. They're
                       looking for a true story that could be used as the basis for closer
                       examination.109

            189.       On or about August 21, 2016, Joffe e-mailed his team of researchers, urging them

    to push forward with their anti-Trump research, which he claimed would “give the base of a very

    useful narrative.”110

            190.       In that same e-mail, Joffe admitted that the ‘narrative’ that they were trying to

    prove—a connection between Trump and Alfa Bank—was merely a “red herring” with no factual

    basis that should be “ignored.”111

            191.       On September 1, 2016, Sussmann met with Eric Lichtblau of the New York Times

    to discuss the false Trump-Alfa Bank connection; Lichtblau would later write an article about the

    topic.112

            192.       On September 8, 2016, Fritsch providing a summary of findings on the Trump

    Russia connection to Steven Mulfson of the Washington Post.

            193.       Beginning on or about September 5, 2016, despite knowing that the data relating to

    the Trump and Alfa Bank servers was merely a ‘red herring’, Sussmann, Joffe and Fusion GPS


    108
        Id.
    109
        Id.
    110
        Id.
    111
        Id.
    112
        Gov’t Ex. 0349, U.S. v. Sussmann.

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    began to draft, review, and revise multiple “White Papers” summarizing the allegations—which

    they knew to be false—of a supposed tie between Donald J. Trump and Alfa Bank.113

           194.    All the time Sussmann spent drafting his ‘white papers,’ as with all his time spent

    working with Neustar, Fusion GPS, and all of his acts in furtherance of the Defendants’ conspiracy,

    were billed to the Clinton Campaign.114

           195.    The next day, on September 6, 2016, Sussmann and Elias met with representatives

    of Fusion GPS; he billed his time to the Clinton Campaign and the meeting was categorized as

    relating to the “Clinton” matter.115

           196.    On September 7, 2016, U.S. intelligence officials forwarded an investigative

    referral to Comey and Strzok regarding “U.S. Presidential candidate Hillary Clinton’s approval of

    a plan concerning U.S. Presidential candidate Donald Trump and Russian hackers hampering U.S.

    elections as a means of distracting the public from her use of a private mail server.”116

           197.    On September 12, 2016, Sussmann spoke with Elias via phone regarding

    Sussmann's efforts to communicate with one newspaper on the allegations about Alfa Bank;

    Sussmann and Elias both billed the call to the Clinton Campaign.

           198.    On September 13, 2016, Sussmann purchased two thumb drives (the “Thumb

    Drives”) from a Staples located nearby Perkins Coie’s Washington D.C. Office.117


    113
        Id. at ¶24; see also American News, Fusion GPS Revealed To Have Pushed Russia Collusion
    Story to Numerous Outlets, April 27, 2020.
    114
        See generally Sussmann Indictment.
    115
        Gov’t Ex. 1705, U.S. v. Sussmann.
    116
        Letter from John Ratcliffe, Dir. of Nat’l Intelligence, to Sen. Lindsey Graham, Chairman, S.
    Comm. on the Judiciary (Sept. 29, 2020), https://www.judiciary.senate.gov/imo/media/doc/09-
    29-20_Letter%20to%20Sen.%20
    Graham_Declassification%20of%20FBI's%20Crossfire%20Hurricane%20Investigations_20-
    00912_U_SIGNEDFINAL.
    117
        Gov’t Ex. 0380, U.S. v. Sussmann.

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           199.     The expense for the Thumb Drives was charged to, and ultimately reimbursed by,

    the Clinton Campaign.118

           200.     On or about September 14, 2016, Joffe sent the white paper, on which Sussmann

    had been working, to his team with the following comment:

                    Please read as if you had no prior knowledge or involvement, and
                    you were handed this document as a security expert (NOT a DNS
                    expert) and were asked: Is this plausible as an explanation?' NOT to
                    be able to say that this is, without doubt, fact, but to merely be
                    plausible. Do NOT spend more than a short while on this (If you
                    spend more than an hour you have failed the assignment). Hopefully
                    less. :)119

           201.     On or about the same date, one of Joffe’s researchers replied, stating that the white

    paper achieved Joffe’s objective, but noting that the paper “smartly” avoided discussing

    weaknesses or “holes” in the paper's hypothesis.120

                  a. In a September 15, 2016 e-mail correspondence, one of the recipients of the

                     question responded to Joffe, stating, in part, that the “paper's conclusion was

                     plausible” in the “narrow scope” defined by Joffe.

                  b. In a September 16, 2016 e-mail correspondence, one of Joffe’s team confirmed

                     that Sussmann would convey the false information to the FBI regarding the

                     supposed connection between Donald J. Trump and Alfa Bank, with the plan to

                     deceive.121

           202.     In or around that time, in early-to-mid September 2016, a meeting occurred at the

    offices of Perkins Coie in Washington D.C. Attendees included Elias, Sussman, Joffe, Fritsch and


    118
        Id.
    119
        Id. at ¶24.
    120
        Sussman Indictment at ¶24(f).
    121
        Sussman Indictment at ¶24(i).

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    Fusion GPS employee Lauren Seago; the purpose of the meeting was to review and discuss the

    status of the “allegations of communications between the Trump Organization and Alfa Bank.” 122

           203.     On or about September 15, 2016, just four days before Sussmann’s meeting with

    the FBI, Elias exchanged e-mails with Sullivan, Mook, Podesta, and Palmieri with the subject line

    “Alfa Bank article” – i.e., the plot to falsely connect Donald J. Trump to the Russian bank, Alfa

    Bank, by disseminating the lies to the media.123

          Sussmann Meets with FBI General Counsel to Submit Falsified Data and Evidence

           204.     On September 18, 2016, Sussmann texted the FBI General Counsel, Jim Baker,

    stating the following: “Jim — it’s Michael Sussmann. I have something time-sensitive (and

    sensitive) I need to discuss. Do you have availability for a short meeting tomorrow? I’m coming on

    my own — not on behalf of a client or company — want to help the Bureau. Thanks,” he wrote in

    the message displayed in court.”

           205.     On September 19, 2016, Sussmann met with Baker at FBI Headquarters in

    Washington D.C. to convey his allegations of the connection between Donald J. Trump and the

    Russian bank.124

           206.     During this meeting, the following, in substance and in part, took place:

                  a. Sussmann stated falsely that he was not acting on behalf of any client, which led

                     Baker to understand that Sussmann was conveying the allegations as a good citizen

                     and not as an advocate for any client.125



    122
        Testimony of Laura Seago at tr. 575:20-22, U.S. v. Sussmann, May 18 (trial transcript;
    morning session) (hereinafter, the “Seago Testimony”).
    123
        Gov’t Ex. 0390, U.S. v. Sussmann.
    124
        Sussman Indictment at ¶27.
    125
        Sussman Indictment at ¶27(a).

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               b. Sussmann stated that he had been approached by multiple cyber experts

                   concerning the Russian bank connections allegations; Sussmann provided the

                   names of three cyber experts but did not name or mention Neustar, Joffe, the

                   Clinton Campaign, or any other person or company referenced above.126

               c. Sussmann described the allegations of a secret Trump Organization server that was

                   in communication with the Russian bank, including that the Russian bank had used

                   a TOR exit node located at a healthcare company to communicate with the Trump

                   Organization.127

               d. Sussmann stated that media outlets were in possession of information about the

                   Trump Organization's secret server, and that a story would be published on Friday

                   of that week.128

               e. Sussmann provided to Baker two Thumb Drives and hard copy papers, which

                   contained and comprised the following: (i) the aforementioned white paper that

                   Sussmann had assisted in drafting, entitled White Paper #1 AuditableV3, which

                   contained no date or author's name; (ii) a white paper drafted by a researcher,

                   which was entitled, White Paper Comments: Time Series Analysis of Recursive

                   Queries, dated September 19, 2016, and contained no author's name; (iii) white

                   paper drafted by Fusion GPS regarding the Russian Bank and its parent company,

                   which contained no date or author’s name; and (iv) eight files containing the

                   Russian Bank data and other purported data and information relating to the



    126
        Sussman Indictment at ¶27(b).
    127
        Sussman Indictment at ¶27(d).
    128
        Sussman Indictment at ¶27(e).

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                      mail.trump-e-mail.com domain.129

                   f. Sussmann told Baker that the issue was “time sensitive” and said that a “major

                      media outlet” would soon be reporting it; in fact, Sussmann was personally

                      pushing the story to the New York Times through his communications with Times

                      reporter, Eric Lichtblau.

            207.      Sussmann reported the Trump-Alfa Bank connection, as though it was real, and lied

    to Baker, by falsely stating that he was not acting on behalf of any client, when he was specifically

    there at the behest of Clinton, the Clinton Campaign, and the DNC. In fact, he billed the Clinton

    Campaign for his efforts, as he had with all of his actions taken in furtherance of the Defendants’

    conspiracy.130

            208.      Sussmann’s statement to Baker that he was not acting on behalf of any client was

    knowingly and intentionally false. In truth, and as Sussmann well knew, he and his firm, Perkins

    Coie, had been acting on behalf of and in coordination with five specific clients, i.e., Clinton, the

    Clinton Campaign, the DNC, Fusion GPS, Joffe, and Neustar in assembling and conveying his

    allegations.131

            209.      Sussmann billed his meeting with Baker to the Clinton Campaign with the billing

    description, “work and communications regarding confidential project.”132

            210.      Sussmann concealed and failed to disclose, among other things, that, (i) he had

    spent time drafting one of the white papers he provided to Baker and billed that time to the Clinton

    Campaign, (ii) Fusion GPS, which at the time was also acting as a paid agent of the Clinton


    129
        Sussman Indictment at ¶27(f).
    130
        Sussman Indictment at ¶30.
    131
        Id.
    132
        Sussman Indictment at ¶29.

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    Campaign and the DNC, drafted another of those white papers; and (iii) the “major media outlet”

    was the New York Times and Sussmann himself had provided the Alfa Bank allegations to Times

    reporter Eric Lichtblau.133

              211.   Sussmann's lies and omissions were material because, among other reasons, they

    misled Baker and other FBI personnel concerning the political nature of his work and deprived the

    FBI of information that might have permitted it more fully to assess and uncover the origins of the

    relevant data and technical analysis, including the identities and motivations of Sussmann's

    clients.134

              212.   Had the FBI uncovered the origins of the relevant data and analysis, it would have

    learned, among other things, that (i) in compiling and analyzing the Alfa Bank allegations, Joffe

    had exploited his access to non-public data at multiple internet companies to conduct opposition

    research concerning Donald J. Trump; (ii) in furtherance of these efforts, Joffe had enlisted, and

    was continuing to enlist, the assistance of researchers at a U.S.-based university who were

    receiving and analyzing internet data in connection with a pending federal government

    cybersecurity research contract; and (iii) Sussmann, Elias, Perkins Coie, Joffe, and Neustar had

    coordinated, and were continuing to coordinate, with representatives and agents of the Clinton

    Campaign and the DNC with regard to the data and written materials that Sussmann gave to the

    FBI and the media.

              213.   Immediately after the aforementioned September 19, 2016, meeting, Baker spoke

    with the Assistant Director of the FBI's Counterintelligence Division, Bill Priestap. During their

    conversation, Baker conveyed the substance of his meeting with Sussmann.             Priestap took


    133
          Sussman Indictment at ¶30.
    134
          Sussman Indictment at ¶32.

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    contemporaneous handwritten notes which reflect, in substance, the above-referenced statements

    by Sussmann and stated, among other things: “Michael Sussmann – Atty: Perkins Coie, LLP not

    doing this for any client.”135

           214.     On September 23, 2016, as a direct result of Sussmann’s meeting with Baker, the

    FBI opened a full field investigation into the “network communications between a US-based server

    [the Trump Organization] and the Russian ALFA BANK organization.”136

                  a. A full field investigation is the highest level of investigation that can be authorized

                     by the FBI – it is an investigation in which the FBI “employs all of [its]

                     resources.”137

           215.     The FBI's investigation of these allegations nevertheless concluded that there was

    insufficient evidence to support the allegations of a secret communications channel with the

    Russian bank. In particular, and among other things, the FBI's investigation revealed that the e-

    mail server at issue was not owned or operated by the Trump Organization but rather, had been

    administered by a mass marketing e-mail company that sent advertisements for Trump hotels and

    hundreds of other clients.

           216.     In the weeks following his meeting with the FBI, Sussmann continued to coordinate

    with Joffe, Elias, Fusion GPS, and Steele to disseminate the Russian bank allegations to the media

    and to law enforcement. 138

           217.     For example, on or about October 10, 2016, Sussmann e-mailed a reporter a link to



    135
        Sussman Indictment at ¶28.
    136
        See Def. Ex. DX-525, U.S. v. Sussmann.
    137
        Testimony of Curtis Heide at tr. 1817:25-1818:2, U.S. v. Sussmann, May 24, 2022 (trial
    transcript; afternoon session) (hereinafter, the “Heide Testimony”).
    138
        Sussman Indictment at ¶33.

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    an opinion article which asserted, in substance and in part, that investigative reporters had not

    published as many stories regarding Donald J. Trump as other media outlets.139

                         Joffe Also Contacts the FBI To Report False Information

           218.       On or about October 2, 2016, Joffe reached out to FBI Special Agent (SA) Tom

    Grasso via telephone and provided “information relating to communications between the Trump

    Campaign and some entity in Russia.”140

           219.       In particular, Joffe provided at least one IP address, pertaining to an individual

    connected to Alfa Bank, to SA Grasso.141

           220.       At the time he contacted SA Grasso, Joffe was a confidential human source (CHS)

    for the FBI.142

           221.       Joffe contacted SA Grasso despite the fact that SA Grasso was not Joffe’s handling

    agent.143

                  a. Standard practice within the FBI is for a CHS to deal exclusively with his handling

                      agent.144

           222.       During the course of the call, Joffe specifically asked SA Grasso “not to disclose

    his identity to other people in the Bureau.”145

           223.       Further, Joffe did not disclose to SA Grasso the source of the data he was passing

    along, nor did he disclose his connections to Fusion GPS, Perkins Coie, the DNC or the Clinton


    139
        Sussman Indictment at ¶34.
    140
        Testimony of Tom Grasso at tr. 2159:3-9, U.S. v. Sussmann, May 25, 2022 (trial transcript;
    morning session) (hereinafter the “Grasso Testimony”).
    141
        Id. at tr. 2158:13-14.
    142
        Id. at tr. 2166:24-2167:1.
    143
        Id. at tr. 2167:2-3.
    144
        Id. at tr. 2174:16-20.
    145
        Id. at tr. 2167:19-23.

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    Campaign.146

           224.     The same day Joffe e-mail Grasso, he sent an e-mail to Sussmann to arrange an in-

    person meeting the following day.147

           225.     The Clinton Campaign, the DNC, Perkins Coie, and Fusion GPS were well aware

    JJoffe’s intention to feed false information to the FBI.

           Steele Continues Meeting with Law Enforcement While the Media Blitz Goes On

           226.     Meanwhile, on the same date Sussmann met with the FBI—September 19, 2016—

    Steele provided reports from the Steele Dossier to the FBI which contained false information

    regarding Carter Page and his purported ties to Russia.

                  a. Thereafter, the FBI applied for four (4) separate FISA warrants as to Carter Page.

                  b. In doing so, the FBI relied substantially on the Dossier as a means of establishing

                     probable cause that Carter Page was a witting agent of the Russian Federation.

                  c. Indeed, McCabe would later testify before Congress behind closed doors in

                     December 2017 that, if not for the Steele Dossier, no FISA warrant would have

                     been issued.148

                  d. Inspector General Michael Horowitz found that the Steele Dossier played a

                     “central and essential role in the decision by the FBI [Office of General Counsel]

                     to support the request for FISA surveillance targeting Carter Page, as well as the

                     [Department of Justice]’s ultimate decision to seek the FISA order.”149

                  e. Each of the FISA applications set forth the FBI' s assessment that Carter Page was


    146
        Id. at tr. 2171:9-15.
    147
        Gov’t Ex. 0432, U.S. v. Sussmann.
    148
        120919-examination.pdf (justice.gov) at fn. 264.
    149
        IG Report at 359.

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                      a knowing agent of Russia and further alleged—in reliance on the Dossier—that

                      Carter Page was part of a “well-coordinated conspiracy of co-operation between

                      the Trump Campaign and the Russian government.”

            227.     Two days later, on September 21, 2016, Steele, Fritsch, and Simpson met with

    numerous members of the media in Washington D.C., including reporters from The New York

    Times, The Washington Post, New Yorker, Yahoo News, and CNN, to discuss their investigative

    findings of an alleged “sinister relationship” between Donald J. Trump and Russia, including the

    “possible coordination of members of Donald J. Trump’s campaign team and Russian government

    officials.”150

                   a. Fusion GPS specifically directed Steele to appear for the briefings to the press.151

                   b. The purpose of Steele being present for these meetings was to add credibility to

                      the Defendant’s false claims – he was “presented as a serious and experienced

                      former intelligence officer whose research could be trusted.”152

            228.     Around that time, Steele and Simpson met with Michael Isikoff of Yahoo! News

    and discussed his ‘findings’ in the Dossier regarding the purported Trump-Russia collusion.153

            229.     On September 23, 2016, Yahoo! News published an article titled “U.S. Intel

    Officials Probe Ties Between Trump Advisor and Kremlin.”154

            230.     The article was littered with false and defamatory information about Trump and his

    campaign, including “numerous references to information contained in the Dossier, including U.S.


    150
        Crime in Progress at 110; see also IG report at 105.
    151
        See IG Report at 105.
    152
        Steele Dep. at tr. 166:19-24.
    153
        See IG Report at 104-108.
    154
        See https://www.yahoo.com/news/u-s-intel-officials-probe-ties-between-trump-adviser-and-
    kremlin-175046002.html.

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    officials had received intelligence reporting that Carter Page had met with Igor Sechin, Chairman

    of Rosneft, and Igor Divyekin, Deputy Chief in the Russian Presidential Administration.”155

            231.    The article cited a “well placed Western intelligence source” for the information

    obtained; Isikoff has since confirmed that the information was contributed by Steele.156

            232.    On September 27, 2016, Sussmann sent an e-mail to Lichtblau disclosing an IP

    address and DNS data, purportedly connected to the Trump-Alfa Bank ‘back channel.’157

            233.    On October 3, 2016, Steele met with FBI’s Crossfire Hurricane team in Rome,

    Italy.158

            234.    At that meeting, Steele failed to disclose the identities of his client, Fusion GPS, or

    his ultimate clients, Perkins Coie, the Clinton Campaign, and the DNC.159

            235.    Steele also refused to agree to cease his communications with the media and other

    third parties.160

            236.    Thereafter, on October 11, 2016, Steele met with an official of the United States

    Department of State (the “State Dept.”), Kathleen Kavalec—who “had been closely coordinating

    with the FBI” —in an attempt to reinforce Sussman’s false claims concerning the purported Alfa

    Bank-Trump connection.161

            237.    At that meeting, Steele told Kavalec, among other things, that: “Peter Aven of Alfa

    Bank has been the conduit for secret communications between the Kremlin and [Paul] Manafort;



    155
        Id.; see also IG Report at 106.
    156
        Id.; see also IG Report at 106.
    157
        Gov’t Ex. 0427, U.S. v. Sussmann.
    158
        See IG Report at 108-114.
    159
        Id. at 111.
    160
        Id. at 113.
    161
        Steele Dep. at tr. 45:4-6 (March 18, 2020).

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    messages are encrypted via Tor software and run between a hidden server manages by Alfa

    Bank.”162

           238.     Steele later acknowledged that he received this information did not come from one

    of his sources but rather from Simpson and Fusion GPS.163

           239.     In her notes of the meeting, Kavalec recounted the following: “Orbis undertook this

    investigation into Russia/Trump connection at the behest of an institution he declined to identify

    that had been hacked. The institution approached them based on the recommendation of Glenn

    Simpson and Peter Fritsch (specialists in economic crime, formerly of the WSJ) and is keen to see

    this information come to light prior to November 8. Orbis undertook the investigation in June of

    2016.”164

                  a. Steele later testified that the “institution” referred to in Kavalec’s notes is the

                     DNC.165

                  b. Steele also confirmed that he, along with Fusion GPS, shared the DNC and Clinton

                     Campaign’s goal of having the information “come to light” prior to Election

                     Day.166

           240.     The DNC’s deadline for having the Trump-Russia information “come to light” is

    of utmost significance – November 8, 2016, was Election Day; indeed, Steele expressed to Kavalec




    162
        Id. at 45:7-20; 90:5.
    163
        Id. at 45:19-20 and 46:8-10.
    164
        U.S. Dept. of State, Case No. F-2018-04736, Doc No. C06679743, unclassified April 30,
    2019 (emphasis added).
    165
        Steele Dep. at tr. 92:7.
    166
        Steele Dep. at tr. 5:20-25 (“Q: Now that was, indeed, was it not, the position of Fusion, that
    they did want your information to come to light prior to November 8? A: I think that’s right, yes.
    Q: And that was a view I suggest you shared? A: Yes. […]”).

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    that the goal of his “ultimate clients” was to “prevent Donald Trump from becoming president.”167

          Defendants Fabricate an ‘October Surprise’ in a Last-Ditch Attempt to Sway the Election

              241.     With the election fast approaching, the Defendants hastened their efforts to publicly

    malign Donald J. Trump and his campaign.

              242.     On October 12, 2016, one day after his meeting with the State Dept., Steele met

    with Elias and Sussmann in Perkins Coie’s Washington D.C. office.

              243.     On that same day, Steele and Simpson met with reporters from The New York

    Times, The Washington Post, and Yahoo News and provided additional briefings of his supposed

    findings concerning a Trump-Russia connection.168

              244.     In or around that time, Fusion GPS sent out a flurry of e-mails to media contacts

    for the purpose of spreading false and defamatory information regarding Donald J. Trump through

    the media:

                     a. For example, on September 19, 2016, Jake Berkowitz of Fusion GPS wrote to

                        Matthew Mosk at CBS News sending him the same, spreading the Russian

                        Collusion story.169

                     b. Furthermore, on October 5, 2016 Peter Frisch e-mailed Eric Lichtblau—a reporter

                        with The New York Times who had also been in frequent communication with

                        Sussmann, with the subject regarding Alfa and Trump—discussing Donald J.

                        Trump and the Alfa Bank. 170



    167
        Id. at 94:15-18 (“Q: When you met the FBI in October, you told them that the ultimate clients
    were people seeking to prevent Donald Trump from becoming president? A: Yes.”).
    168
        Id. at 117.
    169
        Fusion GPS e-mails, e-mails from Berkowitz to Mosk dated September 19, 2016.
    170
        Fusion GPS e-mails, e-mails from Fritsh to Lichtenblau dated October 5, 2016.

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                  c. On October 18, 2016, Frisch exchanged several e-mails with Mark Hosenball of

                     Reuters, an international news agency. In one of the e-mails, dated October 18,

                     2016 at 11:01am, Frisch pressured the reporter, writing, “meantime, do the f-cking

                     alfa bank secret comms story. It is hugely important. Forget the WikiLeaks

                     sideshow”. In response to the e-mail, Hosenball wrote back, “the problem with

                     the Alfa bank story at this point is that my cyber expert colleagues cannot satisfy

                     themselves about the authenticity of some of the key date, which they say from

                     what they can tell is NOT public data.”171

           245.     In or around September or October of 2016, Elias briefed Mook about the

    information and data in his possession pertaining to the Trump-Alfa Bank connection.172

           246.     At that time, Elias was aware that the information and data in his possession had

    been unlawfully obtained by Sussmann, Joffe, and others and had been fraudulently modified to

    create a false inference that there existed a secret back-channel for communications between the

    Trump Organization and Alfa Bank; Elias conveyed this information to Mook.

           247.     After his discussion with Elias, Mook had several conversations with Podesta,

    Sullivan and Palmieri as to “whether the campaign should affirmatively push [the Alfa Bank

    allegations] to the media[.]”173

           248.     By Mook’s own admission, he “didn’t totally understand” the Trump-Alfa Bank

    allegations and he wasn’t “totally confident in” the veracity of the information; indeed, he thought




    171
        Gov’t Ex. 0652, U.S. v. Sussmann.
    172
        Testimony of Robert Mook at tr. 1263:9-12, Transcript of Jury Trial (May 20, morning
    session), U.S. v. Sussmann (hereinafter, the “Mook Testimony
    173
        Id. at 1265:1-16.

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    it was “highly suspect.”174

            249.    In fact, Mook and other senior members of the Clinton Campaign lacked “any

    subject matter expertise with which to judge what [they] were briefed on.”175

            250.    Mook, Podesta, Sullivan and Palmieri “decided to give it to a reporter.”176

            251.    The Clinton Campaign “want[ed] that information out to the public,” and the most

    effective way to do so was “through the media.”177

            252.    Thereafter, Mook spoke to Clinton about the decision to push the false Alfa Bank

    allegations to the media – Clinton “agreed to that.”178

            253.    Ultimately, the “leadership team [of the Clinton Campaign] decided to direct

    members of [its] press team to share [the Alfa Bank] information with the media[.]”179

            254.    In particular, the Clinton Campaign disseminated the Trump-Alfa Bank

    information to “someone at Slate.”

            255.    In or around that time, in October 2016, Fritsch and two of his Fusion GPS

    employees, Berkowitz and Seago, attended a meeting with Franklin Foer, a Slate journalist, at

    Foer’s home.180

            256.    In that meeting, the Fusion GPS team briefed Foer on the “allegations between the

    Trump Organization and Alfa Bank” and talked about the “highly credible computer scientists who

    seemed to thin that these allegations were credible.”181


    174
        Mook Testimony at tr. 1253:22-1254:2, 1282:10.
    175
        Id. at tr. 1264:20-24.
    176
        Id. at tr. 1266:3-4.
    177
        Id. at tr. 1256:9-15.
    178
        Id. at tr. 1267:12-16; see also id. at tr. 1274:10-11.
    179
        Id. at tr. 12923-5.
    180
        Seago Testimony at tr. 581.
    181
        Id. at 581:17-21.

                                                       60
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           257.     Fusion GPS’s purpose for holding this meeting was to convince Foer to publish an

    article concerning the Trump-Alfa Bank allegations.182

           258.     On October 30, 2016, Fritsch forwarded to Foer a tweet from an MSNBC

    contributor which stated, “Reid says he’s talked w/ top NatSec officials who say that Comey

    ‘possesses explosive information’ about Trump’s ties to Russia’”; accompanying the tweet, Fritsch

    told Foer it was “time to hurry.”183

           259.     The next day, on October 31, 2016, Foer provided a draft of his Slate article to

    Fritsch for his review.

           260.     Shortly thereafter, Fritsch e-mailed Michael Isikoff, a journalist with Yahoo News,

    stating: “Big story on the trump Alfa server moving early pm. OTR. [United States Government]

    absolutely investigating. Campaign will light it up I imagine.”184

           261.     On the same day, October 31, 2016, eight days before the 2016 Presidential

    Election, Slate published an article—written by Franklin Foer—reporting on the supposed Trump-

    Alfa Bank connection.185

           262.     In the article, Foer claims that he “communicated extensively with [a person going

    by the pseudonym] Tea Leaves and two of [her] closest collaborators, who also spoke with me on

    the condition of anonymity.”186

                  a. Tea Leaves has since been identified as April Lorenzen, a data analyst with




    182
        Id. at 582:10-12 (“Q: And to what extent was the purpose of this meeting to try and encourage
    Mr. Foer to publish an article? A: We certainly hopes that he would publish an article.”).
    183
        Fusion GPS e-mails, e-mails from Fritsch to Foer dated October 30, 2016.
    184
        Gov’t Ex. 0668, U.S. v. Sussmann.
    185
        Franklin Foer, Was a Trump Server Communicating with Russia?, Slate, October 31, 2016.
    186
        Id.

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                    ZETAlytics, one of the data analytics companies owned by Joffe.187

           263.    Foer also wrote that Tea Leaves and her collaborators “persuasively demonstrated

    some of their analytical methods to me–and showed me two white papers[.]”188

           264.    Foer’s article discussed the purported ‘findings’ of the cyber researchers at length

    and attempt to frame their findings as damning evidence of Trump’s collusion with Russia,

    including quotes from sources stating things such as: the data is “not simulated; “[n]o reasonable

    person would come to the conclusion other than the one I’ve come to” (that the data shows

    communications between Trump servers and Alfa Bank); and that “[i]t would be really, really hard

    to fake these.”189

           265.    On about the same day, October 31, 2016, shortly after the release of Foer’s Slate

    article, Sullivan put out a written campaign statement that claimed that Trump and the Russians

    had set up a “secret hotline” through Alfa Bank and that “federal authorities” were investigating

    “this direct connection between Trump and Russia.” He portrayed the shocking discovery as the

    work of independent experts—“computer scientists”—without disclosing their connection to

    Hillary Clinton and/or the Clinton Campaign. The full statement was as follows:

                   [T]his could be the most direct link yet between Donald Trump and
                   Moscow. Computer scientists have apparently uncovered a covert
                   server linking the Trump Organization to a Russian-based bank.
                   This secret hotline may be the key to unlocking the mystery of
                   Trump's ties to Russia. It certainly seems the Trump Organization
                   felt it had something to hide, given that it apparently took steps to
                   conceal the link when it was discovered by journalists. This line of
                   communication may help explain Trump's bizarre adoration of
                   Vladimir Putin and endorsement of so many pro-Kremlin positions
                   throughout this campaign. It raises even more troubling questions

    187
        Testimony of Ryan Gaynor at tr. 1632:4-7, U.S. v. Sussmann, May 23, 2022 (trial transcript;
    afternoon session) (hereinafter, the “Gaynor Testimony”).
    188
        Id.
    189
        Id.

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                   in light of Russia's masterminding of hacking efforts that are clearly
                   intended to hurt Hillary Clinton’s campaign. We can only assume
                   that federal authorities will now explore this direct connection
                   between Trump and Russia as part of their existing probe into
                   Russia's meddling in our elections.

           266.    Sullivan was acting in the scope and authority of his employment with the Clinton

    Campaign when he made this false statement, which was made with the intention of harming

    Trump and his campaign.

           267.    Elias, acting in the scope and authority of the Clinton Campaign, assisted Sullivan

    with the statement, as evidenced by his billing entries submitted to the Clinton Campaign.

           268.    On the same day, Clinton published the same false and damaging statements to the

    public through her Twitter account, wherein she included a photograph of Sullivan’s statement

    along with her own commentary: “Computer scientists have apparently uncovered a covert server

    linking the Trump Organization to a Russian-based bank.”190

           269.    A second tweet from Clinton on that same day said that it was “time for Trump to

    answer serious questions about his ties to Russia.” It also included a graphic stating the following:

                   1. Donald Trump has a secret server. (Yes, Donald Trump.) 2. It
                   was set up to communicate privately with a Putin-tied Russian bank
                   called Alfa Bank. 3. When a reporter asked about it, they shut it
                   down. 4. One week later, they created a new server with a different
                   name for the same purpose.191

           270.    Sullivan and Clinton made the above statements despite her awareness that they


    190
        Hillary Clinton (@HillaryClinton), Twitter (Oct. 31, 2016, 8:36 PM),
    https://twitter.com/hillaryclinton/status/793250312119263233?lang=en.
    191
        Hillary Clinton (@HillaryClinton), Twitter (Oct. 31, 2016, 7:32 PM),
    https://twitter.com/HillaryClinton/status/793234169576947712?ref_src=twsrc%5Etfw%7Ctwca
    mp%5Etweetembed%7Ctwterm%5E793234169576947712%7Ctwgr%5E%7Ctwcon%5Es1_&re
    f_url=https%3A%2F%2Fthenationaldesk.com%2Fnews%2Famericas-news-now%2Ftweets-by-
    hillary-clinton-allegedly-support-accusations-her-campaign-paid-to-spy-on-trump-donald-
    president-e-mails-russia-john-durham-michael-susmann

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    were patently false, that the supposed ‘findings’ concerning the DNS data had been fabricated, and

    that neither Donald J. Trump nor the Trump Organization had any ties to Alfa Bank. She was

    driven by a pathological need to stop Trump from ever entering the White House irrespective of

    the damage and national discord it would cause.

           271.    According to Podesta, the Clinton Campaign had also prepared a video promoting

    the Trump-Alfa Bank false narrative that it had planned to release in conjunction with Sullivan’s

    statements and Clinton’s tweets as part of an “all-out push through social media.”192

           272.    Meanwhile, on that same day, October 31, 2016, Steele and Simpson had a Skype

    call with David Corn, a journalist with Mother Jones.193

           273.    According to Steele’s testimony, the purpose of having this meeting was that he

    “wanted [Corn] to publish that the US Government was investigating Trump”;194 he was also

    “aware that Mr. Corn was likely to be publishing an article after [the] interview.”195

           274.    Later that day, Mother Jones released an article titled “A Veteran Spy Has Given

    the FBI Information Alleging a Russian Operation to Cultivate Donald Trump” published by

    David Corn which contained numerous disparaging statements about Trump and his campaign,

    and, in particular, referenced many of the false allegations contained in the Dossier.

           275.    For example, the Mother Jones article stated: “The first memo, based on the former

    intelligence officer's conversations with Russian sources, noted, ‘Russian regime has been

    cultivating, supporting and assisting Trump for at least 5 years. Aim, endorsed by Putin, has been



    192
        Michael Isikoff, David Corn, Russian Roulette: The Inside Story of Putin’s War on America
    and the Election of Donald Trump, 2018, at page 224.
    193
        Steele Dep. at 85:16-17 (March 18, 2020).
    194
        Steele Dep. at tr. 24:4-5 (July 23, 2020).
    195
        Id. at tr. 22:11-15.

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    to encourage splits and divisions in western alliance.’ It maintained that Trump ‘and his inner

    circle have accepted a regular flow of intelligence from the Kremlin, including on his Democratic

    and other political rivals.’ It claimed Russian intelligence had ‘compromised’ Trump during his

    visits to Moscow and could ‘blackmail him.’ It also reported that Russian intelligence had

    compiled a dossier on Hillary Clinton based on ‘bugged conversations she had on various visits to

    Russia and intercepted phone calls.’”196

           276.    John D. Podesta, Hillary Clinton’s campaign chairman, also pushed the false

    Trump-Russia allegations. After Wikileaks released internal Clinton campaign e-mails, Podesta

    told reporters on October 11, 2016, that “I’ve been involved in politics for nearly five decades.

    This definitely is the first campaign that I’ve been involved in which I’ve had to tangle with

    Russian intelligence agencies who seem to be doing everything they can on behalf of our

    opponent.”

           277.    He then stated, without even a shred of evidence that “I think it is a reasonable

    assumption to, or at least a reasonable conclusion, that Mr. Stone had advance warning, and the

    Trump campaign had advance warning about what Assange was going to do.”197

              The Defendants’ Scheme Continues Forward Even After Trump’s Victory

           278.     On November 9, 2016, in spite the Defendants’ collective efforts, Trump won the

    2016 Presidential Election.

           279.    Nonetheless, the Defendants forged ahead with their efforts to tarnish his

    presidency, impede his ability to effectively govern, and otherwise destroy his political career.



    196
        David Corn, A Veteran Spy Has Given the FBI Information Alleging a Russian Operation to
    Cultivate Donald Trump,” Mother Jones, October 31, 2016.
    197
        https://time.com/4528049/hillary-clinton-john-podesta-e-mails-hackers-russia/

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           280.    In mid-November 2016, Glenn Simpson met personally with Bruce Ohr, at his

    request, to discuss Fusion GPS’s findings regarding Russia and the election.

           281.    On December 10, 2016, Glenn Simpson provided a thumb drive to Bruce Ohr

    containing most of the reports comprising the Steele Dossier.

           282.    Bruce Ohr was as a long-time friend of Steele with a relationship going back to at
                                                                                                    198
    least 2006. Bruce Ohr texted and e-mailed extensively with Steele beginning in January 2016

           283.    Bruce Ohr held the fourth highest position at the Department of Justice, and was

    married to Nellie Orh, who was working for Fusion GPS. Nellie Ohr, was hired as an independent

    contractor by Glenn Simpson, the founder of political opposition research firm Fusion GPS

           284.    Bruce Ohr testified before Congress in August, 2018, that his wife, Nellie Ohr

    provided him memory stick, which included research she had done for Fusion GPS on various

    Russian figures. Bruce Ohr stated before Congress, “and the reason she provided that information

    to me is, my understanding was, it related to some of the same —it related to the FBI’s Russia

    investigation. And she gave me that stick to give to the FBI.”199

           285.    On December 12, 2016, Ohr provided the same thumb drive to the FBI.

           286.    Mr. Ohr concealed this meeting from the Department of Justice; he was later

    reprimanded and demoted for doing so. Moreover, Orh received two demotions because “DOJ

    ethics regulations forbid department officials from working on cases where a spouse has a

    financial interest.” Ohr admitted he had been aware of this rule at the time.    The only person

    whom Ohr admitted at the Department of Justice that he told that he passed along his wife’s dossier


    198
        The Markets Work Article by Jeff Carlson dated August 12, 2018 “The Bruce Ohr &
    Christopher Steele Conversation
    199
        John Solomon, The family secret Bruce Ohr told Rod Rosenstein about Russia Case, The Hill,
    February 20, 2019.

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    to the FBI was the Deputy Attorney General, Rod Rosenstein. Bruce Ohr testified before Congress

    and stated the following: “what I had said, I think, to Mr. Rosenstein in October of 2017 was that

    my wife was working for Fusion GPS…The dossier, as I understand it, is the collection of reports

    that Chris Steele has prepared for Fusion GPS.”200

                287.   On December 15, 2016, Simpson and Fritsch met with Eric Litchtblau of The New

    York Times and provided him a copy of the Dossier.

                288.   On December 20, 2016, Bruce Ohr provided a second thumb drive to the FBI,

    which contains anti-Trump “opposition research” reports prepared by his wife, Nellie Ohr, in her

    capacity as a Fusion GPS employee.

                289.   Around the same time, in mid-November 2016, Steele arranged a meeting with

    David Kramer, a director of a private foundation affiliated with Senator John McCain.

                290.   David Kramer previously worked in state department and was a longtime aide to

    McCain. Kramer became aware of the dossier through his relationship with Steele, whom he had

    previously met. Steele, McCain and Kramer met at the Halifax Forum, which is an international

    forum, to discuss the dossier.

                291.   Later, on November 29, 2016, Kramer flew to London, and met with Steele, who

    showed him the actual Dossier. The next day, Glenn Simpson of Fusion GPS handed the dossier

    over to Kramer, who then handed it over to McCain, sometime in early December 2016. McCain

    then went to James Comey, director of the FBI, with a copy of the Dossier on December 9, 2016.

    In response to being handed a copy of the Dossier, Comey informed the senator that the FBI

    already had an investigation underway,



    200
          Id.

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                  a. Steele’s purpose in doing so was that he hoped McCain would share his findings

                     with his “colleagues on the various committees in the Senate,” including “his

                     committees in Congress, the Homeland Security Committee and the Intelligence

                     Committee,” as well as “other agencies.”201

                  b. David Kramer, in a Court deposition held on December 17, 2017, suggested that Steele

                     and Fusion GPS founder Glenn Simpson sought to use him and McCain as conduits to

                     pass the dossier to the FBI. Kramer said he “believed McCain was sought out in order

                     provide more “oomph” in terms of attaching the FBI’s attention.” “I think they felt a

                     senior Republican was better to be a recipient of this rather than a Democrat because if it

                     were a Democrat, I think the view was this it would have been dismissed as a political

                     attack”, said Kramer.202

           292.     Furthermore, on December 29, 2016, Kramer leaked copies of the dossier to

    Buzzfeed News and multiple other media outlets, such as The Washington Post, The Wall Street

    Journal and CNN.203

           293.     On January 5, 2017, Steele instructed the external IT provider to delete “all e-mail

    traffic relating to Orbis’ assignment by Fusion GPS to gather intelligence regarding Russia’s

    eddorts to influence the US Presidential election process and the links between Russia and




    201
        Steele Dep. at tr. 56:12-16; 59:22-25; 60:21 (July 23, 2020).
    202
        The Daily Caller by Chuck Ross dated March 14, 2019 “John McCain associate had Contact
    with a Dozen Reporters regarding Steele Dossier”.
    203
        The Daily Caller by Shelby Talcott, dated April 27, 2022 “Resurfaced Interview Reveals
    McCain Associate’s Leak to BuzzFeed was Alleged “Hail Mary” to Prevent Trump
    Inauguration.” The Daily Caller by Chuck Ross dated March 14, 2019 “John McCain associate
    had Contact with a Dozen Reporters regarding Steele Dossier”.

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    Trump.”204

            294.     With the Dossier in hand, on January 10, 2017, Buzzfeed published the Dossier in

    its entirety, posting it on its website and describing it as “explosive.”205

            295.     The article also stated that Buzzfeed was “publishing the full document so that

    Americans can make up their minds about allegations about the president-elect that have circulated

    at the highest levels of the U.S. government.”

            296.     On January 20, 2017, Donald J. Trump was inaugurated as the 45th President of the

    United States.

            Sussmann Attempts to Deceive the CIA into Launching an Unfounded Investigation

            297.     Meanwhile, Sussmann and Joffe continued to play their part in the Defendants’

    grand conspiracy.

            298.     Through late 2016 and early 2017, Joffe and a researcher continued to compile

    additional information and data regarding the Alfa Bank allegations and gathered other purported

    data allegedly involving Donald J. Trump’s related computer networks which they claimed tied

    him to Russia.

            299.     Around that time, Sussmann began arranging a meeting with the Central

    Intelligence Agency (CIA) to continue spreading his lies.

            300.     In late December 2016, Sussmann contacted the General Counsel of the CIA to set

    up a meeting regarding the Trump-Alfa Bank allegations.206

            301.     In late January 2017, Sussmann contacted a former employee of the CIA in a further


    204
        Ken Bensinger, Miriam Elder, Mark Schoofs, These Reports Allege Trump Has Deep Ties To
    Russia, Buzzfeed News, January 10, 2017.
    205
        Id.
    206
        Sussmann Indictment at ¶40.

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    attempt to obtain a meeting with the CIA.

           302.     On January 31, 2017, Sussmann and the former employee of the CIA had several

    communications seeking to arrange a meeting with the CIA.207

           303.     Pursuant to these communications, Sussmann summarized the Trump-Alfa Bank

    allegations, requested that the former employee assist him in obtaining a meeting with the CIA,

    and stated that if the CIA was not interested then Sussmann’s client would likely go to the media

    with the allegations. A meeting was eventually arranged.208

           304.     On or about February 9, 2017, Sussmann met with two CIA employees at a location

    outside the District of Columbia.209

           305.     At the meeting, the following, in substance and in part, occurred:

                  a. Sussmann stated falsely – as he previously had stated to the FBI General Counsel

                     that he was “not representing a particular client.” In truth and in fact, and as

                     Sussmann had acknowledged to the Former Employee just days earlier, Sussmann

                     was representing a client.210

                  b. Sussmann disclosed that Perkins Coie, was active in representing several

                     Democratic Party causes and officer-holders, including both the DNC and Clinton.

                     Sussmann stated, however, that such work was unrelated to his reasons for

                     contacting the CIA.211

                  c. Sussmann discussed and described the updated allegations, including new details



    207
        Id. at ¶41.
    208
        Id.
    209
        Id.
    210
        Sussman Indictment at ¶42(a).
    211
        Sussman Indictment at ¶42(b).

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                        concerning the Russian Bank allegations that he had not provided to the FBI

                        General Counsel.212

                     d. Sussmann provided to the CIA employees (i) several white papers, and (ii)

                        multiple data files containing purported DNS data, ranging from 2016 through

                        early 2017.213

              306.     As he had done in his prior meeting with the FBI, Sussmann—acting on behalf of

    the Clinton Campaign and the DNC—again lied to and intentionally mislead federal law

    enforcement officials in furtherance of the Defendants’ scheme.

              307.     That Sussmann was acting on behalf of, and in coordination with, the Clinton

    Campaign and the DNC when he made his false statements to the FBI and the CIA was confirmed

    in December 2017, when Sussmann testified under the penalty of perjury before the House

    Permanent Select Committee on Intelligence:

                               Q: [] When you decided to engage the two principals, one,
                       [the FBI General Counsel] in September, and the general counsel of
                       [Agency-2] in December, you were doing that on your own
                       volition, based on information another client provided you. Is that
                       correct?

                              [Sussman]: No.

                              Q: So what was – so did your client direct you to have those
                       conversations?

                              [Sussman]: Yes.

                              Q: Okay. And your client also was witting of you going to
                       [the CIA] in February to disclose the information that individual had
                       provided you?

                              [Sussman]: Yes

    212
          Sussman Indictment at ¶42(c).
    213
          Sussman Indictment at ¶42(d).

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                           [ . .. ]

                           Q: Okay. I want to ask you, so you mentioned that your
                   client directed you to have these engagements with the FBI and
                   [redacted] and to disseminate the information that client provided
                   you. Is that correct?

                            [Sussmann]: [] [W]e had a conversation, as lawyers do with
                   their clients, about client needs and objectives and the best course to
                   take for a client. And so it may have been a decision that we came
                   to together. I mean, I don't want to imply that I was sort of directed
                   to do something against my better judgment, or that we were in any
                   sort of conflict, but this was -- I think it's most accurate to say it was
                   done on behalf of my client.214

           308.    In addition, the materials Sussmann provided to the CIA—including several white

    papers and multiple data files containing purported DNS data, ranging from 2016 through early

    2017—were falsified or “spoofed” to appear incriminating in nature.

           309.    Indeed, after the meeting with Sussmann, CIA ultimately concluded that the data

    provided by Sussman had been altered, spoofed and/or falsified to create a misleading connection

    between Trump and Alfa Bank. Specifically, the CIA found that the data was not “technically

    plausible,” that it did not “withstand technical scrutiny,” that it “contained gaps” and was “user

    created and not machine/tool generated.”215

           310.    This conclusion aligns with the conclusion reached by Ankura, an industry-leading

    private technological consulting firm hired by Alfa Bank to investigate the server claims. In

    particular, Ankura concluded that it was “likely that threat actors may have conducted some

    inauthentic DNS activity to force a ‘connection’ between Alfa-Bank and the Trump Organization,



    214
       Sussman Indictment at ¶44.
    215
       Mem. in Opp. at 20 (ECF Doc. No, 70), U.S. v. Sussman, 1:21-cr-00582 (D.C., April 15,
    2022)

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    only to then later ‘discover’ the connection.”216

           311.     In other words, like the CIA, Ankura believed the data was assembled and

    manipulated by “malicious actors.”217

                      Fusion GPS and Joffe Continue Their Conspiratorial Efforts

           312.     In February 2017, Fusion GPS and Steele were hired by the Penn Quarter Group

    (PQG) to continue their Trump research.

           313.     In March 2017, Daniel Jones, through The Democracy Integrity Project (“TDIP”)

    and/or the Penn Quarter Group (“PQG”), had “secured the services of Steele [and] Fusion GPS to

    continue exposing Russian interference in the 2016 Presidential Election.”218

                  a. John Podesta testified before the House Intelligence Committee in December

                     2017, that he met on February 10, 2017, with Daniel Jones, along with Glenn

                     Simpson and Peter Fritch of Fusion GPS. In separate testimony, Jake Sullivan,

                     also revealed he participated in the meeting.

                  b. Podesta told the House Intelligence Committee in December 2017, that “they were

                     interested in trying to raise money to continue their efforts to investigate the

                     Russian interference in the campaign.” Podesta stated that he agreed to help the

                     trio open doors to big Democratic fund-raisers and sit down for press interviews

                     and documentaries regarding any “new developments” uncovered by dossier

                     author and former British intelligence officer Christopher Steele. Jake Sullivan


    216
        See Covert Channel Allegation: New Data Analysis Results at 4, Ankura, April 2020,
    available at https://justthenews.com/sites/default/files/2020-
    04/Ankura_AlfaBank_ResearchAnalysis_Apr2020dh.pdf
    217
        Id. at 18.
    218
        H. Permanent Select Comm. On Intelligence Report, Report on Russian Active Measures at
    113 (March 22, 2018).

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                     accompanied Podesta to the meeting, which he said lasted about an hour and was

                     held in an office building in Washington. 219

            314.    In connection with this engagement, Jones planned to “push the information he

    obtained from Fusion [GPS] and Steele to policymakers on Capitol Hill, the press, and the FBI.”220

            315.    Since 2017, The Democracy Integrity Project (“TDIP”) has paid Fusion GPS,

    Steele and their associates more than $3.8 million to continue their ‘opposition research’ against

    Donald J. Trump and to continue pushing the false Trump-Russia narrative.

            316.    In particular, TDIP has paid $3.3 million to Fusion GPS; $250,000 to “Walsingham

    Partners Ltd.,” a London-based firm owned by Steele and his partner, Christopher Burrows; nearly

    $130,000 to “Edward Austin Ltd.” a London-based intelligence consultancy operated by Edward

    Baumgartner, a Fusion GPS contractor; and $148,000 to the law firm Zuckerman Spaeder, which

    has represented Fusion GPS in a variety of Dossier-related legal matters.

            317.    Daniel Jones operated what he called a “shadow media organization helping the

    government” to investigate Russian meddling in the 2016 election. He told the FBI in March 2017 that “he

    received funding from a group of between seven and 10 wealthy donors and that he planned to provide

    information to federal investigators, the press, and lawmakers”. 221

            318.    In 2018 Alfa Bank, which was falsely implicated in the collusion conspiracy against

    Donald J. Trump, filed a Jon Doe lawsuit, seeking to determine “who spread the false allegations



    219
       Clinton Foundation Timeline E-mail/Dossier Investigations by Katie Weddington dated
    February 10, 2017 “ John Podesta and Jake Sullivan re-engage with Fusion GPS and Dan Jones after
    2016 election to push Clinton/Steele dossier.”
    220
      Letter from Chairman Grassley to Senator Coons dated May 29, 2018; see also id.
    221
      The Daily Caller Article by Chuck Ross, Dated April 1, 2019 Firms Tied To Fusion GPS,
    Christopher Steele Were Paid $3.8 Million By Soros-Backed Group | The Daily Caller

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    about the Russian bank to the news media and U.S. authorities”. 222

           319.    Daniel Jones’ provided videotaped testimony in the Jon Doe civil case, in which he

    recounted “how he formed TDIP, in early 2017, raised money for it and continued a private

    investigation into alleged Russian and other interference in the 2016 election.”   In his testimony

    Jones acknowledged that “he worked post-election with some of the key figures tied to Hillary

    Clinton’s campaign on the Russia collusion allegations, including Michael Sussmann and Glenn

    Simpson.” Daniel Jones also testified that “Simpson helped him raise money for his non-profit

    TDIP and Daniel Jones hired Simpson’s Fusion GPS firm to investigate election issues starting in

    early 2017. Records introduced during the testimony confirmed the donor-funded TDIP paid

    Simpson’s firm about $3.3 million for its work”.223

           320.    Daniel Jones also described in his testimony how he “worked with Sussmann and

    the DNC to obtain evidence from Rodney Joffe, about alleged computer communications between

    a Trump server and the Alfa Bank in Russia”.224

           321.    Moreover, Daniel Jones testified he was “asked by a Democratic investigator on

    the Senate Armed Services Committee to investigate the Alfa Bank allegations in early 2017 and

    to meet with Sussmann.”     After the meeting with Sussman, Daniel Jones testified he “received

    computer data from Sussmann containing 37 million DNS lookups to review for any connections

    of Trump-Russia collusion, and later learned the data came from a computer executive that

    Sussmann identified only by the pseudonym “Max.” Jones said he quickly determined that


    222
        American Faith.com by Just The News, dated October 17, 2021, Soros-tied group met with
    FBI during Russia collusion probe, hired Christopher Steele - American Faith; Daniel Jones
    Transcript from Deposition taken on August 18, 2021 in Palm Beach County Circuit Court Case,
    AO Alfa-Bank v. Jon Doe, Case Number 50-2020-CA-006304-XXX-MB
    223
        Id.
    224
        Id.

                                                    75
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    executive to be Joffe.225

               322.   Daniel Jones was also tasked by a Democrat on the Armed Services Committee in

    2017 to prepare a 600-plus-page report on the Alfa Bank-Trump allegations. In his testimony,

    Jones revealed the “Democratic staffer who tasked him with the work indicated Democrats in

    Congress did not believe the FBI and others in U.S. intelligence had aggressively enough

    investigated the Alfa Bank allegations before dismissing them.” “That was my perception, that

    the Senate Armed Services committee, other senators on the Senate Intelligence Committee and

    the House Intelligence Committee believed that the government wasn’t doing enough to look into

    these allegations and refute them or confirm them or make any assessment of them,” Jones

    testified. 226

               323.   Daniel Jones testified that “he built a firewall between Simpson’s and Steele’s

    research work for TDIP and the Senate Armed Services project because of their past ties to the

    Clinton campaign.” 227

               324.   On October 8, 2018, a publication called the New Yorker wrote an article titled, “was there

    a connection between a Russian Bank and the Trump Campaign” which pushed the false narrative Trump

    Russia Collusion. In furtherance of the conspiracy, Rodney Joffe sat down for the New Yorker article,

    anonymously calling himself “Max” and “admitting in the piece that he’d continued to help that

    effort long after the election, providing Daniel Jones’s team with 37 million Internet records to

    examine.” Joffe, explained to the New Yorker “how vitally important it was in 2016 to make sure

    the threat his team discovered was “known before the election.” “Which was why he and his lawyer



    225
         Id.
    226
         Id.
    227
        Id.

                                                         76
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    first went with their information to the press.”228

            325.    The New Yorker article, with the false information brought to them by Fusion GPS,

    TDIP and Joffe (aka Max), concluded that the Alfa Bank Trump collusion allegations were legit.229

    As a result, the general public was led to the believe, falsely, that there was a connection between

    Trump and the Alfa Bank, despite the fact that none existed.

            326.    For example, the article stated, “examining records for the Trump domain, Max’s

    group discovered D.N.S. lookups from a pair of servers owned by Alfa Bank, one of the largest

    banks in Russia. Alfa Bank’s computers were looking up the address of the Trump server nearly

    every day. There were dozens of lookups on some days and far fewer on others, but the total

    number was notable: between May and September, Alfa Bank looked up the Trump Organization’s

    domain more than two thousand times. “We were watching this happen in real time—it was like

    watching an airplane fly by,” Max said. “And we thought, Why the hell is a Russian bank

    communicating with a server that belongs to the Trump Organization, and at such a rate? 230

            327.    Meanwhile, Joffe and Neustar’s exploitation of access to non-public data sources

    continued throughout 2017.

            328.    For example, on July 18, 2017, Joffe e-mailed Steve De Jong, an employee of

    Neustar, Inc., stating: “I have 4 jobs that look specifically for [T]rump data” and included a list

    four Trump and Alfa Bank related queries.231

            Danchenko Impedes the FBI’s Ongoing Investigations with Numerous False Statements


    228
        New York Post by Kimbery Strassel, Dated February 18, 2022 Truth about techies who
    targeted Trump (nypost.com); The New Yorker by Dexter Fixins, Dated October 8, 2018 Was
    There a Connection Between a Russian Bank and the Trump Campaign? | The New Yorker
    229
        Id.
    230
        Id.
    231
        Gov’t Ex. 0719, U.S. v. Sussmann.

                                                          77
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           329.     Over time, the FBI attempted to investigate, vet, and analyze the Dossier but

    ultimately was not able to confirm or corroborate most of their substantive allegations.

           330.     In the context of those efforts, the FBI learned that Danchenko, a Russian analyst,

    had served as a central source of information contained in the Dossier.

           331.     From January 2017 through November 2017, the FBI conducted numerous

    interviews with Danchenko (collectively the “Interviews”) concerning, among other things, the

    information that Danchenko had provided to Steele for the Dossier.

           332.     During the course of these Interviews, Danchenko plainly admitted that he had

    “zero” corroboration for the key allegations that he had contributed to the Dossier.

           333.     In addition, as alleged in further detail below, Danchenko repeatedly lied to FBI

    agents during his Interviews.

           334.     First, Danchenko falsely stated that he never communicated with Charles Halliday

    Dolan, Jr, a claim which was patently false.

           335.     In fact, Danchenko and Dolan had been in frequent communication since at least

    April 2016, had gone on a trip together, and had attended numerous meetings and conferences

    together.

           336.     The disclosure of Danchenko’s relationship with Dolan would have been incredibly

    relevant to the FBI’s understanding of the contents of the Dossier:

                  a. At all relevant times, Dolan has long held deep ties to the Democratic Party

                     operative and has been a close associate of and adviser to Hillary Clinton.

                  b. As a result, Dolan frequently interacted with senior Russian Federation leadership

                     whose names would later appear in the Dossier, such as Putin spokesman Dmitry

                     Peskov and then-Russian ambassador to the US Sergey Kislyak.

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                  c. Also, in 2006, the Kremlin signed a deal with Ketchum, the PR firm where Dolan

                     served as vice president for public affairs. As part of that agreement, Ketchum

                     was to handle global public relations for the Russian government as well as the

                     state-owned energy company Gazprom.

           337.     In fact, as detailed above, many of the allegations contained in the Dossier came

    directly from Dolan, who had conveyed them to Danchenko who, in turn, reported them to Steele.

           338.     Dolan's role as a contributor of information to the Dossier was highly relevant and

    material to the FBI's evaluation of those reports because:

                  a. Dolan maintained pre-existing and ongoing relationships with numerous persons

                     named or described in the Dossier, including one of Danchenko's Russian sub-

                     sources,

                  b. Dolan maintained historical and ongoing involvement in Democratic politics,

                     which bore upon Dolan’s reliability, motivations, and potential bias as a source of

                     information for the Dossier, and

                  c. Danchenko gathered some of the information contained in the Dossier at events in

                     Moscow organized by Dolan and others that Danchenko attended at Dolan's

                     invitation. Certain allegations that Danchenko provided to Steele, and which

                     appeared in the Dossier, mirrored and/or reflected information that Dolan himself

                     also had received through his own interactions with Russian nationals.

           339.     On or about January 13, 2017, Dolan replied to an e-mail sent by a U.S.-based

    person discussing a recent news article regarding the Dossier, wherein Dolan stated:

                    [] I've been interviewed by the Washington Post and the London
                    Times -three times over the last two days over the Steele Dossier on
                    Trump and I know the Russian agent who made the report (He used

                                                     79
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                   to work for me). My client in [Foreign Country] [Business] has been
                   accused of being the party that organized the hacking. Presently
                   speaking with the barrister in London who is filing a brief against
                   Steele has been unmasked as the man behind an explosive dossier
                   about US president-elect Donald Trump. Also in conversation with
                   former British Ambassador who knows Steele. Quite right -Oh what
                   a boring life.

           340.    At that time, Danchenko was not publicly known to be a source for Steele.

           341.    On March 16, 2017, Danchenko informed the FBI that he believed the source in the

    above-referenced allegations referred, at least in part, to the Chamber President. He repeated these

    claims in subsequent interviews on or about March 16, 2017, May 18, 2017, October 24, 2017,

    and November 2, 2017.

                    The FBI’s Role in Perpetuating the Defendants’ False Claims.

           342.    Meanwhile, all along, several high-level officers within the FBI seized upon the

    false reporting that had been presented as an opportunity to hatch their own wrongful scheme

    against Donald J. Trump.

           343.    On September 23, 2016, a mere four (4) days after Sussman’s meeting with Baker,

    the FBI opened a full field investigation into the “network communications between a US-based

    server [the Trump Organization] and the Russian ALFA BANK organization.”

           344.    By October 5, 2016, and internal FBI memo confirmed that the Alfa Bank

    allegations had “already been debunked” and that there was no “covert channel” between the

    Trump Organization and Alfa Bank.

           345.    By August 16, 2016, as part of the larger Crossfire Hurricane umbrella investigation

    into the presidential campaign of Donald J. Trump, the FBI had opened individual cases of four

    United States individuals, Carter Page, George Papadopoulos, Paul Manafort, and General Michael

    Flynn. All four of these individuals, Page, Papadopoulos, Manafort, and Flynn were associated

                                                    80
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    with the Trump Campaign.

           346.    Flynn is a retired United States Army lieutenant general, who was formerly director

    of the Defense Intelligence Agency. In the run-up to the 2016 Presidential Election, Flynn was a

    vocal critic of the policies of then President Barak Obama. Moreover, Flynn openly criticized

    presidential candidate, Clinton, opposing her nomination for Presidency, calling for her to

    withdraw from the race and stating that “if I did a tenth-a tenth-of what she did, I would be in jail

    today.” During the 2016 Presidential race, Flynn worked for Donald. J. Trump’s campaign as its

    foreign policy advisor. On November 18, 2016, Flynn accepted Trump's offer for the position of

    National Security Advisor.

           347.    In the position as National Security Advisor, Flynn would preside over seventeen

    (17) intelligence agencies and would be in the key position to stop the plot of the Defendants to

    hijack Trump’s presidency, and to create the false Russian narrative.

           348.    For the Defendants’ plot to succeed, it was imperative that Flynn not be allowed to

    serve as the National Security advisor. Due to his position, he would have naturally learned of the

    inner machinations of the Russia Collusion conspiracy and could potentially inform Donald J.

    Trump of same.

           349.    Therefore, senior FBI officials, Comey, McCabe, Page, Strzok, the DNC and

    Clinton orchestrated a plan to falsely accuse Flynn of colluding with Russia to protect the potential

    dissemination of the intimate details of their plot

           350.    In fact, the plan to remove Flynn from his position overseeing national intelligence,

    started under former President Barack Obama. President Obama advised President-Elect Trump

    against hiring Flynn and expressed "profound concerns" about placing Flynn in a sensitive, high-

    level national security post.

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           351.    Realizing the danger of making Flynn privy to their investigations into Donald J.

    Trump and his campaign, the senior FBI officials openly discussed their concern about briefing the

    veteran intelligence official, General Flynn, on the ongoing investigation of the Trump campaign.

           352.    As such, in August of 2016, the senior FBI officials commenced an FBI

    investigation of Flynn.     The investigation was code named “Crossfire Razor”, and the

    investigation’s stated “goal” was to determine whether Flynn “was directed and controlled by

    and/or coordinated activities with the Russian Federation in a manner which is a threat to the

    national security and/or possibly a violation of the Foreign Agents Registration Act, 18 U.S.C. §

    951 et seq.

           353.    The FBI predicated the counterintelligence investigation on Flynn on three alleged

    facts: Flynn’s service as foreign policy advisor to Donald J. Trump campaign, his publicly

    documented connection to state-affiliated Russian entities, and the fact that he had traveled to

    Russia in December 2015.

           354.    After four months of investigations, the FBI “determined that Flynn was no longer

    a viable candidate as part of the larger Crossfire Hurricane umbrella case” and prepared to close

    the investigation.

           355.    The FBI drafted a “Closing Communication to put into motion the termination of

    the case. This document stated that after numerous searches of holdings and investigative steps,

    each step yielded “no derogatory information” on Flynn. The document noted “the absence of any

    derogatory information or lead information” and that the investigation had failed to produce any

    information on which to predicate further investigated efforts”.

           356.    However, following the closure of the investigation, the senior leadership of the FBI,

    including, Comey, McCabe, Strzok and Page scrambled to reopen a case against Flynn in an effort

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    to prevent him from serving as National Security Adviser.

            357.    The FBI’s top counterintelligence official would later memorialize discussions about

    the FBI’s attempts to “get [Flynn] fired.”

            358.    For example, on January 4, 2017, FBI Deputy Director Strzok learned that

    “Razor’s” closure had not been timely executed, and the counterintelligence investigation into

    Flynn was unexpectedly, still formally open. Mr. Strzok relayed the “serendipitously good news

    to Lisa Page, an attorney for the FBI, and special counsel to FBI Deputy Director Andrew McCabe,

    remarking that “our utter incompetence actually helps us.” Mr. Strzok instructed agents to “keep

    it open for now” at the behest of the ‘7th floor’, a reference to James Comey and his Deputy

    Director, McCabe. They determined that no reopening was needed when they discovered they had

    failed to officially close the previous investigation.

            359.    At the behest of Comey and McCabe, the senior FBI agents met to decide how to

    handle Flynn. Their ultimate goal” was to get Flynn to lie, so he could be prosecuted or fired.

    FBI notes released in April 2020, confirm this plan. Specifically, a handwritten note by FBI agent,

    Bill Preistap, head of FBI counterintelligence, was later unearthed that said: “I believe we should

    rethink this. What is our goal? Truth/admission or to get him to lie, so we can prosecute him or get

    him fired?” This was, in essence, a sting operation, as Flynn had not committed a crime. Moreover,

    handwritten notes from the FBI’s lawyers warned that the FBI could be “seen as playing games”

    as a result of their conduct232

            360.    Around this time, FBI Director, Comey took the position that the FBI would not

    notify the incoming Trump administration of the ongoing investigation of Flynn, despite other


    232
        LifeZette, by Polizette Staff, Dated April 30, 2020 Obama tried to sink Flynn, then the FBI
    tried to get him (lifezette.com)

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    senior officials believing that the incoming administration should be notified.

           361.    Comey was able to justify his withholding of this information from the Trump

    administration, by claiming to the FBI that the information was not a “counterintelligence

    investigation, but instead, protected as a purported “criminal investigation.”

           362.    The Deputy Attorney General, Director of National Intelligence, and Director of

    the Central Intelligence Agency all agreed that the FBI should notify the Trump administration,

    but Comey, as Director of the FBI, refused to brief the White House.

           363.    Instead of notifying the White House and Donald J. Trump, Comey, as well as

    McCabe, proceeded with the plan, and authorized FBI agents to interview Flynn. This was done,

    despite the fact that the interview should have been coordinated with the Department of Justice

    and been approved by the proper channels, considering that Flynn was the impending national

    security advisor, and he was not represented by counsel.

           364.    Prior to the interview, Strzok coordinated with FBI’ officials regarding strategy for

    interviewing Flynn, stating that it should be given a “defensive briefing” about an investigation

    under the Crossfire Hurricane umbrella or alternatively an interview under light defensive briefing

    pretext. The interview was masked under the guise of a briefing, and not a criminal interview, as

    the FBI, was once again concerned about the information being discovered by the Trump

    administration. In fact, Mr. Strozk stated in internal memos his justification for the secrecy, stating

    that the Department of Justice might “direct us” to inform the Vice President of the United States

    or “anyone else”, speculating that this could lead to the White House directing Flynn not to speak

    to the FBI.

           365.    On January 22, 2017, an FBI attorney e-mailed Strzok and Page and stated that “if

    we usually tell the White House, then I think we should do what we what we normally do.” The

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    senior FBI officials disregarded the advice of counsel directed that the investigation be concealed

    from Donald J. Trump and the White House.

           366.      Ultimately, Deputy Director, McCabe called Flynn and set up the interview. In

    later media statements McCabe stated that he explained to Flynn that it was a “sit down” and

    expressed to Flynn the FBI’s desire to accomplish the interview “quickly, quietly and discretely

    as possible.”     McCabe was the primary interviewer. It was later reported that Flynn was

    unguarded and viewed the agents as allies, despite the fact that Flynn was the subject of an FBI

    investigation.

           367.      Both of the agents at the interview stated that Flynn exhibited a “very sure

    demeanor and did not give any indicators of deception.” Moreover, they did not perceive that he

    was lying during the interview.

           368.      Further evidence of the plot was discovered on October 7, 2020, when Director of

    National Intelligence, John Ratcliffe wrote a letter to Senate Intelligence Committee Chairman,

    Lindsay Graham.

           369.      Ratcliffe’s letter stated that Clinton and her campaign conceived the false Trump

    Russia collision story to protect Clinton’s presidential bid, which, was at the time, in trouble

    because of revelations about her illegally using a private e-mail server to handle classified

    information. Ratcliffe confirmed in the letter that Obama, Comey, and Strzok knew about it.

           370.      Included with the letter were handwritten notes by then-CIA Director John

    Brennan, describing briefing Obama on “alleged approval by Hillary Clinton, on July 26, 2016, of a

    proposal from one of her foreign policy advisors to vilify Donald Trump by stirring up a scandal

    claiming interference by Russian security services.”

           371.      On October 6, 2020, this same letter prompted Donald J. Trump to order the

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    declassification of the Russia Collusion documents, which led to the discovery of more

    information regarding the plot to takedown Donald J. Trump.

             372.   On January 5, 2017, an Oval Office meeting occurred between President Obama,

    Vice President Joe Biden, James Comey, and Sally Yates (then-national security adviser to Suisan

    Rice).

             373.   At this meeting, it was confirmed by testimony later given by Comey and Yates in

    2020, that President Obama gave guidance to key officials who would be tasked with protecting

    his administration’s utilization of secretly funded Clinton campaign research.

             374.   Newly released notes confirm President Barack Obama’s key role in the

    surveillance and leak operation against Michael Flynn. The handwritten notes demonstrate that

    President Obama personally directed former FBI Director James Comey and former Deputy

    Attorney General Sally Yates to investigate Flynn for having routine phone calls with a Russian

    counterpart. The notes also suggest they withhold information from President Trump and his key

    national security figures.

             375.   Sally Yates confirmed to the Special Counsel investigating the matter that on

    January 5, 2017, President Obama revealed the existence of the Flynn investigation to her. In an

    e-mail, Susan Rice further detailed the President Obama’s involvement stating that “President

    Obama said he wants to be sure that, as we engage with the incoming team, we are mindful to

    ascertain if there is any reason that we cannot share information fully as it relates to Russia.”

             376.   The focus of the January 5, 2017 was to both develop a strategy of how to target

    Flynn and the matter of withholding vital national security information from Flynn.

             377.   This was accomplished, as both Donald J. Trump and Flynn were entirely unaware

    that the investigation of Flynn was given the go-ahead.

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           378.    On January 24, 2017, Flynn was interviewed by the FBI, which was conducted by

    McCabe.

           379.    Following said interview, acting Attorney General Sally Yates, made an "urgent"

    request to meet with White House counsel Don McGahn, and subsequently met with him on

    January 26 and January 27. At the meeting Yates told McGahn that Flynn had misled Vice

    President Pence and other administration officials about the nature of his conversations with a

    Russian ambassador and told him that Flynn was possibly susceptible to blackmail by the

    Russians.

           380.    Moreover, the false story was also leaked to the national press, in an effort to put

    pressure on Donald J. Trump to fire Flynn. On February 9, 2017, The Washington Post broke the

    story regarding Flynn and his possible collusion with Russia.           The New York Times also

    confirmed the story by The Washington Post,

           381.    Public pressure on Flynn increased as a result of said news reports.      On February

    13, 2018, Flynn resigned as National Security Advisor.

           382.    On February 14, 2018 White House Press Secretary Sean Spicer said Trump had

    asked for Flynn to resign, "not based on a legal issue, but based on a trust issue", due to "misleading

    the Vice President and others.

           383.    Later, in December 2017, President Trump said he had to fire General Flynn

    “because he lied” to the Vice President and the FBI.

           384.    Ultimately, the Defendants, including Comey, McCabe Strzok, and Page, were

    successful in causing Flynn to be ousted as National Security Advisor.

           385.    Among others at the FBI, Crossfire Hurricane was led by FBI Deputy Assistant

    Director Peter Strzok, FBI Director James Comey, and FBI Deputy Director, Andrew McCabe,

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    with involvement and assistance from, among others, FBI Special Counsel Lisa Page and FBI

    attorney Kevin Clinesmith.

                  a. Text messages between Strzok and FBI Special Counsel Lisa Page, who were

                     engaged in an illicit affair during that time, reveal that both of them had an utter

                     disdain for the subject of their investigation, Donald J. Trump, and were

                     determined to ensure that Hillary Clinton won the 2016 presidential election.

                  b. For example, on August 8, 2016, Page texted Strzok, “[Trump’s] not ever going

                     to become president right? Right?!.” Strzok replied, “No. No he’s not. We’ll stop

                     it.”

                  c. The text messages also contained reference to an “insurance policy” that was being

                     cultivated by Strzok, Page, McCabe, Comey and others at the FBI, in the event

                     that Trump were to win the election:

                  d. On August 15, 2016, Strzok texted Page: I want to believe the path you threw out

                     for consideration in Andy’s (Andrew McCabe, Deputy Director of the FBI) office

                     that there’s no way Trump gets elected—but I’m afraid we can’t take that risk. It’s

                     like an insurance policy in the unlikely event you die before you’re 40 …”

                  e. This reference to an “insurance policy” reveals that Strzok and Page intended to

                     ensure that, if Donald. J. Trump did indeed win the presidential election, that he

                     would be quickly removed from office or, at a minimum, unable to effectively

                     govern.

           386.     As discussed above, the FBI had opened individual cases under the Crossfire

    Hurricane Umbrella as to four United States individuals, Carter Page, George Papadopoulos, Paul

    Manafort, and Michael Flynn.

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               387.   Three of these individuals, Page, Papadopoulous, and Manafort, were associated

    with the Trump Campaign.

               388.   The focus of Crossfire Hurricane quickly became to obtain a FISA warrant

    authorizing spying and electronic surveillance of Carter Page, a foreign policy advisor with the

    Trump Campaign.

               389.   To surveil an American citizen, FISA requires that there be probable cause that the

    target is an “agent of a foreign power” who is “knowingly engag[ing]…in clandestine intelligence

    activities.” In short, to legitimately obtain a FISA warrant against Carter Page, the FBI had to

    demonstrate that he was a Russian agent who was knowingly engaging in intelligence activities on

    behalf of Russia.

               390.   The FBI ultimately obtained a total of four court approved FISA applications

    targeting Carter Page, which authorized intrusive electronic surveillance of him from in or about

    October 2016 through in or about September 2017; the first application was approved on October

    21, 2016 (“FISA #1”), and three renewal applications were approved on January 12, 2017 (“FISA

    # 2), April 7, 2017 (“FISA # 3”), and June 29, 2017 (“FISA # 4”).

               391.   The FISA applications were reviewed by numerous FBI agents, FBI attorneys, and

    National Security Division (NSD) attorneys and, as required by law, was ultimately certified by

    then FBI Director James Comey and approved by then Deputy Attorney General Sally Yates.233

               392.   In fact, no probable cause existed and there was no truth to any of the allegations

    against Carter Page, Donald J. Trump, or the Trump Campaign.

               393.   Strzok was directly involved in the decision to open Crossfire Hurricane and the



    233
          Id. at 6.

                                                      89
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    four FISA applications. Additionally, “the documentation opening each of the four individual

    investigations was approved by Strzok.”234

            394.    Further, Comey and Sally Yates approved the first renewal application Comey and

    then Acting Attorney General Dana Boente approved the second renewal, and then Acting FBI

    Director Andrew McCabe and then Deputy Attorney General (DAG), signed the third renewal,

    and the Defendant, Rod Rosenstein approved the fourth renewal.235

            395.    McCabe received regular briefings on the progress of Crossfire Hurricane and

    discussed the investigation with Comey at regular briefings.236

            396.    Clinesmith was assigned to provide legal support to FBI personnel working on

    Crossfire Hurricane. Clinesmith worked with the National Security Division of the United States

    Department of Justice to prepare the FISA applications to obtain authority from the United States

    Foreign Intelligence Surveillance Court.237

            397.    While ‘assisting’ the FBI, Clinesmith doctored an e-mail with the Central

    Intelligence Agency. Clinesmith communicated with the CIA regarding whether Carter Page was

    a source. 238

            398.    Clinesmith took the e-mail he received and added the words “not a source” and

    provided the doctored e-mail to the FBI.239

            399.    Ohr had regular contact with the Crossfire Hurricane team and provided them with



    234
        Id at 349
    235
         Id. at 7
    236
        120919-examination.pdf (justice.gov) (Page 69)
    237
        See generally Indictment, United States v. Clinesmith, case no. 1:20-cr-00165-JEB, District
    of Columbia (Aug. 14, 2020) (hereinafter, “Clinesmith Indictment”).
    238
        Id.
    239
        Id.

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    information that appeared in the FBI interview Report Form (FD-302).

           400.     James Comey was the Director of the FBI and his actions in this capacity allowed

    the false Trump-Russia collusion narrative to continue to thrive.

           401.     Comey personally signed three FISA applications to spy on Carter Page, with the

    Dossier serving as part of the basis for the warrant requests.

           402.     Comey was aware, or should have been aware, that there was no evidentiary basis

    for the FISA applications and that the Steele Dossier was not a credible source:

                  a. The Washington Times reported that it had obtained a three page highly classified

                     memo from September 2016, in which the CIA informed then FBI Director James

                     Comey, that the Clinton Campaign was planning to blame “collusion” between

                     Trump and the Russian government. The memo shows that Comey was advised

                     by the CIA of what the Clinton campaign had been doing. Comey was advised of

                     the fact that the Clinton campaign was setting up Donald J. Trump, weeks after

                     the FBI had opened the Crossfire Hurricane investigation into alleged collusion.

                     That information was a red flag to the FBI and it was ignored, as Comey was

                     aligned with the Clinton Campaign.

                  b. Comey admitted in December, 2018, during his testimony before the House

                     Judiciary Committee, that prior to signing the FISA application to obtain the

                     warrant to conduct surveillance on Carter Page, that he was aware that the fake

                     Dossier, authored by Steele, was financed by the Clinton Campaign and the DNC,

                     or as he referred to them, “political actors, who opposed Donald J. Trump.” Yet,

                     none of that information was disclosed in the FISA applications in October, 2016,

                     or any of the renewals.

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                 c. Moreover, Comey during his testimony before the House Judiciary Committee that

                    when he met with Donald J, Trump in January 2017, in Trump Tower, to brief him

                    on the Dossier, that he failed to inform the incoming President, about who financed

                    the document, despite, the fact that Comey was well aware that it was financed by

                    Hillary Clinton via the DNC and the Clinton Campaign through Perkins Coie.

                 d. Comey intentionally withheld that information from Donald J. Trump, as well as

                    in the FISA applications, themselves. Comey not only withheld that information

                    from Donald J. Trump and the FISA Court, so that the scheme could be hidden,

                    but he also pushed back, on behalf of the FBI, requests from Donald J, Trump to

                    investigate the origins of the “salacious material” i.e.: the Dossier. As such,

                    Comey confirmed that he did not tell Donald J. Trump, during his briefing that the

                    Dossier had been paid for by his political opponents, mainly Hillary Clinton, the

                    Clinton Campaign, and the DNC, via the Perkins Coie law firm.

                 e. On the same day that he approved the approved a FISA surveillance warrant

                    application verifying reporting by Christopher Steele, former FBI Director James

                    Comey admitted in an e-mail to former Director of National Intelligence James

                    Clapper that he was “not able to sufficiently corroborate the reporting” provided

                    in Christopher Steele’s now-disproved dossier. “We are not able to sufficiently

                    corroborate the reporting,” Comey wrote.

                 f. Comey leaked information, which was classified, regarding his private

                    conversations with President Donald J. Trump, to a college professor friend,

                    knowing that it would be shared to a reporter, causing an investigation.

          403.     Despite knowing that the information could not be sufficiently corroborated,

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    Comey utilized the Steele Dossier as purported evidence to sign FISA documents to conduct

    surveillance on Carter Page, when he knew that the Dossier was discredited, and failed to advise

    the FISA court.

           404.    Comey failed to tell the FISA court that the Dossier was reportedly funded by the

    Clinton Campaign and the DNC and compiled by Fusion GPS.

           405.    Comey failed to tell the FISA court that the Dossier he relied upon to request a

    warrant to monitor Carter Page was a product of the Fusion GPS

           406.    Comey relied on the Dossier to monitor Carter Page, even though months later he

    called the information in the Dossier salacious and unverified.

           407.    Comey relied on the Dossier, even though the FBI determined the document was

    only minimally corroborated, and in fact, he was not able to “sufficiently corroborate the

    reporting.”

           408.    Andrew McCabe was Deputy Director of the Federal Bureau of Investigation (FBI)

    from February 2016 to March 2018.

           409.    On May 9, 2017, McCabe became acting director of the FBI, and served in this role

    until August 1, 2017, when he reverted back to his role as Deputy Director.

           410.    McCabe’s actions in this capacity spearheaded the investigation, and allowed the

    false Trump-Russia collusion narrative to continue to thrive.

           411.    In June, 2017, McCabe, acting as Deputy Director of the FBI, personally signed the

    Fourth FISA application to spy on Carter Page, with the Dossier serving as part of the basis for the

    warrant requests.

           412.    As Deputy Director of the FBI, McCabe played a critical role in the FBI’s

    investigation into Donald J. Trump, titled “Hurricane Cross-Fire”. McCabe was instrumental in

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    pushing the FISA warrants, despite his knowledge that they were uncorroborated and false.

           413.    McCabe was also part of the discussion about the insurance policy, in the event of

    a Trump win in 2016 between Strzok and Page. Specifically, in February, 2018, Senator Nunes

    released a memorandum into abuses by the FBI, and asserted that a text message

    from Strzok discusses "a meeting with Deputy Director McCabe to discuss an 'insurance' policy

    against President Trump's election".

           414.    During the time he headed the investigation into Donald. J. Trump, McCabe was

    aware that Clinton’s campaign lawyer, Sussmann, was working on her behalf, when he was

    provided the Dossier to the FBI.       Yet, he failed to disclose this in his investigation, or when

    executing the FISA Warrant.

           415.    Recently, on May 13, 2022, in the criminal case brought by John Durham against

    Sussman, several Department of Justice notes were produced in the case, showing that Sussman

    did in fact inform the FBI, which would have included McCabe, that he was working on “behalf

    of his client”, although he did not specify who his client was.       Sussman’s own lawyers have

    admitted in the Durham case that more than 300 FBI e-mail chains they have reviewed show the FBI

    knew that Sussman worked for Democratic campaigns. per the Washington Post.

           416.    McCabe knowing that the dossier was funded by the Clinton campaign, and that

    Sussman was working on behalf of Clinton, intentionally kept the FBI in the dark, and downplayed

    any notion that the Dossier was not legitimate, warranting the spying on Donald J. Trump. As a

    result, the FBI employees, not including its senior FBI officials, which were calling the shots, were

    left in the dark regarding the Clinton connection to the dossier.

           417.    In his actions, McCabe was responsible for refusing to close the Mike Flynn

    investigation, despite there being no evidence of a criminal act, continuing to push forward the

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    investigation to find evidence of wrongdoing on the part of Donald J. Trump.

             418.   Moreover, McCabe had a conflict of interest in heading the investigation into

    Donald J. Trump, as prior to his appointment as Director of the FBI, months earlier, his wife a

    Democratic politician had been the recipient of $675,000 in campaign cash donated by Clinton

    and Democratic Party-affiliated political action committees

             419.   Despite all of this, McCabe signed the final FISA. Application, and continued to

    head the investigation of Clinton’s political opponent.

             420.   In 2017, while heading the investigation, McCabe also attempted to have

    Donald J. Trump removed from office. In a 60 minutes interview in February 2019, McCabe

    confirmed that he and a handful of other Justice Department officials, including Rosenstein,

    openly discussed recruiting Cabinet members to invoke the 25th Amendment to remove

    Donald J. Trump.

             421.   In 2017 and 2018, the House Intelligence Committee probed the Russia collusion

    claim.     In May 2020, transcripts were released of those hearings. During those hearings

    McCabe admitted that the FBI was unable to “prove the accuracy” of the dossier, which was used

    to obtain surveillance warrants for former Trump campaign aide Carter Page. Moreover, McCabe

    testified that he did not know if Steele’s reporting on Page, was true or not.

             422.   In 2018, the Inspector General, Michael Horowitz conducted an into investigation

    into FBI Deputy Director Andrew McCabe, regarding media leaks to the press by McCabe These

    unauthorized leaks were done in October 2016, by McCabe to the Wall Street Journal, in which

    he leaked information regarding an investigation of the Clinton Foundation.

             423.   In the report from Inspector General Michael Horowitz, it was disclosed that

    McCabe made unauthorized disclosures to the media that were designed to combat the perception

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    that he had a conflict of interest in overseeing dual FBI investigations related to former Secretary

    of State Hillary Clinton. The press disclosures in question were made to Wall Street Journal

    reporter Devlin Barrett, shortly after he wrote a story detailing political donations from Clinton

    ally and former Virginia Gov. Terry McAuliffe to the failed state Senate campaign of McCabe’s

    wife, Jill McCabe.

           424.    The Office of Inspector General found that then-Deputy Director Andrew McCabe

    lacked candor, including under oath, on multiple occasions in connection with describing his role

    in connection with a disclosure to the Wall Street Journal. The Office of Inspector General also

    concluded that McCabe’s disclosure of the existence of an ongoing investigation to the press,

    violated the FBI’s and the Department’s media policy and constituted misconduct." The report

    concluded that McCabe was "responsible for approving an improper media disclosure",

           425.    On March 16, 2018, Attorney General Jeff Sessions fired McCabe. The decision

    was based on the report from the DOJ Inspector General and the FBI's disciplinary office.

           426.    On December 19, 2019, the Department of Justice Inspector General Michael

    Horowitz submitted his report of his review of Four FISA applications and other Aspects of the

    FBI’s Crossfire Hurricane Investigation.

           427.    In his report, Horowitz reported that he found 17 “significant inaccuracies and

    omissions” in the FBI investigation of Page and that the FBI failed “to include exculpatory

    evidence in its four successful applications for surveillance warrants.”

           428.    In a 2020, McCabe was probed by the Senate Judiciary Committee. At the hearing,

    McCabe admitted that the warrant would not have been obtained without the dossier. Moreover,

    he admitted unacceptable” errors were made throughout the investigation.

           429.    At all material times, McCabe knew that the FBI was unable to prove the

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    information put into the dossier, despite this knowledge, McCabe moved forward with the dossier

    to obtain the FISA warrant, even though it did not meet the necessary legal threshold and should

    never have been issued.

             430.   Since his firing from the FBI, McCabe continues to spread the falsity regarding the

    Trump Russia-collusion story. In February, 2019, while promoting his book on television, McCabe

    was interviewed by Anderson Cooper. On the show, McCabe made clear he still questions where

    Trump’s loyalties lie. When Cooper asked if he believes Trump could be a Russian asset, McCabe

    replied, “I think it’s possible. I think that’s why we started the investigation.” The headline, posted

    across the media, based on the interview was McCabe - “ I think it’s’ possible Trump is a Russian

    asset.

             431.   The Deputy Attorney General, Rod Rosenstein also conspired to cause damage to

    Donald J. Trump. Rosenstein was a key figure in overseeing that probe, which was charged with

    investigating whether anyone on President Trump’s team was conspiring with Russian operatives.

             432.   In his role as Deputy Attorney General, Rosenstein overzealously targeted Donald

    J. Trump by concealing and allowing the FBI to act unlawfully, and personally accelerating the

    investigation, despite his knowledge that it was baseless.

             433.   Moreover, Rosenstein, in his role, failed to disclose the political funding behind the

    salacious Steele dossier on the FBI’s FISC warrant application.

             434.   In April 2017, Rosenstein was placed in charge of the Trump- Russia collision

    investigation by the Department of Justice.

             435.   Three months later, on July 18, 2017, Rosenstein was the official responsible for

    renewing the FISA warrant, signing his name on the fourth FISA (Foreign Intelligence

    Surveillance Act) warrant application. Rosenstein was the official responsible for making a finding

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    of probable cause. Rosenstein later admitted to not reading the entire FISA warrant, prior to

    signing the document.

           436.    As the head of the investigation for the Department of Justice, Rosenstein had a

    major conflict of interest, as he wanted to see harm caused upon Donald J. Trump but remained in

    charge of the investigation.

           437.    During his tenure as head of the investigation for the Department of Justice,

    Rosenstein was at the center of the Russia hoax. Rosenstein exploited his authority and

    intentionally concealed and manipulated the false collusion conspiracy.

           438.    In fact, it was well-known to Rosenstein, prior to signing the FISA warrant, that the

    FBI document that initially launched the Trump-Russia probe, dated July 31, 2016, failed to

    identify a single piece of plausible evidence justifying the Bureau’s investigation of the Trump

    campaign.

           439.    Despite this, Rosenstein, in his position as head of the investigation, intentionally

    failed to expose the truth, specifically that the FBI investigation was devoid of any evidence, and

    therefore illegitimate.

           440.    In his investigation, Rosenstein failed to question Comey, Strzok and others at the

    FBI about the lack of evidence, or demand that they produce some tangible evidence that would

    justify his continued investigation.

           441.    Furthermore, Rosenstein, as head of the investigation, could have terminated the

    obviously illicit probe of Donald J. Trump, having every opportunity to do so, but did not. Instead,

    Rosenstein accelerated and elevated the investigation.

           442.    The acceleration of the investigation occurred, when on May 17, 2017, Rosenstein

    appointed Robert Mueller as Special Counsel to investigate the Trump-Russia collusion hoax.

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           443.    At the time of the Special Counsel’s appointment, Rosenstein was aware that there

    was still no evidence of a collusion conspiracy involving the Trump campaign and Russia.

           444.    Months before the appointment of the Special Counsel, in January of 2017, the FBI

    had debunked the Steele “dossier” upon which the FBI had so heavily relied. Other FBI efforts

    to locate collusion evidence produced nothing.

           445.    To appoint a Special Counsel, the regulations required Rosenstein to demonstrate

    that there was some evidence of a potential crime, and to articulate a criminal act. Despite the fact,

    that there was no evidence of any crime committed, Rosenstein abused his authority by appointing

    a Special Counsel.

           446.    Moreover, to appoint a Special Counsel, the Department of Justice must show that

    an investigation or prosecution “would present a conflict of interest for the Department of Justice.”

    Despite the fact that no such conflict existed, Rosenstein proceeded with appointing a Special

    Counsel to oversee the matter.

           447.    As the head of the investigation into Donald J. Trump, the Russia Collusion probe,

    and the signer of the renewed FISA warrant, Rosenstein bore utter disdain for Donald J. Trump.

    The magnitude of this hatred and unlawful conduct was exposed by The New York Times, on

    September 21, 2018, when it reported that Rosenstein suggested, in May 2017, that he could

    secretly tape and record conversations between himself and Trump. Specifically, that he discussed

    wearing a wire during his meeting with President Donald J. Trump and suggested invoking

    the 25th amendment to attempt to remove Trump from office.240

           448.      Rosenstein admitted in May 2019 to Fox 5 News, according to the Washington


    240
      New York Times, by Nicholas Fandos and Adam Goldman, dated October 10, 2018, Former
    Top F.B.I. Lawyer Says Rosenstein Was Serious About Taping Trump - The New York Times

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   Examiner, to discussing with McCabe, his plans to secretly record the president, but denied he

   ever intended to wear a “wire.” “I had a conversation with Andrew McCabe about an investigation

   that he was conducting involving the president. And there was a discussion about whether or not

   the president would be recorded in the course of that investigation. I never intended to wear a wire,

   and I think that if Mr. McCabe asked me to wear a wire, we would’ve had to reconsider the whole

   thing. Because you can’t run an investigation and serve as a witness,” Rosenstein said in an episode

   of the Siege on Democracy podcast.

   A String of Federal Investigations Clear Donald J. Trump and Uncover the Defendants’ Illicit
                                            Conspiracy

          449.    On May 9, 2017, Comey was fired from his position of Director of the FBI.

          450.    Shortly thereafter, in the wake of his firing, Comey took retaliatory action against

   Donald J. Trump.

          451.    During his time with the FBI, Comey had documented several of his interactions

   with Donald J. Trump in a series of memos. After he was no longer an employee of the FBI, Comey

   intentionally shared these memos with one of his lawyer friends, who he directed to leak to a New

   York Times reporter who had been reporting on the Russia conspiracy theory.

          452.    The leak was investigated by the Office of the Inspector General (IG) which, in an

   August 2019 report, faulted Comey for the “unauthorized disclosure of sensitive investigative

   information, obtained during the course of FBI employment, in order to achieve a personally

   desired outcome.”241



   241
      Report of Investigation of Former Federal Bureau of Investigation Director James Comey’s
   Disclosure of Sensitive information and Handling of Certain Memoranda, Office of the Inspector
   General, Oversight and Review Division 19-02, August 2019,
   https://oig.justice.gov/reports/2019/o1902.pdf (hereinafter, the “IG Report (Aug. 2019).

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           453.    The outcome that Comey desired—per his own admission to Congress—was to

   “prompt” the appointment of a special counsel to investigate Donald J, Trump’ alleged conspiracy

   with the Russian movement.

           454.    The IG’s report noted that Comey had “set a dangerous example” by “release[ing]

   sensitive information” to “create public pressure for official action.”

           455.    Comey was successful in getting the special master appointed, due to his unlawful

   leaking of information, even though Comey didn’t have enough evidence to pursue it in his own

   official capacity.

           456.    In May 2017, Robert Mueller was appointed as Special Counsel to “oversee the

   previously-confirmed FBI investigation of Russian government efforts to influence to 2016

   Presidential Election and related matters.”242

           457.    Strzok, the leader of the Russia probe, texted Lisa Page in May 2017 that he was

   reluctant to join Mueller’s probe and leave his senior FBI post because he feared “there’s no big

   there, there.”243

           458.    In addition, in May 2017, Page told Representative John Ratcliffe “it still existed

   in the scope of possibility that there would be literally nothing” to connect Trump and Russia, no

   matter what Mueller or the FBI did.”

           459.    On March 22, 2019, Special Counsel Robert Mueller concluded his 22-month

   investigation and submitted his confidential report entitled “Report on the Investigation into

   Russian Interference in the 2016 Presidential Election” (the “Mueller Report”) to Attorney General


   242
       Appoint of Special Counsel (press release), US Department of Justice, May 17, 2017,
   https://www.justice.gov/opa/pr/appointment-special-counsel.
   243
       Lisa Page bombshell: FBI couldn't prove Trump-Russia collusion before Mueller appointment
   | The Hill

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   William Barr.

          460.     The Mueller Report demonstrated that, after a two-year long investigation coming

   on the heels of a year-long FBI investigation, the Special Counsel found no evidence that Donald

   J. Trump or his campaign ever colluded with the Russian government to undermine the 2016

   election.

          461.     Specifically, Special Counsel Mueller “did not find that the Trump campaign, or

   anyone associated with it, conspired or coordinated with the Russian government in these efforts,

   despite multiple efforts from Russian-affiliated individuals to assist the Trump campaign.”244

          462.     In March of 2019, shortly after the Muller Report determined there was no

   collusion, Reines went on Fox News and continued to accuse Donald J. Trump.

          463.     Reines debated with Mollie Hemingway who told Reines that the conspiracy was

   over and Reines responded: “You saying it on FOX doesn't make it so. He's under investigation

   by 17 other entities including the Southern District of New York.”245

          464.     In or around 2019, several probes were commenced or carried out concerning the

   origins of the FBI’s Crossfire Hurricane and relevant wrongdoing of the Defendants.

          Office of the Inspector General

          465.     First, the Office of the Inspector General performed a review to determine whether

   the Crossfire Hurricane investigation was adequately predicated and whether the FBI had acted on

   false and misleading information.

          466.     Through this investigation, the IG uncovered numerous deficiencies with the FBI’s



   244
      Letter from AG William Barr, March 24, 2019.
   245
     https://www.realclearpolitics.com/video/2019/03/24/mollie_hemingway_vs_philippe_reines_o
   n_mueller_its_important_to_understand_philippe_its_over.html#!

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   conduct.

             467.     In a report dated December 9, 2019, the IG identified “at least 17 significant errors

   or omissions in the Carter Page FISA applications, and many additional errors in the Woods

   Procedure.”246

             468.     Thereafter, on January 23, 2020, the DOJ formally admitted to the FISC that, with

   respect to at least the last two warrant applications, "if not earlier, there was insufficient predication

   to establish probable cause to believe that [Dr.] Page was acting as an agent of a foreign power."

             469.     The FISC has also issued several rulings finding that FISA warrants contained

   material omissions and misstatements, lacked candor, and/or that the warrants were not lawfully

   obtained:

                    a. In an Order dated December 17, 2019, the FISC stated: “The frequency with which

                       representations made by FBI personnel turned out to be unsupported or

                       contradicted by information in their possession, and with which they withheld

                       information detrimental to their case, calls into question whether information

                       contained in other FBI applications is reliable.”

                    b. In an Order dated January 7, 2020, the FISC stated: “The Court understands the

                       government to have concluded, in view of the material misstatements and

                       omissions, that the Court's authorizations were not valid.

                    c. In an Order dated March 5, 2020, the FISC stated: “There is thus little doubt that

                       the government breached its duty of candor to the Court with respect to those

                       applications [involving Carter Page].”



   246
         IG Report (12/19).

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                    d. In an Order dated June 25, 2020, the FISC stated: “The government acknowledges

                       that there were material omissions, and the Court has found violations of the

                       government's duty of candor, in all four applications [regarding Carter Page].”

             Federal Election Commission

             470.     The FEC has issued numerous reports and findings concerning the various

   violations of campaign finance laws by the Clinton Campaign and/or the DNC in connection with

   their financial dealings with the other Defendants and otherwise relating to facts surrounding this

   action.

             471.     On July 23, 2019, the FEC found reason to believe that the DNC and HFA violated

   52 U.S.C. § 30104(b)(5)(A) and (b)(6)(B)(v) and 11 C.F.R § 104.3(b)(3)(i) and (b)(4)(i) by

   misreporting the purpose of funds paid to Fusion GPS through Perkins Coie.247

             472.     The FEC’s investigation revealed that the total amount of money that the DNC

   spent on Fusion GPS’ opposition research—which it passed through Perkins Coie and illegally

   reported as “legal and compliance consulting”—was in the amount of $777,907.97.248

             473.     Similarly, the FEC found that a sum in the amount of $180,000 was paid by the

   Clinton Campaign to Perkins Coie and subsequently disbursed by Perkins Coie to Fusion GPS, as

   payment for Fusion GPS’s services.249

             474.     The FEC Office of General Counsel concluded that “[the Clinton Campaign] and

   the DNC did not properly disclose the purpose of [their] disbursements to Perkins Coie, for what




   247
       Certification ¶ 2.a, MURs 7291 &7449 (DNC & HFA) (July 26, 2019).
   248
       Second General Counsel’s Report at 2-3, MUR 7291 & 7449, In the Matter of DNC Services
   Corp./DNC, et al. (hereinafter, “FEC Second Gen. Counsel’s Rpt.”).
   249
       Id.

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   appears to have been opposition research done by Fusion [GPS].”250

          475.    After conclusion of its investigation, the FEC found “probable cause to believe that

   the Clinton Campaign “violated 52 U.S.C. § 30104(b)(5)(A) and 11 C.F.R. § 104.3(b)(4)(i) by

   misreporting the purpose” of the disbursements to Fusion GPS.251

          476.    Likewise, the FEC found probable cause to believe that the DNC “violated 52

   U.S.C. § 30104(b)(5)(A) and 11 C.F.R. § 104.3(b)(4)(i) by misreporting the purpose” of the

   disbursements to Fusion GPS.252

          477.    On February 22, 2022, the Clinton Campaign and the DNC respectively entered

   into Conciliation Agreements with the FEC to resolve these violations.253

          478.    As set forth in its Conciliation Agreement, the Clinton Campaign agreed to pay a

   civil penalty to the FEC in the amount of $8,000 pursuant to 52 U.S.C. 30109(a)(5)(A) and to not

   violate U.S.C. § 30104(b)(5)(A) or 11 C.F.R. § 104.3(b)(4)(i) in the future.254

          479.    As set forth in its Conciliation Agreement, the DNC agreed to pay a civil penalty

   to the FEC in the amount of $105,000 pursuant to 52 U.S.C. 30109(a)(5)(A) and to not violate

   U.S.C. § 30104(b)(5)(A) or 11 C.F.R. § 104.3(b)(4)(i) in the future.255

          Department of Justice/Special Counsel John Durham

          480.    In light of these admissions, as well as the obvious questions about the legitimacy



   250
       FEC First Gen. Counsel’s Rpt. at 27.
   251
       Conciliation Agreement between HFACC and FEC at 1, February 22, 2022, MUR 7291 &
   7449, In the Matter of DNC Services Corp./DNC, et al. (hereinafter, “Clinton Campaign
   Conciliation Agreement”).
   252
       Conciliation Agreement between DNC and FEC at 1, February 22, 2022, MUR 7291 & 7449,
   In the Matter of DNC Services Corp./DNC, et al. (hereinafter, “DNC Conciliation Agreement”).
   253
       See generally Clinton Campaign Conciliation Agreement and DNC Conciliation Agreement.
   254
       Clinton Campaign Conciliation Agreement at 3.
   255
       DNC Conciliation Agreement at 3.

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   of Crossfire Hurricane, Attorney General William Barr assigned John Durham, the United States

   Attorney for the District of Connecticut, to lead an investigation on behalf of the Department of

   Justice into Crossfire Hurricane.

          481.    Thereafter, on October 19, 2020, Barr officially appointed Durham to serve as

   Special Counsel and to continue his investigation into the origins of Crossfire Hurricane.

          482.    On August 8, 2020, in his first actions as Special Counsel, Durham criminally

   indicted former FBI attorney Kevin Clinesmith, for making a false statement, stemming from his

   altering of an e-mail in connection with the submission of a Foreign Intelligence Surveillance Act

   (“FISA”) application related to spying on Donald J. Trump. Clinesmith was referred for potential

   prosecution by the Justice Department’s inspector general’s office, which conducted its own

   review of the Russia investigation.

          483.    Between July 2015 and September 2019, Clinesmith was employed with the FBI

   as an Assistant General Counsel in the National Security Department. Clinesmith was assigned

   to provide legal support to FBI personnel working on Crossfire Hurricane, and he assisted FBI

   personnel with applications prepared by the FBI and the Justice Department’s National Security

   Division to conduct surveillance under the FISA. 256

          484.    Clinesmith intentionally altered an e-mail he received from a “government

   agency”, by adding the words “not a source,” and then forwarded the e-mail to the FBI Supervisory

   Special Agent. On June 29, 2017, the FBI Supervisory Special Agent, relying on the altered e-

   mail, signed and submitted the fourth FISA application to the U.S. Foreign Intelligence



   256
      Press Release Department of Justice U.S Attorneys Office District of Connecticut, dated
   August 19, 2020 FBI Attorney Admits Altering E-mail Used for FISA Application During
   "Crossfire Hurricane" Investigation | USAO-CT | Department of Justice

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   Surveillance Court, which allowed them to eavesdrop on Carter Page, who was a former Trump

   campaign advisor. The application did not include the individual’s history or status as a source,

   with the other government agency.257

          485.     Ultimately, on August 19, 2021, Clinesmith pleaded guilty to one count of making

   a false statement within both the jurisdiction of the executive branch and judicial branch of the

   U.S. government.258

          486.     On September 16, 2021, less than a year into his investigation, Durham indicted

   Sussmann for one count of making a false statement to a federal law enforcement in violation of

   18 U.S.C. § 1001(a)(2) for, on September 19, 2016, “stat[ing] to the General Counsel of the FBI

   that he was not acting on behalf of any client in conveying the particular allegations concerning

   [Donald J. Trump], when in truth, and in fact, and as [Sussmann] well knew, he was acting on

   behalf of specific clients, namely, [Joffe] and the Clinton Campaign.”259

          487.     On November 3, 2021, Durham indicted Danchenko for five separate counts of

   violating 18 U.S.C. § 1001(a)(2) for making false statements to a law enforcement officials:260

                 e. Count One alleges that Danchenko violated 18 U.S.C. § 1001(a)(2) on June 15,

                    2017 when he “denied to agents of the FBI that he had spoken with [Dolan] about

                    any material contained in the [Steele Dossier], when in truth and in fact, and as the

                    defendant well knew, [Dolan] was the source for an allegation contained in the

                    [Steele Dossier] dated August 22, 2016 and was otherwise involved in the events


   257
       Id.
   258
       Id.
   259
       Indictment at 27, United States v. Sussmann, case no. 1:21-cr-00582-CRC, District of
   Columbia (Sept. 16, 2021) (hereinafter, “Sussmann Indictment”).
   260
       See generally Indictment, United States v. Danchenko, case no. 1:21-cr-00245-AJT, Eastern
   District of Virginia (Nov. 3, 2021) (hereinafter, Danchenko Indictment”)

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                    and information described in the reports.”261

                f. Count Two alleges that Danchenko violated 18 U.S.C. § 1001(a)(2) on March 16,

                    2017 when he “stated to agents of the FBI that he received a late July 2016

                    telephone call from an individual who Danchenko believed was ‘probably’

                    Chamber President-1, when in truth and in fact, and as [Danchenko] well knew,

                    Chamber President-1 never called Danchenko.”262

                g. Count Three alleges that Danchenko violated 18 U.S.C. § 1001(a)(2) on May 18,

                    2017 when he “stated to agents of the FBI that he ‘was under the impression’ that

                    a late July 2016 telephone call that he received was from Chamber President-I,

                    when in truth and in fact, and as the defendant well knew, Chamber President-I

                    never called Danchenko.”263

                h. Count Four alleges that Danchenko violated 18 U.S.C. § 1001(a)(2) on October

                    24, 2017 when he "stated to agents of the FBI that he believed that he spoke to

                    Chamber President-I on the telephone on more than one occasion, when in truth

                    and in fact, and as the defendant well knew, Danchenko never spoke to Chamber

                    President-I.”264

                i. Count Five alleges that Danchenko violated 18 U.S.C. § 1001(a)(2) on November

                    16, 2017 when he “stated to agents of the FBI that he believed that he had spoken

                    to Chamber President-I on the telephone, when in truth and in fact, and as the




   261
       Id. at 37.
   262
       Id.
   263
       Id. at 38.
   264
       Id.

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                   defendant well knew, Danchenko never spoke to Chamber President-I.”265

          488.    On December 17, 2021, Durham filed a motion to inquire into potential conflicts

   of interests in Danchenko’s criminal case, notifying the court to a potential conflict of interest

   since Danchenko’s defense counsel also represents the Clinton Campaign, noting that “the interests

   of the Clinton Campaign and [Danchenko] could potentially diverge in connection with any plea

   discussions, pre-trial proceedings, hearings, trial, and sentencing proceedings.”

          489.    In the motion, Durham also confirms that his office is actively investigating the

   Clinton Campaign for its role in the subject matter of this action, stating that “[a]reas of inquiry

   that may become relevant . . . include topics such as (1) the Clinton Campaign’s knowledge or

   lack of knowledge concerning the veracity of information in the Company Reports sourced by the

   defendant, (2) the Clinton Campaign’s awareness or lack of awareness of the defendant’s

   collection methods and sub-sources, (3) meetings or communications between and among the

   Clinton Campaign, U.S. Investigative Firm-1, and/or U.K. Person-1 regarding or involving the

   defendant, (4) the defendant’s knowledge or lack of knowledge regarding the Clinton Campaign’s

   role in and activities surrounding the Company Reports, and (5) the extent to which the Clinton

   Campaign and/or its representatives directed, solicited, or controlled the defendant’s activities.”

   He further noted that “the Clinton Campaign and [Danchenko] each might have an incentive to

   shift blame and/or responsibility to the other party for any allegedly false information that was

   contained within the Company Reports and/or provided to the FBI.”266

          490.    On January 25, 2022, in a discovery-related motion in the Sussmann criminal case,



   265
      Id.
   266
      See generally Motion to Inquire into Potential Conflicts of Interest (ECF Doc. No.35), United
   States v. Danchenko, case no. 1:21-cr-00245-AJT, Eastern District of Virginia (Dec. 17, 2021).

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   it was revealed that Durham has already questioned a “former employee of the Clinton Campaign”

   and has served document requests and/or subpoenas on the Clinton Campaign and a “political

   organization” – likely the DNC.267

          491.    On February 11, 2022, Durham filed a motion to inquire into potential conflicts of

   interest in the Sussmann case. Notably, in reference to Neustar and Joffe’s exploitation of non-

   public data in connection with the Defendants’ conspiracy, Durham states that “among the Internet

   data [Joffe] and his associates exploited was domain name system (“DNS”) Internet traffic

   pertaining to (i) a particular healthcare provider, (ii) Trump Tower, (iii) Donald Trump’s Central

   Park West apartment building, and (iv) the Executive Office of the President of the United States

   (“EOP”),” and specifically notes that “[Joffe] and his associates exploited [a sensitive]

   arrangement [with the EOP] by mining the EOP’s DNS traffic and other data for the purpose of

   gathering derogatory information about Donald Trump.”268

                 The Defendants’ Malicious Conspiracy Remains Active to This Day

          492.    The Defendants’ collective effort to falsely implicate and publicly denigrate Donald

   J. Trump has not ceased and, in fact, the Defendants continue to proliferate the injurious falsehood

   that Donald J. Trump colluded with Russia to this very day.

          493.    Fusion GPS, Simpson, Fritsch, and Steele continued their collective mission to

   fabricate evidence and disparage Donald J. Trump with it, well after Trump won the 2016 election.

          494.    Perkins Coie still serves as general counsel to the DNC.269


   267
       See Government’s Discovery Update and Request for Additional Time to Produce Residual
   Discovery Materials, United States v. Sussmann, case no. 1:21-cr-00582-CRC, District of
   Columbia (Jan. 25, 2022).
   268
       See generally Motion to Inquire into Potential Conflicts of Interest (ECF Doc. No.35), United
   States v. Sussmann, case no. 1:21-cr-00582-CRC, District of Columbia (Feb. 11, 2022).
   269
       See https://www.perkinscoie.com/en/experience/democratic-national-committee-2.html.

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            495.   John Podesta and Philippe Reines have continued to insist that Donald J. Trump

   colluded with Russia.

            496.   In October of 2017, Podesta went on Twitter and accused Donald J. Trump of

   “running a “big lie campaign” centered on the investigation into Russian meddling in the U.S.

   election.”270

            497.   On, April 16, 2018, Reines tweeted “yes collusion, yes collusion, yes collusion”

   in response to an article titled: ‘Breaking: Trump puts the brake on new Russian sanctions,

   reversing Haley’s announcement.’

            498.   John Podesta is the founder and Chair for the Board of Directors for the Center for

   American Progress. Podesta previously served as counselor to President Barak Obama, serving as

   co-chair of Obama’s transition tram. Podesta also previously served as White House chief of Staff

   for Bill Clinton, and chaired Hillary Clinton’s 2016 Presidential Campaign.        The Center for

   American Progress is intended to be a is a public policy research and advocacy organization which

   presents a liberal viewpoint on economic and social issues. It has its headquarters in Washington,

   D.C., but is really an anti-Trump organization.

            499.   The organization has been involved, by and through its founder and chair, Podesta,

   of pushing the false Trump Russia collusion narrative. In furtherance of the plan to push the false

   Russia narrative to the general public, Podesta and the American Progress Action Fund set up the

   “Moscow Project”.

            500.   The Moscow Project was set up as a basis to continue to spread the false Russian

   narrative. Its stated purpose is to analyze the facts behind Trump’s collusion with Russia and



   270
         https://www.yahoo.com/news/trump-behind-apos-big-lie-164719959.html

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   communicate it to the public. The Moscow Project still exists, to this day, pushing the false Trump

   Russia collusion narrative. For example, as of the date of the filing of this amended Complaint,

   on its website, the “Moscow Project” editors, under the direction of Podesta, write in red bold

   letters, “The Trump Russia Collusion.” Moreover, on its homepage, it showcases several articles,

   which falsely claim that there was collusion, such as “Yes Collusion. Yes Obstruction”, dated June

   22, 2020. “Creating a New Scandal is the Latest Episode of Trump’s Endless Coverup”, dated

   May 20, 2020. 271

             501.   Reflecting its goal of spreading lies regarding Donald J. Trump, the Center for

   America Progress Web-Site, under the direction of Podesta wrote on March 23, 2017 on its web-

   site, the following, “on Wednesday the Associated Press reported that Paul Manafort, Trump’s

   former campaign manager, secretly worked with a Russian billionaire on a plan to “greatly

   benefit the Putin Government.” Sound familiar? This isn’t the first time we’ve heard about shady

   ties between Manafort and Russian officials. And it’s not just Manafort. It seems like every day

   brings new reports of ties between the Trump team and Russia. And today is no exception, it is

   now being reported that FBI has information that Trump associates communicated with Russian

   operatives—possibly to coordinate the release of information during the campaign. Confused by

   all the news? The Moscow Project is here to help. Consider it your one-stop-shop for the who,

   what when, and where of all things Trump and Russia. See all the key players, a timeline of

   events, and a fact-checked version of the Steele Dossier (of Buzzfeed fame). You can also

   contribute to the investigation using the Genius tool or by sending confidential tips




   271
         The Moscow Project themoscowproject.org, dated June 17, 2022.

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   to tips@themoscowproject.org.272

            502.   Debbie Wasserman Schultz has also continued to maintain that Donald J. Trump

   colluded with Russia.

            503.   For instance, on May 10, 2019, Schultz appeared on MSNBC and boldly announced

   that there were “clear indications” that Donald J. Trump colluded with Russia. She went on to

   state:

                   You know, what’s so disturbing is that Donald Trump is so lacking
                   in confidence about his ability to actually get elected without the
                   help of a foreign power, and particularly a foreign adversary, that
                   they will go to any lengths and that he will instruct and allow his
                   colleagues and allies to go to any lengths to be able to secure his
                   success in an election.273

            504.   Adam Schiff, a member of the Democratic Party, who represents California’s 28th

   Congressional District since 2013, has been a vocal advocate of the Trump Russia-collusion

   conspiracy story.

            505.   Schiff has routinely falsely claimed that he has seen “ample evidence “that Trump

   colluded with the Russian government. Schiff has stated on multiple occasions that there is an

   abundance of evidence that the Trump campaign colluded with the Russians to win the 2016

   presidential election. Moreover, Schiff has routinely claimed to the press, and the American

   public, for years, that he has “smoking gun” evidence proving Trump colluded with Russia in order

   to win the 2016 election.

            506.   In January 2017, a committee probe of the Trump Russia Collusion was started by



   272
        The Moscow Project - Center for American Progress Action,
   www.americaprogressaction.org, dated March 23, 2017
   273
       https://www.realclearpolitics.com/video/2019/05/11/wasserman_schultz_trump_clearly_collu
   ded_with_russia_and_engaged_in_obstructed_justice_to_cover_it_up.html

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   the House Intelligence committee, in which Schiff is a member, and now chairs. In 2017, Schiff

   as a member of the House Intelligence committee, was involved in the congressional probe, acting

   as one of the staunchest advocates in the committee that the collusion had actually occurred. The

   committee probe concluded in March 2018, with a report finding no evidence that the Trump

   campaign conspired with the Kremlin and finding that The House Intelligence Committee found

   the “Trump campaign did not collude with Russia”.

           507.    Transcripts released from those proceedings, which Schiff vehemently objected to

   their release, but were released after a vote of the members, prove that Schiff knew there was no

   proof of collusion. Yet, he still repeatedly touted the claim of collusion on national media outlets

   for several more years, and continues to this day to maintain that Trump colluded with Russia.

           508.    In February 2019, Senate intelligence committee Chairman Richard Burr told CBS

   News his panel had discovered nothing to indicate collusion had occurred, which Schiff denied.

   Schiff stated to the press, “All of this is evidence of collusion, and you either have to look the other

   way to say it isn’t or you have to have a different word for it, because it is a corrupt dealing with

   a foreign adversary during a campaign.

           509.    On March 2, 2019, Schiff stated to the press, “I think there is direct evidence in the

   e-mails from the Russians through their intermediary offering dirt on Hillary Clinton as part of

   what is described in writing as the Russian government effort to help elect Donald Trump”.

           510.    On March 28, 2019, the nine Republican members of the House Intelligence

   Committee officially called for Schiff to resign due to his allegations that Trump's campaign

   colluded with Russians in the 2016 election. Schiff responded by accusing the Republican

   members of tolerating "immoral" and "corrupt" conduct by Trump campaign members and

   administration appointees.

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          511.    Recently, an e-mail was uncovered by John Durham indicating Schiff’s affiliation

   with Fusion GPS. Peter Frisch, on behalf of Fusion GPS e-mailed Jay Solomon at the Wall Street

   Journal in July 2016. In the e-mail, dated July 26, 2016, which was recently unearthed by John

   Durham, Peter Frisch wrote to the Wall Street Journal reporter, when the reporter told him that

   Carter Page “is neither confirming or denying”. that he should “call Adam Schiff. Or difi for that

   matter. I bet they are concerned about what page was doing other than giving a speech over 3 days

   in Moscow.”

          512.    Schiff continues to spread the false Trump Russia-collusion narrative. From 2017

   to 2021, Schiff has been a regular guest on national news outlets, such as MSNC, CBS’s “Face the

   Nation, NBC’ Meet the Press and CNN, in which he has routinely claimed that Trump colluded

   with Russia, that there is plenty of evidence, and it is damming. For Example, on March 24, 2019,

   on ABC’s This Week” with George Stephanopoulos, Schiff called it congresses duty to expose e

   Trump’s relationship with Russia. Moreover, continuing to state there was significant evidence of

   Trump collusion.    When asked by the host if he would apologize for his claims that Trump

   colluded with Russia, after new information had been revealed disproving the collision, he double-

   downed on his prior statements, that there was significant and incriminating evidence of the

   collusion.

          513.    On May 9th, 2020, Schiff claimed on CNN’s State of the Union, there was “more

   than circumstantial evidence” that Donald Trump’s 2016 presidential campaign colluded with

   Russia. “You can see evidence in plain sight on the issue of collusion, pretty compelling

   evidence,”

          514.    On April 16, 2021, Schiff on MSNBC “the last word” with Lawrence O’Donnell,

   continued to maintain the false narrative that Donald J. Trump and his administration colluded

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   with Russian, and went even further stating that it continued to do so in the 2020 election. Stating

   that the “Trump campaign was passing strategic polling and strategic information to a Russian

   intelligence agent.”    “Not just Russian intelligence, but the same ones that tried to help Trump

   win the 2016 election, what most people would call collusion, I don’t know how the no collusion

   crowd explains that.”

          515.    At all relevant times, Adam Schiff knew that the Steele Dossier was an opposition

   research document paid for by the Clinton campaign and the DNC. Schiff suppressed that

   information from the congressional probe, as well as from the American public, such information

   which would have undercut the collusion accusations.

          516.    After years of delay, when Schiff was forced to release transcripts of interviews

   conducted by him, and his fellow House Intelligence Committee members into Russia meddling,

   it was learned that the director of National Intelligence, former Obama Attorney General, former

   Deputy Attorney General, and the FBI Deputy Director, among others, all told his committee that

   there was no direct evidence of criminal conspiracy.

          517.    Despite this knowledge, Schiff knew, continued to profess that the central assertion

   of the dossier, that the Trump campaign had colluded with the Russian government during the

   2016 campaign, was not only possible but indeed a fact. He did so on numerous occasions and

   with great certitude. Every time he did, it was a lie. To this day, Schiff has never produced any

   evidence to back up his claims.

          518.    Likewise, Clinton has continued to drum up the false Trump-Russia narrative in the

   hopes of damaging Trump’s political career.

          519.    In an October 2019 interview for the “Campaign HQ” podcast, Clinton stated about

   Trump: “I don’t know what Putin has on him, whether it’s both personal and financial. I assume it

                                                   116
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   is.”274

             520.   For example, on June 16, 2021, Clinton appeared on MSNBC’s Morning Joe show

   and again attempted to reinforce the debunked Trump-Russia story—of which she led the effort to

   manufacture and is no doubt aware is false—when she stated to MSNBC’s audience, which

   included the general public of the State of Florida and the rest of the United States: “We don’t

   have Trump as spokesperson for Putin, anymore.” “After disastrous Trump presidency, in which

   he gave Putin a green light to do whatever he wanted to do, once Trump was elected, of course...”

             521.   On February 16, 2022, in response to media reports concerning the filing of

   Durham’s February 11, 2022 motion, Clinton tweeted that “Trump & Fox are desperately spinning

   up a fake scandal to distract from his real ones. So it's a day that ends in Y. The more his misdeeds

   are exposed, the more they lie. For those interested in reality, here's a good debunking of their

   latest nonsense.”275

             522.   Recently, in a June 18, 2022 article published by the Financial Times, Clinton

   referred to her loss Trump in the 2016 Presidential Election as “unfinished business” and further

   stated: “Look, the most important thing is to win the next election. The alternative is so frightening

   that whatever does not help you win should not be a priority.”276

             523.   These are but a few of the recent examples of the Defendants’ ongoing efforts to

   maintain their conspiracy to spread injurious falsehoods against Donald J. Trump.



   274
       Blake, Aaron. “Hillary Clinton suggests Putin has kompromat on Trump, Russia will back
   Tulsi Gabbard third-party bid.” Washington Post. October 18, 2019. Accessed August 11,
   2020. https://www.washingtonpost.com/politics/2019/10/18/hillary-clinton-suggests-putin-has-
   kompromat-trump-russians-will-back-tulsi-gabbard-third-party-bid/
   275
       https://twitter.com/HillaryClinton/status/1494036101572575232.
   276
       Edward Luce, Hillary Clinton: ‘We are standing on the precipice of losing our democracy”,
   June 17, 2022, https://www.ft.com/content/2e667c3f-954d-49fa-8024-2c869789e32f.

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          524.    As a direct and proximate cause of the Defendants’ actions, Trump has sustained

   significant injuries and damages including, but not limited to, expenses in the form of defense

   costs, legal fees and related expenses incurred in connection with his efforts to defend against the

   Defendants’ tortious actions, false accusation, and overall scheme to discredit and delegitimize

   him, the Trump Campaign and Administration, and the Trump Organization and the various

   federal investigations and official proceedings that arose therefrom, which to date is in an amount

   no less than twenty-four million dollars ($24,000,000) and continuing to accrue, as well as the loss

   of existing and future business opportunities.277

          525.    It was a goal of the Defendants’ conspiracy, and indeed a direct and proximate

   consequence of the same, that this substantial economic harm would befall Trump. The Plaintiff

   does not claim nor seek any compensation for damage to his reputation, but rather, he seeks

   damages for the cost of dealing with the legal issues and political issues, which he was required to

   spend to redress the injurious falsities which were propounded by the Defendants, and all other

   losses incurred due to the tortious conduct of the Defendants.

          526.    All precedent acts and requirements have been done or have been waived by the

   Defendants.

          527.    The Plaintiff was required to retain the attorneys named below to bring this action

   and to pay them reasonable attorneys’ fees.




   277
       The different opportunities which evaporated are too many to list, but as an example, Donald
   J. Trump has been banned from different social media platforms, including Twitter. Most of this
   was due to the misinformation campaign waged by Hillary Clinton, whereby truth was deemed
   false and lies were deemed to be truth.

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                                             Count I
                                             RICO
                                      (18 U.S.C. § 1962(C))
   (Against Clinton, Clinton Campaign, DNC, Perkins Coie, Elias, Sussmannn, Fusion GPS, Joffe)

          528.    The Plaintiff avers the allegations contained in the preceding paragraphs and

   incorporates them in this count, as if set forth at length herein.

          529.    The Defendants, Clinton, the Clinton Campaign, the DNC, Perkins Coie, Elias,

   Sussmann, Fusion GPS, and Joffe (collectively, the “RICO Defendants”) are all “persons” within

   the meaning of 18 U.S.C. § 1961(3).

                                          The RICO Enterprise
          530.    At all relevant times, the RICO Defendants, Clinton, the Clinton Campaign, the

   DNC, Perkins Coie, Elias, Sussmann, Fusion GPS, and Joffe, conducted the affairs of an

   association in-fact enterprise (the “Enterprise”) within the meaning of 18 U.S.C. § 1961(4).

          531.    The members of the Enterprise are a group of persons associated together for the

   common purpose of carrying on an ongoing enterprise; specifically—as confirmed by U.S.

   intelligence officials—the Enterprise had a common, unlawful goal of corruptly and wrongfully

   harming the Plaintiff’s political reputation, damaging his electability for the 2016 Presidential

   Election and subsequent elections, impeding his ability to effectively govern, and otherwise

   sabotaging his political career through deceptive, criminal and fraudulent means, including, but

   not limited to, falsely implicating the Plaintiff, the Trump Campaign, and the Trump

   Administration as colluding with Russia. The actions undertaken by the RICO Defendants in

   furtherance of this goal were intended to inflict the type of injury and harm suffered by Plaintiff.

          532.    The Enterprise was formed as early as April 2015, when Clinton announced her

   candidacy, formed her campaign and began conspiring with the DNC and Perkins Coie to target



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   Plaintiff, and remains ongoing and continuing to the present day. In the alternative, the Enterprise

   continued through at least January 20, 2021 when Plaintiff formally departed the office of the

   presidency.

           533.    At all relevant times, the Enterprise has had a longevity sufficient to permit the

   RICO Defendants to pursue the Enterprise’s purpose. Indeed, the Enterprise’s conduct remains

   ongoing to this day as the RICO Defendants continue to perpetuate their fraudulent scheme by

   spreading disinformation, harmful lies, and false narratives to the media concerning Plaintiff’s

   purported illicit ties to Russia. In addition, given the potential that Plaintiff will run for President

   again in 2024, coupled with the RICO Defendants’ longstanding political and professional

   relationships, there is a significant likelihood that conduct of the Enterprise’s racketeering conduct

   will repeat in the future, including but not limited to, theft of trade secrets, obstruction of justice,

   and other unlawful tactics, in furtherance of their attempts to further damage Plaintiff’s electability

   and to ensure that he is unable to secure a victory in the 2024 Presidential Election.

           534.    The Enterprise is, and at all relevant times was, a continuing unit that functioned

   with a common purpose and had an ascertainable structure for carrying out its objectives. While

   the precise organizational framework of the Enterprise may have varied over time, and some of

   the RICO Defendants may have held different roles at different times, the Enterprise has been

   structured to operate as a continuing unit to accomplish the common goals and purposes of its

   scheme. In general, the leadership of the Enterprise was the Clinton Campaign and the DNC, as

   well as Clinton, who exerted significant control over both the Clinton Campaign and the DNC.

   Clinton, the Clinton Campaign and the DNC worked in tandem with their joint counsel, Perkins

   Coie, whose partners, Sussmann, and Elias, simultaneously served as general counsel for the

   Clinton Campaign and the DNC, in devising, coordinating, and overseeing the Enterprise’s

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   activities. Perkins Coie was the central hub that coordinated and oversaw the day-to-day operations

   of the Enterprise. Perkins Coie, at the behest of and on behalf of the Clinton Campaign and the

   DNC, contracted with Fusion GPS to spearhead the media-based smear campaign against Plaintiff;

   this arrangement was misreported to the FEC for the purposes of concealing the Clinton Campaign

   and the DNC’s connection to Fusion GPS. Perkins Coie also represented Joffe and his company,

   Neustar. Joffe’s role was to lead a cyber-based, data-driven attack against Plaintiff. All of the

   RICO Defendants played a part in misleading law enforcement and counterintelligence officials,

   including, without limitation the preparation and presentation of various falsified materials and

   various false statements made in connection with same.

          535.    At all relevant times, each of the RICO Defendants were aware of each other’s

   conduct in furtherance of the scheme and were knowing and willing participants in that conduct.

   The RICO Defendants had frequent meetings, calls and communications amongst themselves for

   the purpose of orchestrating, coordinating, and carrying out their unlawful actions. To the extent

   any of the RICO Defendants did not communicate or interact directly with any other RICO

   Defendants, such as the Clinton Campaign, they communicated and/or interacted indirectly

   through Perkins Coie as a liaison and were continually apprised of the activities of the other RICO

   Defendants; this was done purposefully with the intention that attorney-client privilege

   communications could be used to conceal their communications.

          536.    Since the Enterprise’s activities had a significant impact on the 2016 presidential

   election, provoked numerous unwarranted federal investigations and congressional inquiries,

   severely impacted the reputation of a presidential candidate, affected fundraising and electoral

   spending in the 2016 presidential election and 2020 presidential election, and, ultimately, impeded

   the ability of a sitting President of the United States to effectively govern, the Enterprise affected

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   interstate and foreign commerce.

          537.      Many of the members of the Enterprise have longstanding interpersonal and/or

   professional relationships rooted in their political and professional connections, ongoing business

   dealings, and mutual interest and participation in common activities and dealings.

                                              Predicate Acts

          538.      Section 1961(1) of RICO also provides that “racketeering activity” includes any act

   indictable under 18 U.S.C. § 1832 (relating to theft of trade secrets); 18 U.S.C. § 1512 (obstruction

   of justice); and 18 U.S.C. § 1343 (fraud by wire, radio or television). As set forth herein, in

   furtherance of their scheme to harm the Plaintiff, his reputation and his business, the RICO

   Defendants engaged in numerous acts in violation of 18 U.S.C. § 1832, 18 U.S.C. § 1512, and 18

   U.S.C. § 1343.

          539.      Each RICO Defendant has conducted and participated in, directly or indirectly, the

   management, conduct and/or operation of the Enterprise and its affairs through a pattern of

   racketeering activity including acts indictable under 18 U.S.C. § 1832 (theft of trade secrets), 18

   U.S.C. § 1512 (obstruction of justice), and 18 U.S.C. § 1343 (wire fraud).

          540.      The RICO Defendants have consistently and regularly committed acts of

   racketeering activity spanning from, at least, April 2015 through, at a minimum, November 17,

   2017. These multiple acts shared a common or related purpose, goal, result, participants, victims,

   and methods of commission.

          541.      Beginning in or around April 2015, the RICO Defendants engaged in wide-ranging

   scheme to concoct a false narrative that the Plaintiff, his businesses, his campaign, and eventually,

   his administration, were colluding with Russia to undermine the 2016 Presidential Election and

   engage in other corrupt dealings.

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          542.    The RICO Defendants, through their deceptive and illegal conduct intended to

   mislead law enforcement, the media, and the public at large through the spread of disinformation

   and fraudulent claims; to unlawfully obtain confidential, sensitive and proprietary data that could

   be falsified and weaponized against Plaintiff; and to obstruct and falsely provoke federal

   investigations against the Plaintiff, the Trump Campaign, and the Trump Administration.

          543.    In furtherance of this scheme, the Defendants committed multiple related acts, each

   of which constitutes an act of racketeering activity, and which, collectively, constitute a pattern of

   racketeering activity.

          Theft of Trade Secrets (18 U.S.C. § 1832)

          544.    In violation of 18 U.S.C. § 1832(a)(5), Joffe, in coordination with and at the

   direction of the other RICO Defendants, abused and exploited access to non-public and highly-

   sensitive data sources and/or servers and acquired, obtained in excess of authorization and/or stole

   proprietary, sensitive and confidential internet data, records and/or information, including without

   limitation, DNS internet traffic data pertaining to Plaintiff, including data originating from his

   servers located at his private New York residence and those located at Trump Tower and used in

   connection with his business, The Trump Organization LLC, a company involved in interstate

   commerce, and stole trade secrets in violation of 18 U.S.C. § 1832 (theft of trade secrets).

          545.    DNS internet traffic data houses highly proprietary, sensitive and confidential data.

   For example, among other things, an analysis of raw DNS data reveals a comprehensive view into

   an individual or a company’s website traffic, e-mail traffic, webmail traffic, chat messaging, in

   addition to the types of technology, hardware, software, programs, securities and processes being

   utilized by the servers.

          546.    Joffe, with assistance from the other RICO Defendants, exploited his access to non-

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   public data sources and/or servers, through Neustar and the Data Companies, to unlawfully

   acquire, steal and exploit sensitive, proprietary and confidential internet data, including without

   limitation, DNS information, traffic, and/or data originating from computers and/or servers: (i)

   located at Plaintiff’s private apartment in Central Park West in New York and belonging to the

   Plaintiff; and (ii) located at Trump Tower and belonging to The Trump Organization, in which

   Plaintiff has an ownership interest (collectively, with the computers and/or servers house in

   Plaintiff’s private apartment, “Plaintiff’s Servers”).

          547.    By illegally accessing the above-mentioned information and data, the RICO

   Defendants were able to obtain proprietary, sensitive, and/or confidential information and data

   including, among other things, the number and frequency of e-mail communications between the

   Plaintiff’s Servers and other third party servers, the number and frequency of website visits to third

   party websites by the Plaintiff’s Servers, the number and frequency of webmail interactions

   between the Plaintiff’s Servers and other third party servers, and the number and frequency of chat

   messaging interactions between the Plaintiff’s Servers and other third party servers, as well as

   information pertaining to the types of technology, hardware, software, programs, securities and

   processes being utilized by Plaintiff’s Servers.

          548.    This information and data revealed highly proprietary, sensitive, and confidential

   knowledge, including insight into Plaintiff’s and The Trump Organization’s contacts, client lists,

   business dealings, financial dealings, communications, future and current plans, techniques,

   patterns, methods, processes, and procedures, as well as identification of their corporate partners,

   political associates, clients, and vendors.

          549.    This proprietary, sensitive and confidential information, data and/or knowledge

   constitutes trade secrets within the meaning of 18 U.S.C. § 1839(3) where they constitute business

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   and/or political methods, techniques, processes, procedures and programs that are both protected

   from disclosure by the Plaintiff and derive significant economic value from not generally being

   known to or ascertainable by others, including the RICO Defendants, who were able to obtain

   insight and economic value from the unauthorized use, disclosure and misappropriation of such

   information.

          550.    The Plaintiff and The Trump Organization restricts access to their proprietary,

   sensitive and confidential information and data, including DNS data, even within their own

   personnel and prevents unauthorized access to such records by digital or electronic means.

          551.    The Plaintiff and The Trump Organization further protects against theft and

   disclosure of such information by third parties by the requirement of executed non-disclosure

   agreements prior to providing any such access.

          552.    The Plaintiff’s confidential records were misappropriated by Defendants within the

   meaning of 18 U.S.C. § 1839(5), when the Plaintiff’s confidential and proprietary records were

   acquired by the RICO Defendants, without the Plaintiff’s authorization and through Defendants’

   acts of espionage or other improper means conducted by electronic or other means.

          553.    Joffe, with assistance from, in coordination with, and at the direction of the other

   RICO Defendants, violated the Defend Trade Secrets Act, 18 U.S.C. § 1832(a)(1), by obtaining

   Plaintiff’s proprietary, sensitive and confidential information and data by fraud, artifice, and

   deception and, thereafter, stealing, appropriating, taking, carrying away, and concealing the theft

   of Plaintiff’s confidential records with intent to convert Plaintiff’s confidential records, which are

   related to products sold in interstate and foreign commerce, to Defendants’ own benefit, while

   knowing and intending that such misappropriation would injure the Plaintiff.

          554.    Clinton, the Clinton Campaign, the DNC, Perkins Coie, Sussman, Elias, and Fusion

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   GPS violated the Defend Trade Secrets Act, 18 U.S.C. § 1832(a)(5) by conspiring, assisting,

   aiding, and abetting Joffe in obtaining Plaintiff’s proprietary, sensitive and confidential

   information and data by fraud, artifice, and deception and, thereafter, stealing, appropriating,

   taking, carrying away, and concealing the theft of Plaintiff’s confidential records with intent to

   convert Plaintiff’s confidential records, which are related to products sold in interstate and foreign

   commerce, to Defendants’ own benefit, while knowing and intending that such misappropriation

   would injure the Plaintiff

              555.   Each of the RICO Defendants were aware of, and active participants and/or

   conspirators in, Joffe’s violation the Defend Trade Secrets Act, 18 U.S.C. § 1832, and each of the

   RICO Defendants committed at least one act in furtherance of this goal.

              556.   The RICO Defendants’ actions constitute theft of trade secrets and/or a conspiracy

   to steal trade secrets in violation of 18 U.S.C. § 1832(a)(5).

              557.   All of Defendants’ actions in violation of 18 U.S.C. § 1832 occurred after May 11,

   2016 and, therefore, qualify as predicate acts pursuant to the 2016 amendment federal RICO

   statute.

              Obstruction of Justice (18 U.S.C. § 1512)

              558.   The RICO Defendants, through and using the Enterprise, engaged in, and continues

   to engage in, a coordinated effort to destroy the Plaintiff’s political career and impede his ability

   to effectively govern as President of the United States. This coordinated effort amounts to a set of

   related predicate acts with similar purposes, results, and methods, which included acts in violation

   of 18 U.S.C. § 1512 (obstruction of justice).

              559.   On one or more occasions, the RICO Defendants, knowingly and deliberately

   provided falsified, altered and misleading records, including the White Papers and the Dossier, to

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   law enforcement officials and made false statements to law enforcement officials, including the

   FBI and CIA, with the intention of obstructing, impeding, influencing and/or impairing their

   investigations into alleged Russian collusion, and/or conspired with others to carry out these acts.

          560.    On September 19, 2016, Sussmann met with FBI officials in Washington D.C., at

   which time he, among other things: (i) made false statements to FBI officers, including that he was

   acting on behalf of any client; (ii) provided falsified, altered and/or misleading records, including

   the White Papers, to FBI officials; (iii) withheld and/or concealed pertinent information, including

   without limitation the true nature of the White Papers, his work with Neustar and Joffe, the falsity

   of the purported link between Trump Tower and Alfa Bank, and the existence of the Enterprise

   and its overarching conspiracy to create a false narrative of Trump-Russia collusion.

          561.    On September 19, 2016, Sussmann met with FBI officials in Washington D.C., at

   which time he, among other things: (i) made false statements to FBI officials, including that he

   was not acting on behalf of any client; (ii) knowingly provided falsified, altered and/or misleading

   records, materials and evidence, including (1) White Paper #1 AuditableV3, (2) White Paper

   Comments: Time Series Analysis of Recursive Queries, (3) a white paper drafted by Fusion GPS

   regarding a purported Trump-Alfa Bank connection, and (4) eight files containing falsified,

   altered, and/or curated data and information relating to Alfa Bank, Trump Tower, and the

   mail.trump-e-mail.com domain, to FBI officials; (iii) withheld and/or concealed pertinent

   information, including, without limitation, that he was acting on behalf of his clients, Clinton, the

   Clinton Campaign, the DNC; that he was perpetrating a fraudulent scheme, along with his cohorts,

   in furtherance of the Enterprise; the falsified, spoofed and/or misleading nature of the White Papers

   and the other documents that he was handing over; the true nature of his work with the RICO

   Defendants; the falsity of the purported link between Trump Tower and Alfa Bank,; and the

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   existence of the Enterprise and its overarching conspiracy to mislead law enforcement for the

   purpose of creating a false narrative concerning the purported Trump-Russia collusion.

          562.    Sussmann’s conduct in connection with his September 19, 2016 meeting with the

   FBI corruptly obstructed, influenced, and impeded and/or constituted an attempt to corruptly

   obstruct, influence or impede one or more official proceeding(s), namely the FBI’s Crossfire

   Hurricane investigation, the FBI’s full field investigation into the Trump-Alfa Bank connection,

   and/or other investigations by the FBI, the DOJ, the CIA, Congress, and/or the IG and therefore

   constituted a violation of 18 U.S.C. § 1512.

          563.    On October 2, 2016, Joffe contacted FBI Special Agent Tom Grasso via telephone,

   at which time he, among other things: (i) made false and misleading statements to SA Grasso,

   including statements regarding “information relating to communications between the Trump

   Campaign and some entity in Russia”; (ii) provided unlawfully obtained records, including an IP

   address of an individual affiliated with Alfa Bank; (iii) despite being a confidential human source,

   Joffe intentionally circumvented his handler and spoke with Grasso on the condition of anonymity,

   all for the purpose of adding credibility to the ‘circular reporting’ Joffe was carrying out with

   Sussman; (iv) withheld and/or concealed pertinent information, including, without limitation, that

   he was working with Clinton, the Clinton Campaign, the DNC, Perkins Coie, Sussmann, and

   Fusion GPS; that he was perpetrating a fraudulent scheme, along with his cohorts, in furtherance

   of the Enterprise; the true nature of his work with the RICO Defendants; the falsity of the purported

   link between Trump Tower and Alfa Bank,; and the existence of the Enterprise and its overarching

   conspiracy to mislead law enforcement for the purpose of creating a false narrative concerning the

   purported Trump-Russia collusion.

          564.    Joffe’s conduct in connection with his October 2, 2016 call with SA Grasso

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   corruptly obstructed, influenced, and impeded and/or constituted an attempt to obstruct, influence

   or impede the due administration of justice, and/or one or more official proceedings, namely

   investigations by the CIA, the FBI, Congress, the IG, and/or the DOJ and therefore constituted a

   violation of 18 U.S.C. § 1512.

          565.      On February 9, 2017, Sussmann met with CIA officials at a location outside of

   Washington D.C., at which time he, among other things: (i) made false statements to CIA officials,

   including that he was not representing a particular client; (ii) provided falsified, altered and/or

   misleading records, including updated White Papers and multiple data files containing purported

   DNS data, ranging from 2016 through early 2017, to CIA officials; (iii) withheld and/or concealed

   pertinent information, including, without limitation, that he was acting on behalf of his clients,

   Clinton, the Clinton Campaign, the DNC; that he was perpetrating fraudulent scheme, along with

   his cohorts, in furtherance of the Enterprise; the falsified, spoofed and/or misleading nature of the

   White Papers and the other documents that he was handing over; the true nature of his work with

   the RICO Defendants; the falsity of the purported link between Trump Tower and Alfa Bank,; and

   the existence of the Enterprise and its overarching conspiracy to mislead law enforcement for the

   purpose of creating a false narrative concerning the purported Trump-Russia collusion.

          566.      Sussmann’s conduct in connection with his February 9, 2017 meeting corruptly

   obstructed, influenced, and impeded and/or constituted an attempt to obstruct, influence or impede

   the due administration of justice, and/or one or more official proceedings, namely, investigations

   by the CIA, the FBI, Congress, the IG, and/or the DOJ and therefore constituted a violation of 18

   U.S.C. § 1512.

          567.      Sussmann’s actions on February 9, 2017 corruptly obstructed, influenced, and

   impeded and/or endeavored to obstruct, influence or impede the due administration of justice,

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   and/or one or more official proceedings, namely, ongoing investigations by the CIA, the FBI, the

   IG, and/or the DOJ and therefore constituted a violation of 18 U.S.C. § 1512.

           568.    The other RICO Defendants, Clinton, Clinton Campaign, DNC, Perkins Coie, and

   Elias, had a meeting of the minds, common intent, were aware of, and conspired with Sussmann

   in the commission of the above-mentioned violations of 18 U.S.C. § 1512, including, without

   limitation, his conduct in connection with his meeting with the FBI on September 19, 2016 and

   his meeting with the CIA on February 9, 2017, and each of the other RICO Defendants committed

   an overt act in furtherance of said violation(s), and the RICO Defendants conspired to commit the

   above-named acts in furtherance of the overarching conspiracy to denigrate the Plaintiff and to

   derail his political career.

           569.    Therefore, the actions of the RICO Defendants, Clinton, Clinton Campaign, DNC,

   Perkins Coie, and Elias, constituted a conspiracy to obstruct justice in violation of 18 U.S.C. §

   1512(k).

           570.    By virtue of the foregoing, Sussmann, and the other RICO Defendants, willfully,

   knowingly, deliberately and corruptly obstructed, influenced, and impeded and/or endeavored to

   obstruct, influence or impede the due administration of justice, and/or one or more official

   proceedings, including, but not limited to, Crossfire Hurricane and/or other investigations by the

   FBI, the CIA, the IG, and the DOJ.

           571.    In addition, the RICO Defendants, led by Fusion GPS, produced the fraudulent

   Steele Dossier, which contained falsified, misleading and inaccurate reporting about the alleged

   Trump-Russia connection, and which the RICO Defendants orchestrated to be fed to law

   enforcement, including without limitation the FBI and the DOJ, for the purpose of corruptly

   obstructing, influenced, and impeding and/or attempting to obstruct, influence or impede one or

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   more official proceedings, including, but not limited to, Crossfire Hurricane, the full field

   investigation of the Trump-Alfa Bank allegations and/or other investigations by the FBI, the CIA,

   Congress, the IG, and the DOJ, in violation of 18 U.S.C. § 1512.

          572.     In addition, the RICO Defendants conspired with Danchenko in connection with

   his conduct in making various false statements and misrepresentations to the FBI in violation of

   18 U.S.C. § 1512, including, but not limited to:

                 a. On June 15, 2017, Danchenko stated, at the direction of and in coordination with

                    the RICO Defendants, that he had not spoken with Dolan about any material

                    contained in the Dossier. This statement was patently false, as Danchenko used

                    the information provided by Dolan as a source for allegations made in the Dossier.

                 b. On March 16, 2017, May 18, 2017, October 24, 2017, and November 16, 2017,

                    Danchenko, at the direction of and in coordination with the RICO Defendants,

                    directly lied about the sources relied upon in compiling the Dossier.

          573.     The RICO Defendants had a meeting of the minds, common intent, were aware of,

   and conspired with Orbis Ltd., Steele, and Danchenko in connection with the commission of the

   above-mentioned violations of 18 U.S.C. § 1512, including, without limitation, the scheme to

   manufacture and disseminate the Steele Dossier and Danchenko’s various false statements to law

   enforcement, and each of the other RICO Defendants committed an overt act in furtherance of said

   violations, and the RICO Defendants conspired to commit the above-named acts in furtherance of

   the overarching conspiracy to denigrate the Plaintiff and to derail his political career.

          574.     Therefore, the actions of the RICO Defendants constituted a conspiracy to obstruct

   justice in violation of 18 U.S.C. § 1512(k).

          575.     Based on the foregoing, the RICO Defendants’ actions constituted at least two

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   separate violations of 18 U.S.C. § 1512.

          Wire Fraud (18 U.S.C. § 1343)

          576.    A scheme to defraud includes any plan to deprive a person of something of value by

   trick, deceit, chicanery or overreaching, including through affirmative misrepresentations, material

   omissions of fact, or any deceptive or dishonest behavior.

          577.    As described herein, the Enterprise engaged in a calculated scheme to defraud the

   news media, law enforcement and counterintelligence officials for the purpose of proliferating a

   false narrative of collusion between Trump and Russia.

          578.    Plaintiff was the intended target of the fraudulent scheme; in committing the acts

   of wire fraud described infra, the RICO Defendants sought to mislead others (journalists, reporters,

   law enforcement officials, etc.) as a means of depriving Plaintiff of tangible and/or intangible

   property, including, without limitation, causing loss of political and/or business reputation, loss of

   business opportunities, loss of competitive position, and/or loss of business revenue, loss of

   goodwill, loss of trade secrets, and/or loss of contractual relations.

          579.    As a direct and proximate result of the RICO Defendants’ actions, Plaintiff did in

   fact suffer said injuries and/or deprivation of said property.

          580.    As part of and in furtherance of the scheme, the RICO Defendants made repeated

   use of, or caused their agents, representatives, and/or subordinates to repeatedly make use of, the

   interstate wires to transmit various documents, communications, or payments, including with

   knowledge that the use of wires would follow in the ordinary course of business or where such use

   could be reasonably foreseen.

          581.    Each separate use of the interstate wire facilities employed by the RICO Defendants

   was related, had similar intended purposes, involved similar participants and/or targets, utilized

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   similar techniques and methods of execution, and negatively affected the same victim – the

   Plaintiff.

           582.     Many of the precise dates of the RICO Defendants’ uses of the interstate wire

   facilities have been, and continue to be, concealed by the RICO Defendants and therefore are not

   knowable at the present time. Indeed, the Enterprise was intentionally devised in such a manner

   that would fraudulently conceal relevant communications made in furtherance of these types of

   predicate acts, including, but not limited to, the RICO Defendants’ abuse of attorney-client

   privilege, the entering into of numerous confidentiality agreements amongst all parties, and the

   misreporting of the true nature of the parties’ arrangement to federal authorities and agencies

   including the FEC. As such, knowledge of the Enterprise fraudulent acts is peculiarly within the

   RICO Defendants’ control.278

           583.     In spite of his diligent efforts, Plaintiff does not, and cannot, know the full extent

   of the Enterprise’s fraudulent scheme. At a minimum, however, the RICO Defendants’ use of

   interstate wire facilities to perpetuate their unlawful scheme included the following:

                  a. May 14, 2016 e-mails between Fusion GPS (Fritsch and Berkowitz) and Franklin
                     Foer, journalist for Slate, concerning the purported Russian connections of several
                     of Trump’s campaign associates, including Carter Page and Rick Burt.
                  b. June 27-28, 2016 e-mails from Fritsch to Foer attempting to insinuate that the
                     Trump Campaign was colluding with Russia.
                  c. July 26, 2016 e-mails from Fritsch to Jay Solomon, journalist with the Wall Street
                     Journal, discussing a senior Trump advisors’ supposed meeting with former KGB
                     official with close ties to Putin, among other false allegations of Russia collusion;

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      Cf. Hill v. Morehouse Med. Assocs., Inc., 2003 WL 22019936, at *3 (11th Cir. Aug. 15, 2003)
   (“Rule 9(b)’s heightened pleading standard may be applied less stringently. . . when specific
   factual information about . . . fraud is peculiarly within [a] defendant’s knowledge or control” as
   long the pleading party accompanies its legal theory with factual allegations that make the
   “theoretically viable claim plausible.”); Omnipol, A.S. v. Worrell, 421 F. Supp. 3d 1321, 1344
   (M.D. Fla. 2019) (“Rule 9(b)’s pleading standard may be relaxed when evidence of the fraud is
   exclusively within the defendant’s possession.”).

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               including one e-mail when Fritsch wrote to Solomon that Carter Page “is neither
               confirming or denying”. that he should “call adam Schiff. Or difi for that matter.
               I bet they are concerned about what page was doing other than giving a speech
               over 3 days in Moscow.”
            d. August 16, 2016 wire payment from the DNC to Perkins Coie in the amount of
               $66,500, which was funneled through Perkins Coie to Fusion GPS in order to
               conceal the relationship between the DNC and Perkins Coie.
            e. From August 2016 through November 2016, wire payments totaling $777,907.97
               paid by the DNC to Perkins Coie and subsequently disbursed by Perkins Coie to
               Fusion GPS.
            f. From August 2016 through November 2016, wire payments totaling $180,000
               paid by the Clinton Campaign to Perkins Coie and subsequently disbursed by
               Perkins Coie to Fusion GPS.
            g. August 20, 2016 e-mails from Joffe to his researchers asking that the researchers
               spoof communications between e-mail address to make them “appear to
               communicate with each other”; to ensure that the fake “inference” was believable
               enough that “Hillary's opposition research and whatever professional
               gov[ernments] and investigative journalists are also digging [would] come up with
               the same things[.]”; and stating that “[b]eing able to provide evidence of
               *anything* that shows an attempt to behave badly in relation to this, the VIPs
               would be happy. They're looking for a true story that could be used as the basis
               for closer examination.”
            h. August 21, 2016 e-mail from Joffe to researchers urging them to push forward
               with their anti-Trump research, which he claimed would “give the base of a very
               useful narrative”; and admitting that the ‘narrative’ that they were trying to
               prove—a connection between Trump and Alfa Bank—was merely a “red herring”
               with no factual basis that should be “ignored.”
            i. September 13, 2016 e-mail from Joffe to researchers, attaching falsified ‘white
               papers’ that he, Sussmann and Fusion GPS had been working, and stating: “Please
               read as if you had no prior knowledge or involvement, and you were handed this
               document as a security expert (NOT a DNS expert) and were asked: Is this
               plausible as an explanation?' NOT to be able to say that this is, without doubt, fact,
               but to merely be plausible. Do NOT spend more than a short while on this (If you
               spend more than an hour you have failed the assignment). Hopefully less. :).”
            j. September 15, 2016 e-mail from Elias to Sullivan, Mook, Podesta and Palmieri
               with the subject line “Alfa Bank article.”
            k. September 18, 2016 text message from Sussmann to Jim Baker to schedule
               meeting with FBI and falsely stating that Sussmann is “coming on my own – no
               on behalf of a client or company – want to help the Bureau.”
            l. October 2, 2016 phone call from Joffe to FBI Special Agent Grasso wherein Joffe
               circumvented his FBI handler to provide “information relating to communications

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               between the Trump Campaign and some entity in Russia,” including an IP address,
               as an anonymous source.
            m. September 27, 2016 e-mail from Sussmann to Eric Litchtblau, reporter with The
               New York Times, disclosing an IP address and DNS data, purportedly connected
               to the Trump-Alfa Bank ‘back channel.’
            n. September 19, 2016, e-mail from Fusion GPS (Jake Berkowitz) to Matthew Mosk,
               CBS News, sending him details and information concerning the Russian Collusion
               story.
            o. October 18, 2016 e-mail from Fritsch to Eric Lichtblau, The New York Times—
               who had also been in frequent communication with Sussmann, with the subject
               regarding Alfa and Trump—discussing Donald J. Trump and the Alfa Bank.
            p. October 18, 2016 e-mails from Fritsch to Mark Hosenball of Reuters, stating,
               among other things, “meantime, do the f-cking alfa bank secret comms story. It is
               hugely important. Forget the WikiLeaks sideshow”.
            q. October 2016 phone call between Mook and Clinton, when Clinton authorizes
               Mook to release the Trump-Alfa Bank allegations—which she knew to be false
               and defamatory—to push it to the media, including to Slate.
            r. October 2016 e-mail communication from Clinton Campaign staffer to Franklin
               Foer with Alfa Bank information and directing the release of a Slate article, as
               expressly authorized by top ranking officials of the Clinton Campaign, including
               Clinton, Mook, Sullivan and Podesta, as well as Perkins Coie, and Elias,
               Sussmann.
            s. October 30, 2016 forwarded tweet from Fritsch to Franklin Foer, Slate, about
               Comey possessing explosive information about Trump’s ties to Russia and stating
               “time to hurry.”
            t. October 30, 2016 e-mail from Fritsch to Michael Isikoff, Yahoo News¸stating “Big
               story on the trump Alfa server moving early pm. OTR. [United States
               Government] absolutely investigating. Campaign will light it up I imagine.”
            u. October 31, 2016 electronic campaign statement from Jake Sullivan stating:
               “[T]his could be the most direct link yet between Donald Trump and Moscow.
               Computer scientists have apparently uncovered a covert server linking the Trump
               Organization to a Russian-based bank. This secret hotline may be the key to
               unlocking the mystery of Trump's ties to Russia. It certainly seems the Trump
               Organization felt it had something to hide, given that it apparently took steps to
               conceal the link when it was discovered by journalists. This line of communication
               may help explain Trump's bizarre adoration of Vladimir Putin and endorsement of
               so many pro-Kremlin positions throughout this campaign. It raises even more
               troubling questions in light of Russia's masterminding of hacking efforts that are
               clearly intended to hurt Hillary Clinton’s campaign. We can only assume that
               federal authorities will now explore this direct connection between Trump and
               Russia as part of their existing probe into Russia's meddling in our elections.”

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            v. October 31, 2016 tweet from Hillary Clinton re-publishing Sullivan’s above
               statement and adding: “Computer scientists have apparently uncovered a covert
               server linking the Trump Organization to a Russian-based bank.”
            w. October 31, 2016 tweet from Hillary Clinton stating “time for Trump to answer
               serious questions about his ties to Russia” and including a graphic stating; “1.
               Donald Trump has a secret server. (Yes, Donald Trump.) 2. It was set up to
               communicate privately with a Putin-tied Russian bank called Alfa Bank. 3. When
               a reporter asked about it, they shut it down. 4. One week later, they created a new
               server with a different name for the same purpose.”
            x. October 31, 2016 Skype call between Steele, Simpson and David Corn, Mother
               Jones, providing Trump-Alfa Bank info to Corn; per Steele, the purpose of the
               meeting was that "he “wanted [Corn] to publish that the US Government was
               investigating Trump.”
            y. October 11, 2016 television statements from Podesta stating: “I’ve been involved
               in politics for nearly five decades. This definitely is the first campaign that I’ve
               been involved in which I’ve had to tangle with Russian intelligence agencies who
               seem to be doing everything they can on behalf of our opponent.”; and “I think it
               is a reasonable assumption to, or at least a reasonable conclusion, that Mr. Stone
               had advance warning, and the Trump campaign had advance warning about what
               Assange was going to do.”
            z. July 18, 2017 e-mail from Joffe to Neustar employee, Steve DeJong, stating “I
               have 4 jobs that look specifically for [T]rump data” and included a list four Trump
               and Alfa Bank related queries.”
            aa. October 2017 tweet from Podesta accusing Donald J. Trump of “running a “big lie
                campaign” centered on the investigation into Russian meddling in the U.S.
                election.”
            bb. April 16, 2018 tweet from Reines stating “yes collusion, yes collusion, yes
                collusion” in response to an article titled: ‘Breaking: Trump puts the brake on new
                Russian sanctions, reversing Haley’s announcement.”
            cc. October 2018 e-mails and/or other form of electronic submissions from Joffe to
                Daniel Jones with data for 37 million DNS lookups.
            dd. May 10, 2019 television appearance on MSNBC by (former DNC chairperson)
                Wasserman-Schultz stating there are “clear indications” that Donald J. Trump
                colluded with Russia and further stating: “You know, what’s so disturbing is that
                Donald Trump is so lacking in confidence about his ability to actually get elected
                without the help of a foreign power, and particularly a foreign adversary, that they
                will go to any lengths and that he will instruct and allow his colleagues and allies
                to go to any lengths to be able to secure his success in an election.”
            ee. October 2019 podcast interview on “CampaignHQ” by Clinton, stating: ““I don’t
                know what Putin has on him, whether it’s both personal and financial. I assume it
                is.”

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                 ff. June 16, 2021 television appearance on MSNBC’s Morning Joe show stating: “We
                     don’t have Trump as spokesperson for Putin, anymore.”; and “[a]fter disastrous
                     Trump presidency, in which he gave Putin a green light to do whatever he wanted
                     to do, once Trump was elected, of course...”
                 gg. February 16, 2022 tweet from Clinton stating: “Trump & Fox are desperately
                     spinning up a fake scandal to distract from his real ones. So it's a day that ends in
                     Y. The more his misdeeds are exposed, the more they lie. For those interested in
                     reality, here's a good debunking of their latest nonsense.”


          584.     Each of the foregoing transmissions listed above constituted the transmittal by

   means of wire communication in interstate commerce of signals, sounds or writings for the purpose

   of executing or attempting to execute the predicate acts or the scheme to defraud described herein.

          585.     In sending the foregoing transmissions, the RICO Defendants sought to deceive

   and defraud the respective recipients, including journalists, reporters, media contacts, law

   enforcement officials, and counterintelligence officials, as applicable, and intended for the

   respective recipients to rely on their false, misleading and/or fraudulent misrepresentations.

          586.     With regard to the false and fraudulent transmissions sent to journalists, reporters

   and/or media contacts, the RICO Defendants intended to deceive the journalists, reporters and/or

   media contacts so that they would publish false, defamatory, and inaccurate articles, stories, and/or

   news pieces about Plaintiff and his alleged collusion with Russia; the above-mentioned journalists,

   reporters, and media contacts did in fact rely upon the RICO Defendants’ fraudulent

   misrepresentations in publishing false, defamatory, and inaccurate articles, stories, and/or news

   pieces about Plaintiff and his alleged collusion with Russia.

          587.     With regard to the false and fraudulent transmissions sent to law enforcement

   officials and/or counterintelligence officials, the RICO Defendants intended to deceive the law

   enforcement officials and/or counterintelligence officials to provoke them into launching one or

   more public investigation(s) into Plaintiff and his alleged collusion with Russia; the above-

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   mentioned law enforcement officials and/or counterintelligence officials did in fact rely upon the

   RICO Defendants’ fraudulent misrepresentations in launching one or more public investigation(s)

   into Plaintiff and his alleged collusion with Russia, including the FBI’s Crossfire Hurricane

   investigation, the FBI’s full field investigation into the allegations contained in the Steele Dossier,

   the FBI’s full field investigation into the allegations regarding the Trump-Alfa Bank connection,

   the CIA’s investigation relating to Trump-Russia allegations, congressional investigations, and the

   Special Counsel investigations.

          588.    Plaintiff was injured as a direct and proximate result of the Enterprise’s scheme to

   defraud and by the reliance of the journalists, reporters, media contacts, law enforcement officials

   and/or counterintelligence officials on the RICO Defendants’ fraudulent misrepresentation.

                                          Timeliness of Claims

          589.    Despite his exercise of reasonable diligence, Plaintiff was unable to discover his

   injury and/or the fact that it was caused by a RICO violation(s) until December 9, 2019, at the

   earliest, upon the release of the Office of the Inspector General’s report entitled Review of Four

   FISA Applications and Other Aspects of the FBI’s Crossfire Hurricane Investigations on

   December 9, 2019, which exposed, in part, the RICO Defendants’ role in defrauding the media

   and intentionally misleading the FBI into commencing the Crossfire Hurricane investigation.

          590.    In addition, to the extent necessary, suspension, tolling and/or extension of the

   applicable statute of limitations is warranted for the reasons set forth below, without limitation.

          Fraudulent Concealment

          591.    The RICO Defendants actively and fraudulently concealed the existence of the

   Enterprise and the nature of their illicit actions by organizing the Enterprise in a such a manner

   that would conceal its existence and the nature of the RICO Defendants’ illicit conduct.

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           592.     The RICO Defendants intentionally exploited attorney-client privilege as a means

   of obscuring their activities and rendering all of their communications confidential and privileged.

           593.     According to Elias, Fusion GPS was intentionally walled-off from the Clinton

   Campaign and the DNC for “legal reasons: If Fusion’s communications were with a lawyer, they

   could be considered privileged and kept confidential.”279

           594.     Given Perkins Coie’s role as the “gatekeeper” amongst the Clinton Campaign, the

   DNC, Fusion GPS, and Joffe, the RICO Defendants have attempted to construct an organizational

   framework for the Enterprise that protects all of their communications under the pretense of

   attorney-client privilege.280

           595.     Indeed, the RICO Defendants have consistently argued that any and all of their

   communications are privileged, even those between parties that are seemingly unrelated and not

   in privity.281

           596.     To further conceal the existence of the Enterprise, the Clinton Campaign and the

   DNC funneled payments to Fusion GPS, through Perkins Coie, for the purpose of intentionally

   disguising the relationship between the RICO Defendants.

                  a. For example, on August 16, 2016, the DNC made a $66,500 payment to Perkins

                     Coie; the DNC has acknowledged that this was the first of many such payments

                     that were paid by the DNC and the Clinton Campaign, through Perkins Coie, to




   279
       Id.
   280
       Elias Testimony at 48 (“I was the sole. I was the – I was the gatekeeper. But there were – but
   there were instances in which there were some interactions otherwise. But that – but I was the
   gatekeeper.”); Sullivan Testimony at 56 (“Q: Were you in meeting in which Mr. Elias briefed
   you on information that was of an opposition research nature? A: I was.”).
   281
       See generally, U.S. v. Sussmann.

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                    Fusion GPS.282

                 b. Despite being earmarked as payments for Fusion GPS, the Clinton Campaign and

                    the DNC reported the payments as being for “legal and compliance consulting.”283

                        i. The FEC found “probable cause to believe that the Clinton Campaign and

                           the DNC “violated 52 U.S.C. § 30104(b)(5)(A) and 11 C.F.R. §

                           104.3(b)(4)(i) by misreporting the purpose” of the disbursements to Fusion

                           GPS.284

                       ii. On February 22, 2022, the Clinton Campaign and the DNC respectively

                           entered into Conciliation Agreements with the FEC to resolve these

                           violations.285

                       iii. As set forth in its Conciliation Agreement, the Clinton Campaign agreed

                           to pay a civil penalty to the FEC in the amount of $8,000 pursuant to 52

                           U.S.C. 30109(a)(5)(A) and to not violate U.S.C. § 30104(b)(5)(A) or 11

                           C.F.R. § 104.3(b)(4)(i) in the future; similarly, the DNC agreed to pay a

                           civil penalty to the FEC in the amount of $105,000 pursuant to 52 U.S.C.

                           30109(a)(5)(A) and to not violate U.S.C. § 30104(b)(5)(A) or 11 C.F.R. §

                           104.3(b)(4)(i) in the future.286

          597.     Elias has even admitted that the Clinton Campaign, the DNC and Perkins Coie




   282
       MUR 7291 DNC Resp. at 2 n.2; 8.
   283
       Second General Counsel’s Report at 2-3, MUR 7291 & 7449, In the Matter of DNC Services
   Corp./DNC, et al. (hereinafter, “FEC Second Gen. Counsel’s Rpt.”).
   284
       See generally Clinton Campaign Conciliation Agreement and DNC Conciliation Agreement.
   285
       See generally Clinton Campaign Conciliation Agreement and DNC Conciliation Agreement.
   286
       Id.

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   intentionally sought to conceal their relationship with Fusion GPS hidden from the public.287

           598.       In addition, the RICO Defendants, on numerous occasions, made false statements

   to law enforcement officials for the purpose of covering-up their illicit actions.

           599.       For example, on September 18, 2016 (via text) and September 19, 2016 (in-person),

   Sussmann told FBI General Counsel, Jim Baker, that his meeting with Baker was not on behalf of

   any client. As a result of that lie, there was a “close hold” placed on Sussmann as a source, and his

   identity was kept confidential from all except a chosen few within the FBI. Had Sussmann been

   honest about appearing on behalf of any client, his identity would not have been protected and his

   actions would have been discoverable at a much earlier time.288

           600.       Due to his fraudulent misrepresentation, it was not publicly known that Sussmann

   went to the FBI until the filing of the Sussmann Indictment on September 16, 2021. Even several

   of the FBI agents who testified at his trial stated that they did not know Sussmann’s identity until

   after the indictment was filed.

           601.       Similarly, when Joffe fed false information to Special Agent Grasso (“SA Grasso”)

   with the FBI, he directed SA Grasso “not to disclose his identity to other people in the Bureau.”289

           602.       Joffe also intentionally neglected to disclose to SA Grasso that he was working in

   coordination with the Clinton Campaign, the DNC, and Perkins Coie. 290

           603.       Due to Joffe’s misrepresentation and omission, SA Grasso agreed to keep Joffe’s

   identity secret.



   287
       Elias Testimony at 643:21-24 (“Q: [Y]ou didn’t want the public to know that Fusion GPS was
   working with the campaign. Is that fair? A: Sure.”).
   288
       See generally, Gaynor Testimony.
   289
       Id. at tr. 2167:19-23.
   290
       Id. at tr. 2171:9-15.

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              604.   In addition, many of the RICO Defendants have made false or misleading

   statements, often times under oath, in the course of congressional investigations, law enforcement

   and/or counter-intelligence investigations, and civil or criminal proceedings, all for the purpose of

   concealing their wrongdoing.

              605.   Finally, given the subversive and fraudulent nature of the RICO Defendants’

   actions—including widespread fraud, obstruction of justice, and cyber-hacking—the Enterprise’s

   conduct is self-concealing by nature and not susceptible to discovery by Plaintiff or other third

   parties.

              606.   In spite of the same, Plaintiff made significant efforts to investigate the Enterprise’s

   conduct and exercised due diligence to the extent permissible by law.

              607.   For instance, among other things, Plaintiff has frequently raised public awareness

   of the Defendants’ illicit scheme and has publicly called for their misconduct to be investigated by

   the proper authorities.

              Statutory Tolling

              608.   In Agency Holding Corp. v. Malley-Duff & Assoc., 483 U.S. 143 (1987), the

   Supreme Court noted that “even a cursory comparison of the two statutes reveals that the civil

   action provision of RICO was patterned after the Clayton Act” and affirmed that the “4-year statute

   of limitations for Clayton Act actions … [is] the most appropriate limitations period for RICO

   actions.”291

              609.   When a statute of limitations is adopted in such a manner, the tolling and suspension

   provisions which are part of that statute must likewise be applied. Indeed, the Supreme Court has


   291
      Agency Holding Corp. v. Malley-Duff & Assoc., 483 U.S. 143, 156 (1987); see also 15 U.S.C.
   § 15.

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   expressly held that “[a]ny period of limitation . . . is understood fully only in the context of the

   various circumstances that suspend it from running against a particular cause of action.”292

          610.       Accordingly, given the Supreme Court’s adoption of the Clayton Act’s four-year

   statute of limitations for civil RICO claims, the tolling and suspension provision of the Clayton

   Act, set forth in 15 U.S.C. § 16(i), likewise applies to civil RICO claims.293

          611.       The following proceedings, without limitation, qualify as “civil or criminal

   proceedings [] instituted by the United States,” as defined in 15 U.S.C. § 16(i), applicable to the

   instant action:

                 a. In the Matter of DNC Services Corp./Democratic National Committee and William
                    Q. Derrough in his official capacity as treasurer; Hillary for America and
                    Elizabeth Jones in her official capacity as treasurer; Perkins Coie LLP; Marc
                    Elias; Fusion GPS; Christopher Steele, Federal Election Commission, MURs
                    7291 and 7449 (July 23, 2019);
                 b. Investigation of Special Counsel John Durham, pursuant to 28 U.S.C. §§ 509,5 10,
                    and 515, Office of the Attorney General Order No. 4878-2020 (December 19,
                    2020);
                 c. United States v. Kevin Clinesmith, case no. 1:20-cr-00165-JEB, United States
                    District Court, District of Columbia (August 14, 2020);
                 d. United States v. Michael Sussmann, case no. 1:21-cr-00582-CRC, United States
                    District Court, District of Columbia (September 16, 2021);
                 e. United States v. Igor Danchenko, case no. 1:21-cr-00245-AJT, United States
                    District Court, Eastern District of Virginia (Nov. 3, 2021);
          612.       As to each of the above “civil or criminal proceedings,” the running of the



   292
       Johnson v. Railway Express Agency, Inc., 421 U.S. 454, 463 (1975); see also West v.
   Conrail, 481 U.S. 35 (1987); Bd. of Regents v. Tomanio, 446 U.S. 478 (1980).
   293
       See, e.g., Pension Fund Mid Jersey Trucking Industry v. Omni Funding, 687 F.Supp. 962, 965
   (D.N.J., June 28, 1988) (“I conclude that the tolling provisions of the Clayton Act are applicable
   under RICO.”); Gianelli v. Schoenfeld, 2021 WL 4690724, at *6 (E.D. Cal. Oct. 7, 2021) (“The
   court is willing to assume . . . that the Clayton Act’s tolling provision applies to RICO claims.”);
   Pres. Petrified Forrest v. Renzi, 2014 WL 530574, at *3-4 (D. Ariz. Feb. 12, 2013) (“



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   applicable statute of limitations was suspended as of the commencement of said proceeding and

   remained suspended “during the pendency thereof and for one year after.” Id.

                                                Damages
          613.    The Plaintiff has been injured in his business and property as a direct and proximate

   result of Defendants’ violation of 18 U.S.C. § 1962(c).

          614.    As a direct and proximate result of the RICO Defendants’ racketeering activity

   described herein, numerous unfounded investigations, including the FBI’s Crossfire Hurricane

   investigation and its full field Alfa Bank investigation, numerous congressional investigations, and

   Special Counsel investigations were commenced; countless false, damaging, and defamatory

   articles and media stories of all types (televisions, radio, internet, etc.) were published, resulting

   in the widespread dissemination of false, damaging and defamatory accusations of Plaintiff’s

   purported collusion with Russia which became years-long headline story that irreparable, unjustly

   and permanently tarnished Plaintiff’s political reputation.

          615.    As a result of the foregoing, Plaintiff has been injured in his business and property

   and has incurred and will continue to incur, significant damages, losses, and deprivation of tangible

   and intangible property, including but not limited to loss of political and/or business reputation,

   loss of business opportunities, loss of competitive position, loss of business revenue, loss of

   goodwill, loss of trade secrets, and/or loss of contractual relations, and has suffered actual,

   compensatory, special, incidental, and consequential damages in addition to costs of defense and

   attorneys’ fees.

          616.    Among other things, the Plaintiff was forced to incur expenses in an amount to be

   determined at trial, but known to be in excess of twenty-four million dollars ($24,000,000) and

   continuing to accrue, in the form of defense costs, legal fees, and related expenses incurred in


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   connection with his effort to defend against the RICO Defendants’ actions and the various federal

   investigations and/or official proceedings which arose therefrom, in addition to the loss of existing

   and future business opportunities for himself, the Trump Campaign, and the Trump Organization

   LLC.

          617.    All of these injuries were sustained within, and were the result of conduct occurring

   within, the United States.

          618.    The Plaintiff is entitled to recover, pursuant to Title 18 United States Code

   §1964(c), treble damages in the amount to be determined by offer of proof at time of trial. The

   Plaintiff is also entitled to recover attorneys' fees and costs of this litigation, as well as damages

   arising from lost profits and/or lost business opportunities attributable to the activities engaged in

   by defendants committed in furtherance of the Enterprise.

          WHEREFORE, the Plaintiff, Donald J. Trump, respectfully requests that this Court enter

   a Judgment for Donald J. Trump and against the Defendants, Hillary Clinton, HFACC, Inc., the

   Democratic National Committee, Perkins Coie, LLP, Michael Sussmann, Marc Elias, Fusion GPS,

   and Rodney Joffe for damages, including compensatory and treble damages, costs, attorneys’ fees,

   and such further and other relief as this honorable Court may deem just and proper.



                                             Count II
                                        RICO Conspiracy
                                      (18 U.S.C. § 1962(D))
    (Against Clinton, Clinton Campaign, DNC, Perkins Coie, Sussmann, Dolan, Sullivan, Podesta,
    Mook, Reines, Elias, Fusion GPS, Simpson, Fritsch, Nellie Ohr, Bruce Ohr, Orbis Ltd., Steele,
                   Danchenko, Neustar, Inc., Neustar Security Services, and Joffe)

          619.    The Plaintiff avers the allegations contained in the preceding paragraphs and

   incorporates them in this count, as if set forth at length herein.


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          620.    Defendants, Clinton, the Clinton Campaign, DNC, Perkins Coie, Sussmann, Dolan,

   Sullivan, Podesta, Mook, Reines, Elias, Fusion GPS, Simpson, Fritsch, Nellie Ohr, Bruce Ohr,

   Orbis Ltd., Steele, Danchenko, Neustar, Inc., Neustar Security Services, and Joffe (the “RICO

   Conspiracy Defendants”), are all “persons” within the meaning of 18 U.S.C. § 1961(3).

          621.    Each of the RICO Conspiracy Defendants agreed to accomplish the unlawful plan

   of the Enterprise through a course of racketeering activity, including, but not limited to, theft of

   trade secrets (18 U.S.C. § 1832), obstruction of justice (18 U.S.C. § 1512), and wire fraud (18

   U.S.C. § 1343).

          622.    Each of the RICO Conspiracy Defendants agreed to overall objective of the

   Enterprise, namely to corruptly and wrongfully harm the Plaintiff’s political reputation, damage

   his electability for the 2016 Presidential Election and subsequent elections, impede his ability to

   effectively govern, and otherwise sabotaging his political career through deceptive, criminal and

   fraudulent means, including, but not limited to, falsely implicating the Plaintiff, the Trump

   Campaign, and the Trump Administration as colluding with Russia. In the alternative, each of the

   RICO Conspiracy Defendants agreed with at least one of the other RICO Conspiracy Defendants

   to commit two predicate acts in furtherance of the Enterprise’s conspiracy.

          623.    Each of the RICO Conspiracy Defendants engaged in all, or significant portions of,

   the racketeering acts alleged in this Complaint, possessed knowledge of at least the general

   contours of the conspiracy, and acted with the intent to further and/or facilitate the conduct of the

   Enterprise.

          624.    Each Defendant knew about and agreed to facilitate the Enterprise by way of the

   acts in which he or she engaged as alleged herein and/or through explicit agreement amongst some

   or all of the RICO Conspiracy Defendants.

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          625.    Further evidence of an agreement among the Defendants is particularly within the

   knowledge and control of each of the RICO Conspiracy Defendants.

          626.    Each of the RICO Conspiracy Defendants was aware of the existence of the

   Enterprise; agreed to the overall objective of the conspiracy; and knowingly furthered the conduct

   of the Enterprise, including the predicate acts of theft of trade secrets (18 U.S.C. § 1832),

   obstruction of justice (18 U.S.C. § 1512), and wire fraud (18 U.S.C. § 1343), and they knew that

   the predicate acts were part of such racketeering activity, and the participation and agreement of

   each of them was necessary to allow the commission of this pattern racketeering activity.

          627.    Each of the RICO Conspiracy Defendants knew about and agreed to facilitate the

   Enterprise’s scheme to harm the Plaintiff’s political career, tarnish his electability, and undermine

   his ability to effectively govern as the President of the United States through the wrongful acts

   identified herein. It was part of the conspiracy that the RICO Conspiracy Defendants would

   commit a pattern of racketeering activity in the conduct of the affairs of the enterprise, including

   the acts of racketeering as set forth herein.

          628.    The RICO Conspiracy Defendants’ conduct constitutes conspiracy to violate 18

   U.S.C. § 1962(c), in violation of 18 U.S.C. § 1962(d).

          629.    No RICO Conspiracy Defendant has withdrawn, or otherwise dissociated itself,

   from the conspiracy at issue or the other conspirators.

          630.    As a direct and proximate result of the RICO Conspiracy Defendants’ racketeering

   activity described herein, numerous unfounded investigations, including the FBI’s Crossfire

   Hurricane investigation and its full field Alfa Bank investigation, numerous congressional

   investigations, and Special Counsel investigations were commenced; countless false, damaging,

   and defamatory articles and media stories of all types (televisions, radio, internet, etc.) were

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   published, resulting in the widespread dissemination of false, damaging and defamatory

   accusations of Plaintiff’s purported collusion with Russia which became years-long headline story

   that irreparable, unjustly and permanently tarnished Plaintiff’s political reputation.

           631.    As a result of the foregoing, Plaintiff has been injured in his business and property

   and has incurred and will continue to incur, significant damages, losses, and deprivation of tangible

   and intangible property, including but not limited to loss of political and/or business reputation,

   loss of business opportunities, loss of competitive position, loss of business revenue, loss of

   goodwill, loss of trade secrets, and/or loss of contractual relations, and has suffered actual,

   compensatory, special, incidental, and consequential damages in addition to costs of defense and

   attorneys’ fees.

           632.    Among other things, the Plaintiff was forced to incur expenses in an amount to be

   determined at trial, but known to be in excess of twenty-four million dollars ($24,000,000) and

   continuing to accrue, in the form of defense costs, legal fees, and related expenses incurred in

   connection with his effort to defend against the RICO Conspiracy Defendants’ actions and the

   various federal investigations and/or official proceedings which arose therefrom, in addition to the

   loss of existing and future business opportunities for himself, the Trump Campaign, and the Trump

   Organization LLC.

           633.    All of these injuries were sustained within, and were the result of conduct occurring

   within, the United States. The Plaintiff is entitled to recover, pursuant to Title 18 United States

   Code §1964(c), treble damages in the amount to be determined by offer of proof at time of trial.

   The Plaintiff is also entitled to recover attorneys' fees and costs of this litigation, as well as damages

   arising from lost profits and/or lost business opportunities attributable to the activities engaged in

   by defendants committed in furtherance of the Enterprise.

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          WHEREFORE, the Plaintiff, Donald J. Trump, respectfully requests that this Court enter

   a Judgment for Donald J. Trump and against the Defendants, Michael Sussmann, Perkins Coie,

   LLP, Hillary R. Clinton, HFACC, Inc., the Democratic National Committee, the DNC Services

   Corporation, Charles Halliday Dolan, Jr., Jake Sullivan, John Podesta, Perkins Coie, LLP, Marc

   Elias, Fusion GPS, Glenn Simpson, Peter Fritsch, Nellie Ohr, Bruce Ohr, Orbis Business

   Intelligence, Ltd., Christopher Steele, Igor Danchenko, Neustar, Inc., Rodney Joffe, Robert Mook,

   Philippe Reines, James Comey, Peter Strzok, Lisa Page, Kevin Clinesmith, Andrew McCabe, John

   Does 1 through 10, said names being fictious and unknown persons, and ABC Corporations 1

   through 10, said names being fictitious and unknown entities, for damages, including

   compensatory and treble damages, costs, attorneys’ fees, and such further and other relief as this

   Court may deem just and proper.

                                               Count III
                                          Injurious Falsehood
             (Against Clinton, Sullivan, Schultz, Schiff, Danchenko, Sussmann, and Steele)

          634.    The Plaintiff avers the allegations contained in the preceding paragraphs and

   incorporates them in this count, as if set forth at length herein.

          635.    As detailed at length herein, on multiple occasions the Defendants, Clinton, Joffe,

   Sussmann, Steele, Sullivan, Schultz, and Schiff made, disseminated and/or published false and

   damaging statements concerning the Plaintiff, specifically that he was colluding with Russia and

   its President Vladimir Putin.

          636.    At all relevant times, the Defendants acted with actual malice, as they knew that

   the Plaintiff was not colluding with Russia or, at a minimum, acted with reckless abandon as to

   the truth of whether the Plaintiff had colluded with Russia; despite said knowledge, the Defendants

   conspired to disseminate false information and spread a false narrative in an attempt to ruin the

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   Plaintiff.

             637.   These individual Defendants, Clinton, Sullivan, Schultz, Schiff, Danchenko,

   Sussmann, and Steele, made, disseminated, and/or published the false and damaging statements to

   third parties, including, but not limited to, government authorities, media outlets, and the general

   public.

             638.   Clinton, Sullivan, Schultz, and Schiff among other things, falsely and deliberately

   published false and damaging statements about the Plaintiff and his purported ties with Russia and

   promoted their false allegations through the media.

             639.   In turn, the media heavily reported their allegations story as true, making it appear

   as if the Plaintiff had colluded with the Russian government, despite the falsity of their claims.

             640.   Sullivan, among other things, issued a press release on October 31, 2016, on behalf

   of Clinton and the Clinton Campaign, in made false and damaging claims about the Plaintiff:

                    [T]his could be the most direct link yet between Donald Trump and
                    Moscow. Computer scientists have apparently uncovered a covert
                    server linking the Trump Organization to a Russian-based bank.
                    This secret hotline may be the key to unlocking the mystery of
                    Trump's ties to Russia. It certainly seems the Trump Organization
                    felt it had something to hide, given that it apparently took steps to
                    conceal the link when it was discovered by journalists. This line of
                    communication may help explain Trump's bizarre adoration of
                    Vladimir Putin and endorsement of so many pro-Kremlin positions
                    throughout this campaign. It raises even more troubling questions
                    in light of Russia's masterminding of hacking efforts that are clearly
                    intended to hurt Hillary Clinton’s campaign. We can only assume
                    that federal authorities will now explore this direct connection
                    between Trump and Russia as part of their existing probe into
                    Russia's meddling in our elections.

             641.   Clinton, personally, also published the same false and damaging statements to the

   public, through her Twitter account on October 31, 2016, and to media outlets.

             642.   Clinton continues to publish the false and damaging allegations to media outlets.

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          643.    For example, on June 16, 2021, Hillary Clinton appeared on the Morning Joe show

   on MSNBC and stated to the general public of the State of Florida, and the rest of the United

   States: “We don’t have Trump as spokesperson for Putin, anymore.” “After disastrous Trump

   presidency, in which he gave Putin a green light to do whatever he wanted to do, once Trump was

   elected, of course.”

          644.    Schiff, as a senior congressman, has been the main presenter of the false

   information to the American public, through his numerous guest interviews with national

   television news stations. As such, Schiff has published the same false and damaging statements

   to the public, through various interviews on national television, and other news outlets, from 2016

   till 2021. For Example, on March 24, 2019, on ABC’s This Week” with George Stephanopoulos,

   Schiff called it congresses duty to expose Trumps “duty to expose Trump’s relationship with

   Russia. Stating, “there was significant evidence of Trump collusion.”

          645.    On May 9, 2020, Schiff claimed on CNN’s State of the Union, there was “more

   than circumstantial evidence” that Donald Trump's 2016 presidential campaign colluded with

   Russia. “You can see evidence in plain sight on the issue of collusion, pretty compelling

   evidence,”

          646.    On April 16, 2021, Schiff on MSNBC “the last word” with Lawrence O’Donnell,

   continued to publish the false statements, and maintaining the false narrative that Donald J. Trump

   and his administration had colluded with Russian, and went even further stating that it continued

   to do so in the 2020 election. Stating that the “Trump campaign was passing strategic polling and

   strategic information to a Russian intelligence agent.”    “Not just Russian intelligence, but the

   same ones that tried to help Trump win the 2016 election, what most people would call collusion,

   I don’t know how the no collusion crowd explains that.”

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           647.    Schultz has also published numerous false and damaging statements about the

   Plaintiff and his alleged collusion with Russia.

           648.    For example, she told CNN’s Erin Burnett on “OutFront”, that reported contacts

   between President Donald J. Trump's campaign aides and Russia amounted to collusion. Schultz

   told the reporter, “[W]ith every passing day, it gets more and more disturbing, and more and more

   evidence that there was collusion.” “Donald Trump should be the first person asking for one, but

   since I think he likely was part of it, it's not surprising that hasn't happened.”

           649.    Danchenko, among other things, submitted falsified evidence to the FBI and

   published false and damaging statements orally to the FBI.

           650.    Sussmann, among other things, submitted falsified evidence to the FBI, DOJ and

   CIA and published false and damaging statements orally to the FBI.

           651.    Steele, among other things knowingly maintained and published to third parties,

   including, but not limited to the FBI, the false series of reports referred to as the “Steele Dossier.”

           652.    The individual Defendants knew that the statements were false at the time they

   made then and also knew or should have known that said statements would damage the Plaintiff’s

   lawful property interests.

           653.    As a direct and proximate result of the individual Defendants’ unlawful conduct,

   the Plaintiff has suffered and will continue to suffer economic losses and irreparable injuries.

           654.    As a direct and proximate result of the Defendants’ actions, the Plaintiff has

   suffered, and continues to suffer, significant damages, including but not limited to, actual,

   compensatory, special, incidental, and consequential damages in addition to costs of defense and

   attorneys’ fees. In addition, Plaintiff has been injured in his business and property and has incurred

   and will continue to incur, significant damages, losses, and deprivation of tangible and intangible

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   property, including but not limited to loss of political and/or business reputation, loss of business

   opportunities, loss of competitive position, loss of business revenue, loss of goodwill, loss of trade

   secrets, and/or loss of contractual relations.

          655.    Among other things, the Plaintiff was forced to incur expenses in an amount to be

   determined at trial, but known to be in excess of twenty-four million dollars ($24,000,000) and

   continuing to accrue, in the form of defense costs, legal fees, and related expenses incurred in

   connection with his effort to defend against the Defendants’ false accusations and the various

   federal investigations and/or official proceedings arose therefrom.

          656.    The Plaintiff does not claim nor seek any compensation for damage to his

   reputation, but rather, he seeks damages for the cost of dealing with the legal issues and political

   issues, which he was required to spend to redress the injurious falsities which were propounded by

   the Defendants, and all other losses incurred due to the tortious conduct of the Defendants.

          WHEREFORE, the Plaintiff, Donald J. Trump, respectfully requests that this Court enter

   a Judgment for Donald J. Trump and against the Defendants, Hillary Clinton, Jake Sullivan,

   Debbie Wasserman Schultz, Adam Schiff, Michael Sussmann, Christopher Steele, and Igor

   Danchenko, for damages, including Punitive damages, costs, and such further and other relief as

   this Court may deem just and proper.

                                             Count IV
                            Conspiracy to Commit Injurious Falsehood
    (Against Clinton, Clinton Campaign, DNC, Perkins Coie, Sussmann, Dolan, Sullivan, Podesta,
    Mook, Reines, Elias, Fusion GPS, Simpson, Fritsch, Nellie Ohr, Bruce Ohr, Orbis Ltd., Steele,
                   Danchenko, Neustar, Inc., Neustar Security Services, and Joffe)

          657.    The Plaintiff avers the allegations contained in the preceding paragraphs and

   incorporates them in this count, as if set forth at length herein.

          658.    The Defendants had a meeting of minds to harm the Plaintiff by making false and

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   damaging statements regarding the Plaintiff’s alleged collusion with the Russian government, and

   its President Vladimir Putin, and then disseminating the false and damaging statements by

   publishing them to third parties, including, but not limited to, government authorities, media

   outlets, and the general public, in an attempt to cause harm to the Plaintiff.

           659.   As such, the Defendants conspired to commit unlawful acts by unlawful means.

   They had different roles, where some actors, such as Danchenko, Dolan, Steele, and Joffe, were

   involved in the fabrication of supposed facts to put into the Dossier, and later helped to foist it

   upon the FBI, while others were more involved with the publishing of the allegations to the media

   and general public, and still others were more involved in feeding false information federal

   authorities.

           660.    Each of the Defendants executed one or more acts in furtherance of the conspiracy,

   as detailed in this Complaint, and committed overt acts to harm the Plaintiff in furtherance of the

   conspiracy.

           661.   In this regard, the Defendants conspired to create a false narrative that that the

   Plaintiff was colluding with Russia through their dissemination of false and damaging statements.

           662.   At all relevant times, the Defendants acted with actual malice, as they knew that

   the Plaintiff was not colluding with Russia or, at a minimum, acted with reckless abandon as to

   the truth of whether the Plaintiff had colluded with Russia; despite said knowledge, the Defendants

   conspired to disseminate false information and spread a false narrative in an attempt to ruin the

   Plaintiff.

           663.    Despite this knowledge, that no evidence existed of the collusion, the Defendants

   further conspired to publish the false information to third parties, such as the FBI, other

   governmental agencies, the news-media outlets, and the U.S. population, in an attempt to smear

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   the Plaintiff’s to harm his chance of being elected and properly administrating his office of

   President of the United States.

          664.    As a direct and proximate result of the Defendants’ actions, the Plaintiff has

   suffered, and continues to suffer, significant damages, including but not limited to, actual,

   compensatory, special, incidental, and consequential damages in addition to costs of defense and

   attorneys’ fees. In addition, Plaintiff has been injured in his business and property and has incurred

   and will continue to incur, significant damages, losses, and deprivation of tangible and intangible

   property, including but not limited to loss of political and/or business reputation, loss of business

   opportunities, loss of competitive position, loss of business revenue, loss of goodwill, loss of trade

   secrets, and/or loss of contractual relations.

          665.    Among other things, the Plaintiff was forced to incur expenses in an amount to be

   determined at trial, but known to be in excess of twenty-four million dollars ($24,000,000) and

   continuing to accrue, in the form of defense costs, legal fees, and related expenses incurred in

   connection with his effort to defend against the Defendants’ false accusations and the various

   federal investigations and/or official proceedings arose therefrom, in addition to the loss of existing

   and future business opportunities.

          666.    The Plaintiff does not claim nor seek any compensation for damage to his

   reputation, but rather, he seeks damages for the cost of dealing with the legal issues and political

   issues, which he was required to spend to redress the injurious falsities which were propounded by

   the Defendants, and all other losses incurred due to the tortious conduct of the Defendants.

          WHEREFORE, the Plaintiff, Donald J. Trump, respectfully requests that this Court enter

   a Judgment for Donald J. Trump and against the Defendants, Michael Sussmann, Perkins Coie,

   LLP, Hillary R. Clinton, HFACC, Inc., the Democratic National Committee, the DNC Services

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   Corporation, Debbie Wasserman Schultz, Charles Halliday Dolan, Jr., Jake Sullivan, John Podesta,

   Perkins Coie, LLP, Marc Elias, Fusion GPS, Glenn Simpson, Peter Fritsch, Bruce Ohr, Nellie Ohr,

   Orbis Business Intelligence, Ltd., Christopher Steele, Igor Danchenko, Neustar, Inc., and/or

   Neustar Security Services, Rodney Joffe, Robert Mook, Philippe Reines, John Does 1 through 10,

   said names being fictious and unknown persons, and ABC Corporations 1 through 10, said names

   being fictitious and unknown entities, for damages, including Punitive damages, costs, and such

   further and other relief as this Court may deem just and proper.

                                            Count V
                                     Malicious Prosecution
      (Against Sussmann, Elias, Danchenko, Fritsch, Simpson, Nellie Ohr, Steele, Joffe, Comey,
                       Rosenstein, McCabe, Strzok, Page, and Clinesmith)

          667.    The Plaintiff avers the allegations contained in the preceding paragraphs and

   incorporates them in this count, as if set forth at length herein.

          668.    The Defendants, Sussmann, Elias, Danchenko, Fritsch, Simpson, Nellie Ohr, Steele

   and Joffe, willfully and knowingly misled FBI and DOJ officials with the intention of inducing the

   FBI to commence an investigation of the Plaintiff and his alleged collusion with Russia.

          669.    The Defendants, Sussmann, Elias, Danchenko, Fritsch, Simpson, Nellie Ohr, Steele

   and Joffe, concocted a scheme to denigrate the Plaintiff and by so doing, to cause harm to his

   campaign, and, in the course of carrying out this scheme, conspired to feed false and/or misleading

   information to the FBI and the DOJ, which prompted the FBI to commence an investigation.

          670.    The Defendants, Sussmann, Elias, Danchenko, Fritsch, Simpson, Nellie Ohr, Steele

   and Joffe, were the legal cause of the commencement of the FBI’s investigation into the Plaintiff

   in that they, among other things, engaged in efforts to falsify information, documents, and/or

   evidence, such as the Dossier and the white papers, provided said false information, documents


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   and/or evidence to the FBI and the DOJ, made false and/or misleading statements to the FBI and

   the DOJ concerning, among other things, the facts and circumstances of the development of the

   Dossier and the white papers, the credibility of their evidence and sources, the individuals and

   entities behind the Dossier and white papers, and other facts relevant to the Defendants’ plot to

   falsely implicate the Plaintiff.

           671.    As a direct and proximate results of the Defendants’ efforts, on July 31, 2016, the

   FBI launched a Foreign Agents Registration Act (“FARA”) investigation, known as Crossfire

   Hurricane, to determine whether individual(s) associated with the Plaintiff and his campaign were

   witting of and/or coordinating activities with the Russian government.

           672.    In acting to bring forth the false information to commence the investigation by the

   FBI for the express purpose of harming the Plaintiff, the Defendants acted with malicious intent.

           673.    The Defendants, Sussmann, Elias, Danchenko, Fritsch, Simpson, Nellie Ohr, Steele

   and Joffe, acted with actual malice, as they knew that the Plaintiff was not colluding with Russia

   or, at a minimum, acted with reckless abandon as to the truth of whether the Plaintiff had colluded

   with Russia; despite said knowledge, the Defendants conspired to disseminate false information

   and spread a false narrative in an attempt to ruin the Plaintiff.

           674.    Subsequent to the commencement of Crossfire Hurricane, additional Defendants

   who were well-position within the FBI, Comey, McCabe, Strzok, Page, and Clinesmith, were the

   legal cause of the continuation of the FBI’s investigation and the commencement of extrajudicial

   FISA surveillance of the Plaintiff and his administration in that they, among other things, engaged

   in efforts to falsify evidence, information and/or documents, such as an e-mail correspondence

   regarding Carter Page that was submitted in furtherance of FISA application(s); relied upon

   knowingly false information including, without limitation, the White Papers and the Steele

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   Dossier, which the Defendants were aware was not credible and was funded by the Clinton

   Campaign and the DNC; withheld pertinent and material information from FISA applications and

   in submissions, communications, and correspondences with judges, law enforcement officials,

   supervisors, superiors, and other government officials; made false and/or misleading statements to

   the FISC, Congress, and/or the Plaintiff, who at the time was sitting President of the United States;

   and otherwise misled as to the credibility of the evidence supporting their investigation, the

   individuals and entities behind the Dossier and white papers, and other facts relevant to the

   evidentiary basis for Crossfire Hurricane, the FISA applications, the Mueller investigation, and

   other related investigations regarding the alleged Trump-Russia connection.

          675.    In acting to falsely maintain and continue the investigation(s) by the FBI and the

   DOJ for the express purpose of harming the Plaintiff, the Defendants, Comey, McCabe, Strzok,

   Page, and Clinesmith, acted with malicious intent.

          676.    The Defendants, Comey, McCabe, Rosenstein, Strzok, Page, and Clinesmith, acted

   with actual malice, as they knew that the Plaintiff was not colluding with Russia or, at a minimum,

   acted with reckless abandon as to the truth of whether the Plaintiff had colluded with Russia, and

   they knew that Crossfire Hurricane lacked a legitimate evidentiary basis and was based on a false

   and contrived premise; despite said knowledge, the Defendants conspired to continue the baseless

   investigations, to obtain FISA warrants in excess of their lawful authority, and to proliferate the

   spread of the Defendants’ false narrative.

          677.    As a direct and proximate result of the Defendants’ actions, the Plaintiff has

   suffered, and continues to suffer, significant damages, including but not limited to, actual,

   compensatory, special, incidental, and consequential damages in addition to costs of defense and

   attorneys’ fees. In addition, Plaintiff has been injured in his business and property and has incurred

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   and will continue to incur, significant damages, losses, and deprivation of tangible and intangible

   property, including but not limited to loss of political and/or business reputation, loss of business

   opportunities, loss of competitive position, loss of business revenue, loss of goodwill, loss of trade

   secrets, and/or loss of contractual relations.

          678.    Among other things, the Plaintiff was forced to incur expenses in an amount to be

   determined at trial, but known to be in excess of twenty-four million dollars ($24,000,000) and

   continuing to accrue, in the form of defense costs, legal fees, and related expenses incurred in

   connection with his effort to defend against the Defendants’ false accusations and the various

   federal investigations and/or official proceedings arose therefrom, in addition to the loss of existing

   and future business opportunities for himself, the Trump Campaign, and the Trump Organization

   LLC.

          WHEREFORE, the Plaintiff, Donald J. Trump, respectfully requests that this Court enter

   a Judgment for Donald J. Trump and against the Defendants, Michael Sussmann, Peter Fritsch,

   Glenn Simpson, Christopher Steele, Nellie Ohr, Igor Danchenko, Rodney Joffe, James Comey,

   Andrew McCabe, Rod Rosenstein, Peter Strzok, Lisa Page, and Kevin Clinesmith for

   compensatory damages, Punitive damages, costs, and such further and other relief as this Court

   may deem just and proper.

                                             Count VI
                           Conspiracy to Commit Malicious Prosecution
      (Against Clinton, Sussmann, Schultz, Dolan, Sullivan, Elias, Simpson, Fritsch, Steele, Ohr,
      Danchenko, Joffe, Podesta, Mook, Reines, Comey, McCabe, Rosenstein, Strzok, Page, and
                                            Clinesmith)

          679.    The Plaintiff avers the allegations contained in the preceding paragraphs and

   incorporates them in this count, as if set forth at length herein.

          680.    The Defendants, Clinton, Sussmann, Schultz, Dolan, Sullivan, Elias, Simpson,

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   Fritsch, Steele, Ohr, Danchenko, and Joffe, had a meeting of minds and a common plan to induce

   the FBI and/or the Department of Justice through deceptive means into commencing an unfounded

   investigation into the Plaintiff’s alleged collusion with the Russian government, Vladimir Putin,

   and other government officials.

          681.    The Defendants, Clinton, Sussmann, Schultz, Dolan, Sullivan, Elias, Simpson,

   Fritsch, Steele, Ohr, Danchenko, and Joffe, conspired to cause the FBI’s investigation to be

   commenced, and continue forward, by, among other things, falsifying information, documents,

   and evidence, such as the Dossier and the white papers, providing said falsified information,

   documents, and evidence to the FBI and the DOJ, and making false and/or misleading statements

   to the FBI and the DOJ concerning, among other things, the facts and circumstances of the

   development of the Dossier and the white papers, the credibility of their evidence and sources, the

   individuals and entities behind the Dossier and White Papers, and other facts relevant to the

   Defendants’ plot to falsely implicate the Plaintiff.

          682.    The Defendants, Clinton, Sussmann, Schultz, Dolan, Sullivan, Elias, Simpson,

   Fritsch, Steele, Ohr, Danchenko, and Joffe, concocted a scheme to denigrate the Plaintiff and

   tarnish his harm his chance of becoming elected and then to properly and effectively administrate

   his office of President of the United States. In the course of carrying out this scheme, they

   conspired to feed false and/or misleading information to the FBI and the DOJ which prompted the

   FBI to commence an investigation.

          683.     The Defendants, Clinton, Sussmann, Schultz, Dolan, Sullivan, Elias, Simpson,

   Fritsch, Steele, Ohr, Danchenko, and Joffe, conspired to do an unlawful act by unlawful means.

          684.    The Defendants, Clinton, Sussmann, Schultz, Dolan, Sullivan, Elias, Simpson,

   Fritsch, Steele, Ohr, Danchenko, and Joffe, acted with actual malice, as they knew that the Plaintiff

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   was not colluding with Russia or, at a minimum, acted with reckless abandon as to the truth of

   whether the Plaintiff had colluded with Russia; despite said knowledge, the Defendants conspired

   to disseminate false information and spread a false narrative in an attempt to ruin the Plaintiff.

          685.    Moreover, in conspiring to bring forth the false information to commence the

   investigation by the FBI for the express purpose of harming the Plaintiff, the Defendants, Clinton,

   Sussmann, Schultz, Dolan, Sullivan, Elias, Simpson, Fritsch, Steele, Ohr, Danchenko, and Joffe,

   acted with malicious intent.

          686.    Subsequent to the commencement of Crossfire Hurricane, additional Defendants

   who were well-position within the FBI, Comey, McCabe,               Rosenstein, Strzok, Page, and

   Clinesmith, conspired to continue the FBI’s investigation and to commence an extrajudicial FISA

   surveillance of the Plaintiff and his administration in that they, among other things, conspired to

   falsify evidence, information and/or documents, such as an e-mail correspondence regarding

   Carter Page that was submitted in furtherance of FISA application(s); conspired to rely upon

   knowingly false information including, without limitation, the White Papers and the Steele

   Dossier, which the Defendants were aware was not credible and was funded by the Clinton

   Campaign and the DNC; conspired to withhold pertinent and material information from FISA

   applications and in submissions, communications, and correspondences with judges, law

   enforcement officials, supervisors, superiors, and other government officials; conspired to make

   false and/or misleading statements to the FISC, Congress, and/or the Plaintiff, who at the time was

   sitting President of the United States; and otherwise conspired to mislead as to the credibility of

   the evidence supporting their investigation, the individuals and entities behind the Dossier and

   white papers, and other facts relevant to the evidentiary basis for Crossfire Hurricane, the FISA

   applications, the Mueller investigation, and other related investigations regarding the alleged

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   Trump-Russia connection.

          687.    In conspiring to falsely maintain and continue the investigation(s) by the FBI and

   the DOJ for the express purpose of harming the Plaintiff, the Defendants, Comey, McCabe,

   Rosenstein, Strzok, Page, and Clinesmith, acted with malicious intent.

          688.    The Defendants, Comey, McCabe, Strzok, Page, and Clinesmith, acted with actual

   malice, as they knew that the Plaintiff was not colluding with Russia or, at a minimum, acted with

   reckless abandon as to the truth of whether the Plaintiff had colluded with Russia, and they knew

   that Crossfire Hurricane lacked a legitimate evidentiary basis and was based on a false and

   contrived premise; despite said knowledge, the Defendants conspired to continue the baseless

   investigations, to obtain FISA warrants in excess of their lawful authority, and to proliferate the

   spread of the Defendants’ false narrative.

          689.    Each of the above-named Defendants executed several acts in furtherance of the

   conspiracy, as detailed at length in this Complaint, and committed overt acts to harm the Plaintiff

   in the furtherance of the conspiracy.

          690.    As a direct and proximate result of the Defendants’ actions, the Plaintiff has

   suffered, and continues to suffer, significant damages, including but not limited to, actual,

   compensatory, special, incidental, and consequential damages in addition to costs of defense and

   attorneys’ fees.

          691.    As a direct and proximate result of the Defendants’ actions, the Plaintiff has

   suffered, and continues to suffer, significant damages, including but not limited to, actual,

   compensatory, special, incidental, and consequential damages in addition to costs of defense and

   attorneys’ fees. In addition, Plaintiff has been injured in his business and property and has incurred

   and will continue to incur, significant damages, losses, and deprivation of tangible and intangible

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   property, including but not limited to loss of political and/or business reputation, loss of business

   opportunities, loss of competitive position, loss of business revenue, loss of goodwill, loss of trade

   secrets, and/or loss of contractual relations.

          692.    Among other things, the Plaintiff was forced to incur expenses in an amount to be

   determined at trial, but known to be in excess of twenty-four million dollars ($24,000,000) and

   continuing to accrue, in the form of defense costs, legal fees, and related expenses incurred in

   connection with his effort to defend against the Defendants’ false accusations and the various

   federal investigations and/or official proceedings arose therefrom, in addition to the loss of existing

   and future business opportunities.

          WHEREFORE, the Plaintiff, Donald J. Trump, respectfully requests that this Court enter

   a Judgment for Donald J. Trump and against the Defendants, Hillary Clinton, Michael Sussmann,

   Debbie Wasserman Schultz, Charles Halliday Dolan, Jr., Jake Sullivan, Marc Elias, Glenn

   Simpson, Peter Fritsch, Christopher Steele, Nellie Ohr, Igor Danchenko, and Rodney Joffe, John

   Podesta, Robert Mook, Philippe Reines, James Comey, Andrew McCabe, Rod Rosenstein, Peter

   Strzok, Lisa Page, and Kevin Clinesmith for compensatory damages, Punitive damages, costs, and

   such further and other relief as this Court may deem just and proper.

                                              Count VII
                                  Computer Fraud and Abuse Act
                                         (18 U.S.C. § 1030)
      (Against Neustar, Inc., Neustar Security Services, Joffe, DNC, Clinton Campaign, Clinton,
                                       Perkins Coie, Sussmann)

          693.    The Plaintiff avers the allegations contained in the preceding paragraphs and

   incorporates them in this count, as if set forth at length herein.

          694.    The computers belonging to the Executive Office of the President of the United

   States are non-public, belonging to a department or agency of the United States, are exclusively

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   for the use of the United States Government and are involved in interstate and foreign commerce

   and communications.

          695.    The computers belonging to the Trump Organization LLC, located at Trump

   Tower, are involved in interstate and foreign commerce and communication and, therefore, are

   protected computers under 18 U.S.C. § 1030(e)(2).

          696.    The Defendants’ conduct as alleged herein violated 18 U.S.C. §§ 1030(a)(2),

   1030(a)(3), 1030(a)(4), and/or 1030(a)(6).

          697.    The Defendants, Neustar, Inc. and/or Neustar Security Services, and Joffe,

   knowingly, intentionally and unlawfully accessed and/or exceeded their authority to access the

   computers at the Executive Office of the President of the United States and thereby obtained and

   used valuable, sensitive and/or proprietary information and data from those computers in violation

   of 18 U.S.C. § 1030(a)(2)(B), 1030(a)(2)(C), and 1030(a)(3).

          698.    Such information and data include, but are not limited to, non-public, sensitive,

   confidential, classified and/or proprietary internet data, DNS records, techniques, processes,

   procedures and programs.

          699.    Neustar and/or Neustar Security Services, and Joffe also knowingly, intentionally

   and unlawfully accessed and/or exceeded their authority to access computers belonging to the

   Trump Organization LLC, located at the Trump Tower, and thereby obtained and used valuable,

   sensitive and/or proprietary information and data from those computers in violation of 18 U.S.C.

   § 1030(a)(2)(C).

          700.    Such information and data include, but are not limited to, non-public, sensitive,

   confidential and/or proprietary internet data, DNS records, business methods, techniques,

   processes, procedures and programs.

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          701.    As detailed at length herein, the Defendants, the DNC, the Clinton Campaign,

   Clinton, Perkins Coie, and Sussmann conspired with Neustar, Inc., and/or Neustar Security

   Services, and Joffe in their commission of the above-stated acts, in violation of 18 § U.S.C.

   1030(b).

          702.    As a direct and proximate result of the DNC, the Clinton Campaign, Clinton,

   Perkins Coie, Sussmann, Neustar, Inc. and/or Neustar Security Services, and Joffe’s violations of

   18 U.S.C. § 1030, the Plaintiff has been injured and has sustained a loss in excess of $5,000.

          703.    Among other things, the Defendants obtained valuable, sensitive, proprietary and

   confidential data and information pertaining to the Plaintiff, which they manipulated, falsified and

   altered for nefarious purposes, and, in addition, the Plaintiff was forced to incur expenses in an

   amount to be determined at trial, but known to be in excess of twenty-four million dollars

   ($24,000,000) and continuing to accrue, in the form of defense costs, legal fees, and related

   expenses incurred in connection with his effort to defend against the Defendants’ actions and the

   various federal investigations and/or official proceedings arose therefrom

          704.    The acts of the above-mentioned Defendants which violated 18 U.S.C. § 1030 were

   not discoverable until September 16, 2021, upon the disclosure of said acts described in the

   indictment of Michael Sussmann in United States v. Sussmann, case no. 1:21-cr-00582-CRC,

   United States District Court, District for Columbia.

          705.    As a direct and proximate result of the Defendant’s actions, the Plaintiff has

   suffered, and continues to suffer, significant damage, including but not limited to, actual,

   compensatory, special, incidental, and consequential damage, including, among other things, the

   cost of investigating and responding to the unauthorized access, defending himself against federal

   investigations, harm to his business, and loss of trade secrets and/or other proprietary, sensitive or

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   valuable information and data, entitling the Plaintiff to compensatory relief under 18 U.S.C. §

   1030(g).

          WHEREFORE, the Plaintiff, Donald J. Trump, respectfully requests that this Court enter

   a Judgment for Donald J. Trump and against the Defendants, Neustar, Inc. and/or Neustar Security

   Services, Rodney Joffe, Perkins Coie, LLP, Michael Sussmann, HFACC, Inc., the Democratic

   National Committee, the DNC Services Corporation, and Hillary Clinton for compensatory

   damages, punitive damages, costs, attorneys’ fees, and such further and other relief as this

   honorable Court may deem just and proper.

                                              Count VIII
                                        Theft of Trade Secrets
                                        (18 U.S.C. § 1830-32)
       (Against Neustar, Inc., Neustar Security Services, Joffe, Perkins Coie, Sussmann, Clinton
                                    Campaign, DNC, and Clinton)

          706.    The Plaintiff avers the allegations contained in the preceding paragraphs and

   incorporates them in this count, as if set forth at length herein.

          707.    The Plaintiff owns and possesses certain non-public, proprietary, sensitive and

   confidential information and data, including without limitation, DNS data.

          708.    DNS internet traffic data houses highly proprietary, sensitive and confidential data.

   For example, among other things, an analysis of raw DNS data reveals a comprehensive view into

   an individual or a company’s website traffic, e-mail traffic, webmail traffic, chat messaging, in

   addition to the types of technology, hardware, software, programs, securities and processes being

   utilized by the servers.

          709.    Neustar, Inc. and/or Neustar Security Services, and Joffe, at the direction of Perkins

   Coie, Sussmann, Clinton Campaign, DNC, and Clinton, exploited access to non-public data

   sources and/or servers and unlawfully acquired, stole and exploited sensitive, proprietary and

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   confidential internet data, including without limitation, DNS information, traffic, and/or data

   originating from computers and/or servers: (i) located at Plaintiff’s private apartment in Central

   Park West in New York and belonging to the Plaintiff; and (ii) located at Trump Tower and

   belonging to The Trump Organization, in which Plaintiff has an ownership interest (collectively,

   with the computers and/or servers house in Plaintiff’s private apartment, “Plaintiff’s Servers”).

          710.    Joffe and Neustar, Inc. and/or Neustar Security Services, exploited their access to

   non-public data to, among other things, mine DNS traffic and other data from Plaintiff’s Servers

   for the purpose of gathering derogatory information about the Plaintiff.

          711.    In doing so, Joffe and Neustar, Inc. and/or Neustar Security Services intentionally

   accessed, without authorization, Plaintiff’s Servers.

          712.    By illegally accessing the above-mentioned information and data, Neustar, Inc.

   and/or Neustar Security Services, and Joffe, were able to obtain proprietary, sensitive, and/or

   confidential information and data including, among other things, the number and frequency of e-

   mail communications between the Plaintiff’s Servers and other third party servers, the number and

   frequency of website visits to third party websites by the Plaintiff’s Servers, the number and

   frequency of webmail interactions between the Plaintiff’s Servers and other third party servers,

   and the number and frequency of chat messaging interactions between the Plaintiff’s Servers and

   other third party servers, as well as information pertaining to the types of software, programs,

   securities and processes being utilized by Plaintiff’s Servers.

          713.    This information and data revealed highly proprietary, sensitive, and confidential

   knowledge, including insight into Plaintiff’s and The Trump Organization’s business dealings,

   financial dealings, communications, future and current plans, techniques, patterns, methods,

   processes, and procedures, as well as identification of their corporate partners, political associates,

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   clients, and vendors.

          714.    This proprietary, sensitive and confidential information, data and/or knowledge

   constitutes trade secrets within the meaning of 18 U.S.C. § 1839(3) where they constitute business

   and/or political methods, techniques, processes, procedures and programs that are both protected

   from disclosure by the Plaintiff and derive significant economic value from not generally being

   known to or ascertainable by others, including the Defendants, who can obtain economic value

   from disclosure or use of such information.

          715.    The Plaintiff and The Trump Organization restricts access to their proprietary,

   sensitive and confidential information and data, including DNS data, even within their own

   personnel and prevents unauthorized access to such records by digital or electronic means.

          716.    The Plaintiff and The Trump Organization further protects against theft and

   disclosure of such information by third parties by the requirement of executed non-disclosure

   agreements prior to providing any such access.

          717.    Defendants, Neustar. Inc. and/or Neustar Security Services, and Joffe, violated the

   Defend Trade Secrets Act, 18 U.S.C. § 1832(a)(1), by knowingly obtaining the Plaintiff’s

   confidential records by fraud, artifice, and deception and, thereafter, stealing, appropriating,

   taking, carrying away, and concealing the theft of the Plaintiff’s confidential records with intent

   to convert the Plaintiff’s confidential records, which are related to products sold in interstate and

   foreign commerce, to the Defendants’ own benefit, while knowing and intending that such

   misappropriation would injure the Plaintiff.

          718.    Defendants, Perkins Coie, Sussmann, Clinton Campaign, DNC, and Clinton,

   conspired with Neustar, Inc. and/or Neustar Security Services and Joffe to commit the above-

   named acts in furtherance of the overarching conspiracy to denigrate and spread injurious

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   falsehoods to harm the Plaintiff’s political career and to impede his ability to effectively govern.

           719.    Defendants, Perkins Coie, Sussmann, Clinton Campaign, DNC, and Clinton,

   conspired with Neustar, Inc. and/or Neustar Security Services, and Joffe to violate the Defend

   Trade Secrets Act, 18 U.S.C. § 1832(a)(1), by assisting, aiding, and abetting Neustar and Joffe in

   obtaining Plaintiff’s proprietary, sensitive and confidential information and data by fraud, artifice,

   and deception and, thereafter, stealing, appropriating, taking, carrying away, and concealing the

   theft of Plaintiff’s confidential records with intent to convert Plaintiff’s confidential records, which

   are related to products sold in interstate and foreign commerce, to Defendants’ own benefit, while

   knowing and intending that such misappropriation would injure the Plaintiff

           720.    Each of the Defendants, Perkins Coie, Sussmann, Clinton Campaign, DNC, and

   Clinton, were aware of, and active participants in, the conspiracy for Neustar, Inc. and/or Neustar

   Security Services, and Joffe to violate the Defend Trade Secrets Act, 18 U.S.C. § 1832, and each

   of the RICO Defendants committed at least one act in furtherance of this goal.

           721.    The Plaintiff’s confidential records were misappropriated by Defendants within the

   meaning of 18 U.S.C. § 1839(5), where the Plaintiff’s records were acquired by the Defendants,

   through unlawful and deceptive acts, without the Plaintiff’s authorization and through Defendants’

   acts of espionage or other improper means conducted by electronic or other means.

           722.    The theft of the protected trade secrets has damaged the Plaintiff.

           723.    The actions of Defendants, Neustar, Inc., and/or Neustar Security Services, and

   Joffe, constitute theft of trade secrets in violation of 18 U.S.C. § 1832(a)(1).

           724.    The actions of Defendants, Perkins Coie, Sussmann, Clinton Campaign, DNC, and

   Clinton, constitute a conspiracy to steal trade secrets in violation of 18 U.S.C. § 1832(a)(5).

           725.    As a direct and proximate result of the Defendants’ actions, the Plaintiff has

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   suffered, and continues to suffer, significant damages, including but not limited to, actual,

   compensatory, special, incidental, and consequential damages in addition to costs of defense and

   attorneys’ fees. In addition, Plaintiff has been injured in his business and property and has incurred

   and will continue to incur, significant damages, losses, and deprivation of tangible and intangible

   property, including but not limited to loss of political and/or business reputation, loss of business

   opportunities, loss of competitive position, loss of business revenue, loss of goodwill, loss of trade

   secrets, and/or loss of contractual relations.

          726.    Among other things, the Plaintiff was forced to incur Among other things, the

   Plaintiff was forced to incur expenses in an amount to be determined at trial, but known to be in

   excess of twenty-four million dollars ($24,000,000) and continuing to accrue, in the form of

   defense costs, legal fees, and related expenses incurred in connection with his effort to defend

   against the Defendants’ actions and the various federal investigations and/or official proceedings

   arose therefrom, in addition to the loss of existing and future business opportunities.

   WHEREFORE, the Plaintiff, Donald J. Trump, respectfully requests that this Court enter a

   Judgment for Donald J. Trump and against the Defendants, Neustar, Inc. and/or Neustar Security

   Services, Rodney Joffe, Perkins Coie, LLP, Michael Sussmann, HFACC, Inc., the Democratic

   National Committee, the DNC Services Corporation, and Hillary Clinton, for compensatory

   damages, punitive damages, costs, attorneys’ fees, and such further and other relief as this Court

   may deem just and proper.

                                               Count IX
                                     Stored Communications Act
                                          (18 U.S.C. 2701-12)
                   (Against Neustar, Inc. and/or Neustar Security Services, and Joffe)

          727.    The Plaintiff avers the allegations contained in the preceding paragraphs and


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   incorporates them in this count, as if set forth at length herein.

          728.    The Defendants, Neustar, Inc. and/or Neustar Security Services, and Joffe, on one

   or more occasions willfully and intentionally accessed, without authorization or in excess of any

   authorization, facilities through which an electronic communication service is provided.

          729.    Neustar, Inc. and/or Neustar Security Services, and Joffe obtained unauthorized

   access to or, at a minimum, exceeded their authorization to access, numerous facilities through

   which an electronic communication service is provided, including, but not limited to: (i) the

   computers, networks and/or servers of the Plaintiff’s private New York residence; (ii) the

   computers, networks and/or servers of the Executive Office of the President of the United States;

   and (iii) the computers, networks and/or servers of the Trump Organization LLC, specifically those

   located at Trump Tower (collectively, the “Computers”).

          730.    Neustar, Inc. and/or Neustar Security Services, and Joffe obtained wire or

   electronic communications from the Computers that were in electronic storage in such systems.

          731.     The Plaintiff was aggrieved as a direct and proximate result of Neustar, Inc. and/or

   Neustar Security Services, and Joffe’s actions, and was caused to suffer significant damage,

   entitling him to an award for monetary relief under 18 U.S.C. § 2707(c).

          732.    The violations of Neustar and Joffe were willful and intentional, thereby warranting

   an award of punitive damages under 18 U.S.C. § 2707(c).

          733.    Moreover, in conspiring to bring forth the false information to commence the

   investigation by the FBI for the express purpose of harming the Plaintiff, the Defendants, Clinton,

   Sussmann, Schultz, Dolan, Sullivan, Elias, Simpson, Fritsch, Steele, Ohr, Danchenko, and Joffe,

   acted with malicious intent.

          734.    The Plaintiff also seeks an award for attorneys’ fees and costs as permitted pursuant

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   to 18 U.S.C. § 2707(c).

          WHEREFORE, the Plaintiff, Donald J. Trump, respectfully requests that this Court enter

   a Judgment for Donald J. Trump and against the Defendants, Neustar, Inc. and/or Neustar Security

   Services, and Rodney Joffe, for compensatory damages, punitive damages, costs, attorneys’ fees,

   and such further and other relief as this Court may deem just and proper.

                                                Count X
                                                 Agency
                                             (Against Clinton)

          735.     The Plaintiff avers the allegations contained in the preceding paragraphs and

   incorporates them in this count, as if set forth at length herein.

          736.     Clinton, acting as a principal, used the law firm, Perkins Coie, and the Clinton

   Campaign as her agents to act on her behalf to carry out the plot against Trump to assure that he

   would be falsely implicated as colluding with a hostile foreign sovereignty.

          737.     Specifically, the Clinton Campaign and the DNC under Clinton’s direction put into

   place a scheme to hire dishonest operatives to put together a collection of lies and innuendo about

   the Plaintiff and shop it to the FBI. The statements that were disseminated were knowingly false

   and damaging.

          738.     Clinton directed the DNC and the Clinton Campaign to also retain Perkins Coie,

   LLP to find proof of a sinister link between Trump and Russia in the lead-up to the 2016 Presidential

   Election.

          739.     The Clinton Campaign and the DNC, under the direction of Hillary Clinton, directed

   its law firm, Perkins Coie, to hire an outside intelligence firm, Fusion GPS to dig up dirt on the

   Plaintiff’s alleged connections with Russia in 2016. They paid Fusion GPS approximately $10

   million to produce and propagate a false narrative that the Plaintiff had colluded with the Russians.

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          740.      Clinton attempted to shield her involvement through a barricade of agents working

   on her behalf.

          741.      Once retained Perkins Coie, was tasked with spearheading the mission to find or

   fabricate proof of a sinister link between Trump and Russia in the lead-up to the 2016 Presidential

   Election.

          742.      The Clinton Campaign also secured Joffe and his company Neustar, Inc. to help

   Clinton achieve her goal.

          743.      During the lead-up to the 2016 Presidential Election, the Clinton Campaign retained

   Perkins Coie to perform “opposition research” on the Trump Campaign.

          744.      Perkins Coie did not provide legal services to the Defendants, but instead, was

   commissioned to dig up whatever dirt they could on the Plaintiff, and to the extent there was none,

   to manufacture it.

          745.      Perkins Coie, acting with the knowledge and direction of the Clinton Campaign,

   then proceeded to proliferate a false narrative that the Trump Campaign was actively colluding with

   Russian operatives to subvert the 2016 Presidential Election.

          746.      Sussmann and Elias, while working for Perkins Coie, and working on behalf of the

   Clinton Campaign, worked with Joffe and attempted to find any such wrongdoing by the Plaintiff.

          747.      Sussmann advised the media and others, falsely and knowingly claiming to

   demonstrate the existence of a secret communications channel between the Trump Organization

   and Alfa Bank. In this regard, Sussmann invoiced the Clinton Campaign for his communications

   with Joffe and Elias.

          748.      Sussmann was also advising the Clinton Campaign in connection with cybersecurity

   issues, and Perkins Coie, acted as the Clinton Campaign’s General Counsel.

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           749.    Joffe used his access at multiple organizations to gather and mine public and non-

   public Internet data regarding Trump and his associates, with the goal of creating a “narrative”

   regarding the candidate's ties to Russia.”

           750.    Joffe later shared certain results of those data searches and analysis with Sussmann

   so that Sussmann, in turn, could provide them to the media and the FBI.

           751.    Clinton was fully aware of the plan and hired and instructed the necessary parties to

   make it happen.

           752.    Moreover, employees of Perkins Coie, Elias and Sussmann had multiple conferences

   regarding their work and billed the Clinton Campaign for these meetings.

           753.    All of the abovementioned acts were committed by Perkins Coie under the

   instruction and for the benefit of Hillary Clinton and the Clinton Campaign.

           754.    The agents, the Clinton Campaign and Perkins, Coie, LLP, were not acting outside

   of the instructions of the principal when committing the above-mentioned acts because they were

   hired for the sole purpose of digging up or manufacturing information on the Plaintiff.

           755.    Sussmann, and his firm, Perkins Coie were always acting on behalf of and in

   coordination with the Clinton Campaign, in assembling and conveying Sussmann’s allegations.

           756.    Additionally, all of Sussmann’s recorded time and work relating to the Russian Bank

   were billed to the Clinton Campaign.

           757.    Clinton is liable as a principal for all of the acts her agents committed against the

   Plaintiff at her request and for her benefit.

           758.    As a direct and proximate result of the Defendants’ actions, the Plaintiff has

   suffered, and continues to suffer, significant damages, including but not limited to, actual,

   compensatory, special, incidental, and consequential damages in addition to costs of defense and

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   attorneys’ fees. In addition, Plaintiff has been injured in his business and property and has incurred

   and will continue to incur, significant damages, losses, and deprivation of tangible and intangible

   property, including but not limited to loss of political and/or business reputation, loss of business

   opportunities, loss of competitive position, loss of business revenue, loss of goodwill, loss of trade

   secrets, and/or loss of contractual relations.

          759.    Among other things, the Plaintiff was forced to incur expenses in an amount to be

   determined at trial, but known to be in excess of twenty-four million dollars ($24,000,000) and

   continuing to accrue, in the form of defense costs, legal fees, and related expenses incurred in

   connection with his effort to defend against the Defendants’ false accusations and the various

   federal investigations and/or official proceedings arose therefrom, in addition to the loss of existing

   and future business opportunities.

          760.    The Plaintiff does not claim nor seek any compensation for damage to his

   reputation, but rather, he seeks damages for the cost of dealing with the legal issues and political

   issues, which he was required to spend to redress the injurious falsities which were propounded by

   the Defendants, and all other losses incurred due to the tortious conduct of the Defendants.

          WHEREFORE, the Plaintiff, Donald J. Trump, respectfully requests that this Court enter

   a Judgment for Donald J. Trump and against the Defendant, Hillary Clinton, for damages,

   including Punitive damages, costs, and such further and other relief as this Court may deem just

   and proper.

                                              Count XI
                                Respondeat Superior/Vicarious Liability
                                        (Against Perkins Coie)

          761.    The Plaintiff avers the allegations contained in the preceding paragraphs and

   incorporates them in this count, as if set forth at length herein.

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           762.    Under the doctrine of respondeat superior, the Defendant, Perkins Coie, is

   vicariously responsible for the torturous conduct of its agents, servants, representatives, employees

   and/or contractors.

           763.    Specifically, under the doctrine of respondeat superior, Perkins Coie is responsible

   for the tortious actions that its employees, Sussmann and Elias, committed.

           764.    Elias and Sussmann were two of Perkins Coie’s senior partners responsible for

   representing the DNC. The senior partners negotiated the Joint Fund-Raising Agreement between

   the DNC and the Clinton Campaign in which Hillary Clinton would be permitted to control the

   party’s finances, strategy, and utilize the money that the DNC raised.

           765.     Sussmann and Joffe engaged in efforts with Elias and individuals acting on behalf

   of the Clinton Campaign to manufacture evidence of wrongdoing by the Plaintiff and the existence

   of a secret communications channel between the Trump Organization and Alfa Bank.

           766.    Sussmann reported the Alfa Bank connection as though it was real and lied to the

   FBI General Counsel in that he falsely stated that he was not acting on behalf of any client, when

   he was specifically there at the behest of Clinton, the Clinton Campaign, and the DNC. In fact, he

   invoiced the Clinton Campaign for his efforts.

           767.    From in or about late July through in or about mid-August 2016, Sussmann, Joffe,

   and Elias coordinated and communicated about the Plaintiff’s involvement with Alfa Bank.

   Sussmann and Perkins Coie invoiced the Clinton Campaign for that conspiratorial meeting.

           768.    Elias and Sussmann perpetrated lies about the Plaintiff and falsified evidence. Elias

   and Sussmann committing these egregious acts while working for a client of their firm. The DNC

   and the Clinton Campaign hired Perkins Coie and Sussmann and Elias to complete the work as a

   part of their job.

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          769.    At all material times, the above-named employees were all acting within the scope

   of their employment, performing work for their employer at the time of the tortious conduct, and

   therefore are responsible for the actions of their employees.

          770.    As a direct and proximate result of the torturous actions by agents, servants,

   representatives, employees and/or contractors, as alleged above, Perkins Coie is vicariously liable

   to the Plaintiff, as he suffered losses due to the actions of the employees who were working within

   the scope of their employment.

          771.    As a direct and proximate result of the Defendants’ actions, the Plaintiff has

   suffered, and continues to suffer, significant damages, including but not limited to, actual,

   compensatory, special, incidental, and consequential damages in addition to costs of defense and

   attorneys’ fees. In addition, Plaintiff has been injured in his business and property and has incurred

   and will continue to incur, significant damages, losses, and deprivation of tangible and intangible

   property, including but not limited to loss of political and/or business reputation, loss of business

   opportunities, loss of competitive position, loss of business revenue, loss of goodwill, loss of trade

   secrets, and/or loss of contractual relations.

          772.    Among other things, the Plaintiff was forced to incur expenses in an amount to be

   determined at trial, but known to be in excess of twenty-four million dollars ($24,000,000) and

   continuing to accrue, in the form of defense costs, legal fees, and related expenses incurred in

   connection with his effort to defend against the Defendants’ false accusations and the various

   federal investigations and/or official proceedings arose therefrom, in addition to the loss of existing

   and future business opportunities for himself, the Trump Campaign, and the Trump Organization

   LLC.

          WHEREFORE, the Plaintiff, Donald J. Trump, respectfully requests that this Court enter

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   a Judgment for Donald J. Trump and against the Defendant, Perkins Coie, LLP, for damages,

   including Punitive damages, costs, and such further and other relief as this Court may deem just

   and proper.

                                             Count XII
                                Respondeat Superior/Vicarious Liability
                                          (Against the DNC)

          773.    The Plaintiff avers the allegations contained in the preceding paragraphs and

   incorporates them in this count, as if set forth at length herein.

          774.    Under the doctrine of respondeat superior, the Defendant, the DNC, is vicariously

   responsible for the torturous conduct of its agents, servants, representatives, employees and/or

   contractors.

          775.    Specifically, under the doctrine of respondeat superior, the DNC is responsible for

   the tortious actions committed by its chairperson, Schultz, and other members and employees.

          776.    At all material times, the above-named employees were all acting within the scope

   of their employment, performing work for their employer at the time of the tortious conduct, and

   therefore are responsible for the actions of their employees.

          777.    As a direct and proximate result of the torturous actions by agents, servants,

   representatives, employees and/or contractors, as alleged above, the DNC is vicariously liable to

   the Plaintiff, as he suffered losses due to the actions of the employees who were working within the

   scope of their employment.

          778.    Among other things, the Plaintiff was forced to incur expenses in an amount to be

   determined at trial, but known to be in excess of twenty-four million dollars ($24,000,000) and

   continuing to accrue, in the form of defense costs, legal fees, and related expenses incurred in

   connection with his effort to defend against the Defendants’ false accusations and the various

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   federal investigations and/or official proceedings arose therefrom, in addition to the loss of existing

   and future business opportunities.

          WHEREFORE, the Plaintiff, Donald J. Trump, respectfully requests that this Court enter

   a Judgment for Donald J. Trump and against the Defendant, the Democratic National Committee,

   the DNC Services Corporation, for Compensatory damages, Punitive damages, costs, and such

   further and other relief as this Court may deem just and proper.

                                               Count XIII
                                 Respondeat Superior/Vicarious Liability
                                     (Against the Clinton Campaign)

          779.    The Plaintiff avers the allegations contained in the preceding paragraphs and

   incorporates them in this count, as if set forth at length herein.

          780.    Under the doctrine of respondeat superior, the Defendant, the Clinton Campaign,

   vicariously responsible for the torturous conduct of its agents, servants, representatives, employees

   and/or contractors.

          781.    Specifically, under the doctrine of respondeat superior, the Clinton Campaign is

   responsible for the tortious actions committed by its campaign manager, communications director,

   and foreign policy advisor.

          782.    On or about September 15, 2016, Elias exchanged e-mails with the Clinton

   Campaign's campaign manager, communications director, and foreign policy advisor concerning

   the plot to falsely connect Donald J. Trump to a Russian bank.

          783.    At all material times, the above-named employees were all acting within the scope

   of their employment, performing work for their employer at the time of the tortious conduct, and

   therefore are responsible for the actions of their employees.

          784.    As a direct and proximate result of the torturous actions by agents, servants,

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   representatives, employees and/or contractors, as alleged above, the Clinton Campaign is

   vicariously liable to the Plaintiff, as he suffered losses due to the actions of the employees who

   were working within the scope of their employment.

          785.     Among other things, the Plaintiff was forced to incur expenses in an amount to be

   determined at trial, but known to be in excess of twenty-four million dollars ($24,000,000) and

   continuing to accrue, in the form of defense costs, legal fees, and related expenses incurred in

   connection with his effort to defend against the Defendants’ false accusations and the various

   federal investigations and/or official proceedings arose therefrom, in addition to the loss of existing

   and future business opportunities.

          WHEREFORE, the Plaintiff, Donald J. Trump, respectfully requests that this Court enter

   a Judgment for Donald J. Trump and against the Defendant, HFACC Inc., for damages, including

   Punitive damages, costs, and such further and other relief as this Court may deem just and proper.

                                             Count XIV
                                Respondeat Superior/Vicarious Liability
                                        (Against Fusion GPS)

           786. The Plaintiff avers the allegations contained in the preceding paragraphs and

    incorporates them in this count, as if set forth at length herein.

           787. Under the doctrine of respondeat superior, the Defendant, Fusion GPS is vicariously

    responsible for the torturous conduct of its agents, servants, representatives, employees and/or

    contractors.

           788. Specifically, under the doctrine of respondeat superior, Fusion GPS is responsible

    for the tortious actions committed by its employees, Fritsch and Simpson.

           789. Elias, in his mission to obtain derogatory anti-Trump ‘opposition research,’

    commissioned Fusion GPS, and its co-founders, Fritsch and Simpson, and directed them to dredge

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    up evidence—legitimate or otherwise, true or otherwise, of collusion between the Plaintiff and

    Russia.

              790.   Fritsch and Simpson, in turn, enlisted the assistance of Orbis Ltd and its owner,

    Steele, to produce a series of reports setting forth damning evidence of the supposed collusion

    between the Plaintiff and Russia.

              791. Moreover, the efforts of Ohr to pass the knowingly false Dossier through her

    husband to the Department of Justice, while she was in the full-time employment of Fusion GPS

    also leads to the liability of Fusion GPS.

              792. The now-debunked collection of reports, known as the “Steele Dossier” or simply

    the “Dossier,” was riddled with misstatements, misrepresentations and flat out lies. As it turns

    out, the Dossier was largely based upon information provided to Steele by his primary sub-source,

    Danchenko, who admittedly fabricated his claims.

              793. Danchenko had close ties to senior Clinton Campaign official Dolan, who

    knowingly provided false information to Danchenko, who relayed it to Steele, who reported it in

    his Dossier and fed it to the FBI and the media.

              794. Fritsch and Simpson were hired and working for their company Fusion GPS when

    they fabricated research and evidence.

              795. At all material times, the above-named employees were all acting within the scope

    of their employment, performing work for their employer at the time of the tortious conduct, and

    therefore are responsible for the actions of their employees.

              796. As a direct and proximate result of the torturous actions by agents, servants,

    representatives, employees and/or contractors, as alleged above, Fusion GPS is vicariously liable

    to the Plaintiff, as he suffered losses due to the actions of the employees who were working within

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    the scope of their employment.

           797. Among other things, the Plaintiff was forced to incur expenses in an amount to be

    determined at trial, but known to be in excess of twenty-four million dollars ($24,000,000) and

    continuing to accrue, in the form of defense costs, legal fees, and related expenses incurred in

    connection with his effort to defend against the Defendants’ false accusations and the various

    federal investigations and/or official proceedings which arose therefrom, in addition to the loss

    of existing and future business opportunities.

           WHEREFORE, the Plaintiff, Donald J. Trump, respectfully requests that this Court enter

    a Judgment for Donald J. Trump and against the Defendant, Fusion GPS, for damages, including

    punitive damages, costs, and such further and other relief as this Court may deem just and proper.

                                                Count XV
                                Respondeat Superior/Vicarious Liability
                                 (Against Orbis Business Intelligence Ltd)

          798.    The Plaintiff avers the allegations contained in the preceding paragraphs and

   incorporates them in this count, as if set forth at length herein.

          799.    Under the doctrine of respondeat superior, the Defendant, Orbis, vicariously

   responsible for the torturous conduct of its agents, servants, representatives, employees and/or

   contractors.

          800.    Specifically, under the doctrine of respondeat superior, Orbis is responsible for the

   tortious actions committed by its employee, Steele.

          801.    Fritsch and Simpson enlisted the assistance of Orbis Ltd and its owner, Steele, to

   produce a series of reports setting forth damning evidence of the supposed collusion between the

   Plaintiff and Russia.

          802.    The now-debunked collection of reports, known as the “Steele Dossier” or simply

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   the “Dossier,” was riddled with misstatements, misrepresentations and flat out lies. As it turns out,

   the Dossier was largely based upon the fabricated information provided to Steele by his primary

   sub-source, Danchenko.

          803.    Danchenko had close ties to senior Clinton Campaign official, Dolan, who

   knowingly provided false information to Danchenko, who relayed it to Steele, who reported it in

   his Dossier and fed it all the way back up the chain.

          804.    Fusion GPS was hired to create the fabricated Dossier and Steele was working for

   the company when he created it.

          805.    At all material times, the above-named employees were all acting within the scope

   of their employment, performing work for their employer at the time of the tortious conduct, and

   therefore are responsible for the actions of their employees.

          806.    As a direct and proximate result of the tortious actions by agents, servants,

   representatives, employees and/or contractors, as alleged above, Orbis is vicariously liable to the

   Plaintiff, as he suffered losses due to the actions of the employees who were working within the

   scope of their employment.

          807.    As a direct and proximate result of the Defendants’ actions, the Plaintiff has

   suffered, and continues to suffer, significant damages, including but not limited to, actual,

   compensatory, special, incidental, and consequential damages in addition to costs of defense and

   attorneys’ fees. In addition, Plaintiff has been injured in his business and property and has incurred

   and will continue to incur, significant damages, losses, and deprivation of tangible and intangible

   property, including but not limited to loss of political and/or business reputation, loss of business

   opportunities, loss of competitive position, loss of business revenue, loss of goodwill, loss of trade

   secrets, and/or loss of contractual relations.

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          WHEREFORE, the Plaintiff, Donald J. Trump, respectfully requests that this Court enter

   a Judgment for Donald J. Trump and against the Defendant, Orbis Business Intelligence Ltd., for

   damages, including Punitive damages, costs, and such further and other relief as this Court may

   deem just and proper.

                                             Count XVI
                                Respondeat Superior/Vicarious Liability
                                      (Against Neustar, Inc and/or Neustar Security Services)

          808.    The Plaintiff avers the allegations contained in the preceding paragraphs and

   incorporates them in this count, as if set forth at length herein.

          809.    Under the doctrine of respondeat superior, the Defendants, Neustar, Inc. and/or

   Neustar Security Services, vicariously responsible for the torturous conduct of its agents, servants,

   representatives, employees and/or contractors.

          810.    Specifically, under the doctrine of respondeat superior, Neustar, Inc. and/or Neustar

   Security Services is responsible for the tortious actions committed by its employee, Joffe.

          811.    The Clinton Campaign secured Neustar, Inc. and/or Neustar Security Services,

   which is run by Joffe, to help Hillary Clinton achieve her goal.

          812.     Sussmann and Elias, while working for Perkins Coie, LLP, and working on behalf

   of the Clinton Campaign, worked with Joffe and attempted to find wrongdoing by the Plaintiff or

   the Trump Organization.

          813.    Sussmann advised the media and others, falsely and knowingly claiming to

   demonstrate the existence of a secret communications channel between the Trump Organization

   and Alfa Bank. In this regard, Sussmann invoiced the Clinton Campaign for his Communications

   with Joffe and Elias.

          814.    Sussmann was also advising the Clinton Campaign in connection with cybersecurity

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   issues, and Perkins Coie, acted as the Clinton Campaign’s General Counsel.

          815.    Joffe used his access at multiple organizations to gather and mine public and non-

   public Internet data regarding Trump and his associates, with the goal of creating a “narrative”

   regarding the candidate's ties to Russia.”

          816.    Joffe later shared certain results of those data searches and analysis with Sussmann

   so that Sussmann, in turn, could provide them to the media and the FBI.

          817.    Joffe was working and acting on behalf of Neustar, Inc. and/or Neustar, Inc. and/or

   Neustar Security Services when he attempted to find wrongdoing and fabricated facts and evidence.

          818.    At all material times, the above-named employees were all acting within the scope

   of their employment, performing work for their employer at the time of the tortious conduct, and

   therefore are responsible for the actions of their employees.

          819.    As a direct and proximate result of the Defendants’ actions, the Plaintiff has

   suffered, and continues to suffer, significant damage, including but not limited to, actual,

   compensatory, special, incidental, and consequential damage in addition to costs of defense and

   attorneys’ fees.

          WHEREFORE, the Plaintiff, Donald J. Trump, respectfully requests that this Court enter

   a Judgment for Donald J. Trump and against the Defendant, Neustar, Inc. and/or Neustar Security

   Services, for damages, including Punitive damages, costs, and such further and other relief as this

   Court may deem just and proper.

                                                Jury Demand

          The Plaintiff hereby demands a trial by jury of all issues so triable.




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                                      CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true and correct copy of the foregoing was electronically

   filed this 21st day of June, 2022, with the Clerk of Court using CM/ECF, which will send a notice

   of electronic filing to all Parties listed on the Service List.



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